                                EXHIBIT A

                       Redline of Disclosure Statement




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:

          THE DIOCESE OF ROCHESTER,                 Case No. 19-20905

                               Debtor.              Chapter 11 Case




 FIRST AMENDED DISCLOSURE STATEMENT IN SUPPORT OF FIRST AMENDED
           JOINT CHAPTER 11 PLAN OF REORGANIZATION FOR
                    THE DIOCESE OF ROCHESTER

                   DATED SEPTEMBER 13DECEMBER 18, 2023


THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE UNITED STATES
BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF NEW YORK FOR USE IN THE
SOLICITATION OF ACCEPTANCES OF THE JOINT CHAPTER 11 PLAN OF
REORGANIZATION DESCRIBED HEREIN. ACCORDINGLY, THE FILING AND
DISTRIBUTION OF THIS DISCLOSURE STATEMENT IS NOT INTENDED, AND SHOULD
NOT BE CONSTRUED, AS A SOLICITATION OF ACCEPTANCES OF SUCH PLAN. THE
INFORMATION CONTAINED HEREIN SHOULD NOT BE RELIED UPON FOR ANY
PURPOSE BEFORE A DETERMINATION BY THE BANKRUPTCY COURT THAT THIS
DISCLOSURE STATEMENT CONTAINS “ADEQUATE INFORMATION” WITHIN THE
MEANING OF SECTION 1125(a) OF THE BANKRUPTCY CODE.




                              BOND, SCHOENECK & KING, PLLC
                              Stephen A. Donato, Esq.
                              Charles J. Sullivan, Esq.
                              Grayson T. Walter, Esq.
                              Office and Post Office Address:
                              One Lincoln Center
                              Syracuse, New York 13202-1355
                              Telephone: (315) 218-8000
                              Email: donatos@bsk.com
                                     sullivc@bsk.com
                                     walterg@bsk.com

                              Counsel to The Diocese of Rochester



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       IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT1

      THE DIOCESE OF ROCHESTER, THE DEBTOR AND DEBTOR IN POSSESSION IN
THE ABOVE-CAPTIONED CHAPTER 11 CASE (THE “DIOCESE”) AND THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS (TOGETHER WITH THE DIOCESE, THE
“PLAN PROPONENTS”) JOINTLY SEEK CONFIRMATION OF THE FIRST AMENDED
JOINT CHAPTER 11 PLAN OF REORGANIZATION FOR THE DIOCESE OF ROCHESTER
(THE “PLAN”). A COPY OF THE PLAN IS ATTACHED HERETO AS EXHIBIT A.

     THIS DISCLOSURE STATEMENT (THE “DISCLOSURE STATEMENT”), THE
PLAN, THE PLAN SUPPLEMENT, THE ACCOMPANYING BALLOTS, AND RELATED
MATERIALS ARE BEING FURNISHED BY THE PLAN PROPONENTS, PURSUANT TO
SECTIONS 1125 AND 1126 OF THE BANKRUPTCY CODE AND RULE 3016 OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE IN CONNECTION WITH THE
SOLICITATION BY THE PLAN PROPONENTS OF VOTES TO ACCEPT THE PLAN AS
DESCRIBED IN THIS DISCLOSURE STATEMENT.

     THE PLAN PROVIDES FOR THE REORGANIZATION OF THE DIOCESE’S
FINANCIAL AFFAIRS AND FOR DISTRIBUTIONS TO CREDITORS HOLDING
ALLOWED CLAIMS FROM THE DIOCESE’S ASSETS, THE ASSETS OF PARISHES,
SCHOOLS, AND OTHER CATHOLIC ORGANIZATIONS, THE CONTRIBUTIONS OF
SETTLING INSURERS, AND FOR THE CLAIMS AGAINST NON-SETTLING INSURERS
TO BE ASSIGNED TO THE TRUST. THE CONFIRMATION AND EFFECTIVENESS OF
THE PLAN ARE SUBJECT TO MATERIAL CONDITIONS PRECEDENT, SOME OF WHICH
MAY NOT BE SATISFIED. THERE IS NO ASSURANCE THAT THESE CONDITIONS
WILL BE SATISFIED OR WAIVED.

     HOLDERS OF CLAIMS AGAINST THE DIOCESE ARE ENCOURAGED TO READ
AND CAREFULLY CONSIDER THE MATTERS DESCRIBED IN THIS DISCLOSURE
STATEMENT, INCLUDING UNDER “RISK FACTORS TO BE CONSIDERED” IN ARTICLE
XIX.

     IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE
EFFECTIVE DATE OCCURS, ALL HOLDERS OF CLAIMS AGAINST THE DIOCESE
(INCLUDING, WITHOUT LIMITATION, THOSE HOLDERS OF CLAIMS WHO DO NOT
SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN OR WHO ARE NOT ENTITLED
TO VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN AND THE
TRANSACTIONS DESCRIBED IN THE PLAN.

      NO PERSON MAY GIVE ANY INFORMATION ON BEHALF OF THE PLAN
PROPONENTS REGARDING THE PLAN OR THE SOLICITATION OF ACCEPTANCES OF
THE PLAN, OTHER THAN THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT, EXCEPT FOR THE COMMITTEE CONSISTENT WITH ITS OBLIGATIONS
ARISING UNDER 11 U.S.C. § 1103(c)(3). ALL OTHER STATEMENTS REGARDING THE


1
 Capitalized terms not otherwise defined in this Disclosure Statement have the meanings and definitions assigned to
such terms in the Plan.

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PLAN AND THE TRANSACTIONS CONTEMPLATED THEREIN, WHETHER WRITTEN
OR ORAL, ARE UNAUTHORIZED.

       THIS DISCLOSURE STATEMENT IS DESIGNED TO PROVIDE ADEQUATE
INFORMATION TO ENABLE HOLDERS OF IMPAIRED CLAIMS AGAINST THE
DIOCESE TO MAKE AN INFORMED JUDGMENT ON WHETHER TO ACCEPT OR
REJECT THE PLAN. ALL CREDITORS ARE ADVISED AND ENCOURAGED TO READ
THIS DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE
VOTING TO ACCEPT OR REJECT THE PLAN. PLAN SUMMARIES AND STATEMENTS
MADE IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY
REFERENCE TO THE PLAN FILED CONTEMPORANEOUSLY HEREWITH, OTHER
EXHIBITS ANNEXED HERETO, AND OTHER DOCUMENTS REFERENCED AS FILED
WITH THE BANKRUPTCY COURT PRIOR TO THE END OF THE SOLICITATION PERIOD
FOR THE PLAN. NO MATERIALS OTHER THAN THE ACCOMPANYING MATERIALS
ATTACHED HERETO OR REFERENCED HEREIN HAVE BEEN APPROVED BY THE
BANKRUPTCY COURT OR THE PLAN PROPONENTS FOR USE IN SOLICITING
ACCEPTANCES OR REJECTIONS OF THE PLAN. SUBSEQUENT TO THE DATE
HEREOF, THERE CAN BE NO ASSURANCE THAT: (I) THE INFORMATION AND
REPRESENTATIONS CONTAINED HEREIN REMAIN MATERIALLY ACCURATE, AND
(II) THIS DISCLOSURE STATEMENT CONTAINS ALL MATERIAL INFORMATION.

     THERE HAS BEEN NO INDEPENDENT AUDIT OF THE FINANCIAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT OR IN ANY EXHIBIT,
EXCEPT AS EXPRESSLY INDICATED IN THIS DISCLOSURE STATEMENT OR IN ANY
EXHIBIT. THIS DISCLOSURE STATEMENT WAS COMPILED FROM INFORMATION
OBTAINED BY THE PLAN PROPONENTS FROM NUMEROUS SOURCES BELIEVED TO
BE ACCURATE TO THE BEST OF THE PLAN PROPONENTS’ KNOWLEDGE,
INFORMATION, AND BELIEF. THE PLAN PROPONENTS’ RESPECTIVE
PROFESSIONALS HAVE NOT INDEPENDENTLY VERIFIED ANY OF THE
INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND ARE NOT
RESPONSIBLE FOR ANY INACCURACIES THAT MAY BE CONTAINED IN THIS
DISCLOSURE STATEMENT OR THE PLAN.

      THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
MADE AS OF THE DATE HEREOF, AND THE DELIVERY OF THIS DISCLOSURE
STATEMENT WILL NOT, UNDER ANY CIRCUMSTANCES, CREATE ANY
IMPLICATION THAT THE INFORMATION IS CORRECT AT ANY TIME SUBSEQUENT
TO THIS DATE, AND THE PLAN PROPONENTS UNDERTAKE NO DUTY TO UPDATE
THE INFORMATION.

     PERSONS OR ENTITIES HOLDING OR TRADING IN OR OTHERWISE
PURCHASING, SELLING, OR TRANSFERRING CLAIMS AGAINST THE DIOCESE
SHOULD EVALUATE THIS DISCLOSURE STATEMENT IN LIGHT OF THE PURPOSE
FOR WHICH IT WAS PREPARED, AND SHOULD BE AWARE THAT ACTUAL
DISTRIBUTIONS MAY VARY FROM THE ESTIMATES CONTAINED HEREIN.




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      THIS DISCLOSURE STATEMENT AND THE RELATED DOCUMENTS ARE THE
ONLY DOCUMENTS AUTHORIZED BY THE BANKRUPTCY COURT TO BE USED IN
CONNECTION WITH THE SOLICITATION OF VOTES ACCEPTING OR REJECTING THE
PLAN. NO REPRESENTATIONS ARE AUTHORIZED BY THE BANKRUPTCY COURT
CONCERNING THE DIOCESE, THE DIOCESE’S BUSINESS OPERATIONS, THE VALUE
OF THE DIOCESE’S ASSETS, OR THE VALUES OF ANY BENEFITS OFFERED
PURSUANT TO THE PLAN, EXCEPT AS EXPLICITLY SET FORTH IN THIS DISCLOSURE
STATEMENT OR ANY OTHER DISCLOSURE STATEMENT OR OTHER DOCUMENT
APPROVED FOR DISTRIBUTION BY THE BANKRUPTCY COURT. HOLDERS OF
CLAIMS SHOULD NOT RELY UPON ANY REPRESENTATIONS OR INDUCEMENTS
MADE TO SECURE ACCEPTANCE OF THE PLAN, OTHER THAN THOSE SET FORTH IN
THIS DISCLOSURE STATEMENT.

     FOR THE CONVENIENCE OF HOLDERS OF CLAIMS, THIS DISCLOSURE
STATEMENT SUMMARIZES THE TERMS OF THE PLAN AND CERTAIN OF THE PLAN
DOCUMENTS. IF THERE IS ANY INCONSISTENCY BETWEEN THE PLAN OR THE
APPLICABLE PLAN DOCUMENTS AND THIS DISCLOSURE STATEMENT, THE TERMS
OF THE PLAN OR THE APPLICABLE PLAN DOCUMENTS ARE CONTROLLING. THE
SUMMARIES OF THE PLAN AND THE PLAN DOCUMENTS IN THIS DISCLOSURE
STATEMENT DO NOT PURPORT TO BE COMPLETE AND ARE SUBJECT TO, AND ARE
QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO, THE FULL TEXT OF THE PLAN
AND THE APPLICABLE PLAN DOCUMENTS, INCLUDING THE DEFINITIONS OF
TERMS CONTAINED IN THE PLAN AND OTHER PLAN DOCUMENTS. ALL HOLDERS
OF CLAIMS ARE ENCOURAGED TO REVIEW THE FULL TEXT OF THE PLAN AND THE
PLAN DOCUMENTS, AND TO READ CAREFULLY THIS ENTIRE DISCLOSURE
STATEMENT, INCLUDING ALL EXHIBITS.

      THIS DISCLOSURE STATEMENT MAY NOT BE RELIED UPON FOR ANY
PURPOSES OTHER THAN TO DETERMINE WHETHER TO VOTE TO ACCEPT OR
REJECT THE PLAN, AND NOTHING STATED IN THIS DISCLOSURE STATEMENT
SHALL CONSTITUTE AN ADMISSION OF ANY FACT OR LIABILITY BY ANY PERSON
OR BE ADMISSIBLE IN ANY PROCEEDING INVOLVING THE DIOCESE OR ANY OTHER
PERSON, OR BE DEEMED CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL
EFFECTS OF THE PLAN ON THE DIOCESE, ANY PROTECTED PARTY, OR HOLDERS
OF CLAIMS.

     THIS DISCLOSURE STATEMENT IS FORWARD-LOOKING. FORWARD-
LOOKING STATEMENTS ARE STATEMENTS OF EXPECTATIONS, BELIEFS, PLANS,
OBJECTIVES, ASSUMPTIONS, PROJECTIONS, AND FUTURE EVENTS OF
PERFORMANCE. AMONG OTHER THINGS, THIS DISCLOSURE STATEMENT
CONTAINS FORWARD-LOOKING STATEMENTS WITH RESPECT TO ANTICIPATED
FUTURE PERFORMANCE OF THE DIOCESE AND A TRUST TO BE CREATED FOR THE
BENEFIT OF HOLDERS OF ABUSE CLAIMS, AS WELL AS ANTICIPATED FUTURE
DETERMINATIONS OF CLAIMS AND DISTRIBUTIONS ON CLAIMS.         THESE
STATEMENTS, ESTIMATES, AND PROJECTIONS MAY OR MAY NOT PROVE TO BE
CORRECT. ACTUAL RESULTS COULD DIFFER MATERIALLY FROM THOSE
REFLECTED IN THESE FORWARD-LOOKING UNCERTAINTIES AND TO A WIDE

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VARIETY OF SIGNIFICANT BUSINESS, LEGAL, AND ECONOMIC RISKS, INCLUDING,
AMONG OTHERS, THOSE DESCRIBED IN THIS DISCLOSURE STATEMENT. THE PLAN
PROPONENTS UNDERTAKE NO OBLIGATION TO UPDATE ANY FORWARD-LOOKING
STATEMENT. NEW FACTORS EMERGE FROM TIME TO TIME AND IT IS NOT
POSSIBLE TO PREDICT ALL FACTORS, NOR CAN THE IMPACT OF ALL FACTORS BE
ASSESSED.

      HOLDERS OF CLAIMS SHOULD NOT CONSTRUE THE CONTENTS OF THIS
DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL, OR
TAX ADVICE. EACH HOLDER SHOULD CONSULT WITH THEIR OWN LEGAL,
BUSINESS, FINANCIAL, AND TAX ADVISORS WITH RESPECT TO ANY MATTERS
CONCERNING THIS DISCLOSURE STATEMENT, THE SOLICITATION OF VOTES TO
ACCEPT THE PLAN, THE PLAN, AND THE TRANSACTIONS CONTEMPLATED BY THE
PLAN.

     [THIS DISCLOSURE STATEMENT HAS BEEN APPROVED BY ORDER OF
THE BANKRUPTCY COURT AS CONTAINING ADEQUATE INFORMATION OF A
KIND AND IN SUFFICIENT DETAIL TO ENABLE HOLDERS OF CLAIMS TO MAKE
AN INFORMED JUDGMENT WITH RESPECT TO VOTING TO ACCEPT OR REJECT
THE PLAN.] HOWEVER, THE BANKRUPTCY COURT’S APPROVAL OF THIS
DISCLOSURE STATEMENT DOES NOT CONSTITUTE A RECOMMENDATION OR
DETERMINATION BY THE BANKRUPTCY COURT AS TO THE MERITS OF THE PLAN.
EACH HOLDER OF A CLAIM ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN
SHOULD READ THIS DISCLOSURE STATEMENT AND THE PLAN (INCLUDING ALL
EXHIBITS AND SCHEDULES TO THE PLAN AND DISCLOSURE STATEMENT) IN THEIR
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EXHIBITS

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Exhibit C            Financial Projections




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                                                  ARTICLE I

                                              INTRODUCTION

        On September 12, 2019 (the “Petition Date”), the Diocese filed a voluntary chapter 11
petition with the United States Bankruptcy Court for the Western District of New York (Rochester
Division) (the “Bankruptcy Court”). Since the Petition Date, the Diocese has remained in
possession of its assets and has continued to own, operate, and manage its affairs pending the
approval of a plan of reorganization in accordance with the provisions of Title 11 of the United
States Code (as amended, the “Bankruptcy Code”).

       On September 25, 2019, the United States Trustee appointed the Official Committee of
Unsecured Creditors (the “Committee”) in the Diocese’s Chapter 11 Case. The Committee is
comprised of eight individuals who assert Abuse Claims against the Diocese. The Committee
supports approval and confirmation of the Plan and is a Plan Proponent and a signatory to the
Plan.2

        The Plan sets forth, among other things, the proposed treatment of Claims and other
interests in accordance with the Bankruptcy Code. This Disclosure Statement is intended to
explain the Plan and provide such information to Creditors as may be deemed material, important,
and necessary so that they may make reasonably informed decisions in exercising their right to
vote for acceptance of the Plan. A copy of the plan is included with this Disclosure Statement. If
the Plan and this Disclosure Statement are not consistent, the terms of the Plan control. Capitalized
terms used in this Disclosure Statement but not otherwise defined shall have the meanings ascribed
to them in the Plan.

        The Plan provides for the financial restructuring of the Diocese and the settlement of all,
or substantially all, Claims against the Diocese, including, without limitation, the settlement of all
Abuse Claims against the Diocese and the Participating Parties.

        As set forth in more detail below, the Plan provides for payment in full of all Administrative
Claims, Priority Tax Claims, Non-Tax Priority Claims, Professional Fee Claims, and U.S. Trustee
Fee Claims, leaves unimpaired any Allowed Secured Claims or Pass-Through Claims, provides
for deferred payments equal to the full Allowed amount of any General Unsecured Claims, and
establishes the Abuse Claims Settlement Fund to be held by the Trust to compensate holders of
Abuse Claims. Inbound Contribution Claims are disallowed and extinguished pursuant to the Plan.

       The Plan’s treatment of Abuse Claims represents the culmination of nearly four years of
negotiation between the Diocese and the Committee in its capacity as an advocate on behalf of all
Abuse Claimants and has been approved by the Committee in consultation with attorneys who



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  The Committee is not a signatory to this Disclosure Statement and makes no representations or warranties with
respect to information set forth herein regarding the Diocese’s history and financial projections. The Committee has
reviewed and approved the description of the Plan and the statements contained herein pertaining to the Committee,
its activities in this Chapter 11 Case, and the Committee’s evaluation and recommendations as a Plan Proponent with
respect to the Plan and alternatives to the Plan.

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collectively represent approximately percent (70%) of all Abuse Claimants who have asserted
Abuse Claims against the Diocese (“State Court Counsel”).

        The Plan provides that funding for the Trust and the Abuse Claims Settlement Fund will
be provided from, among other potential sources of recovery, a cash contribution by the Diocese
and other Participating Parties in the aggregate amount of $55 million, and payments paid pursuant
to Insurance Settlement Agreements with various Settling Insurers. As of the date of this
Disclosure Statement, the Diocese and the Committee have agreed to accept a total of $71,350,000
million in settlement payments from four Settling Insurers, LMI, Underwriters, Interstate, and First
State, in exchange for entering into Insurance Settlement Agreements with respect to their
respective Insurance Policies.

        To the extent the Diocese and the Committee can reach agreement on an Insurance
Settlement Agreement or other settlement terms with any Non-Settling Insurers prior to
confirmation of the Plan, the Plan provides that such Non-Settling Insurers may become Settling
Insurers and for settlement proceeds resulting therefrom to be used to further supplement the funds
available to the Trust. To the extent no settlement is achieved, the Plan provides for the assignment
of all Insurance Claims held by the Diocese or other Participating Parties to the Trust, and
establishes a framework for post-confirmation litigation of Insurance Claims, Stipulated
Judgments and other Litigation Claims seeking recovery from Non-Settling Insurers. The
Committee has previously rejected a settlement offer from Non-Settling Insurer CNA and in the
amount of $63.5 million. The Committee, in consultation with State Court Counsel representing
approximately seventy percent (70%) of all Abuse Claimants, has acknowledged and accepted the
risk inherent in pursuing post-confirmation recovery from Non-Settling Insurers in the absence of
a settlement. The Committee believes that assignment of the Insurance Claims, especially when
enhanced by judicially determining the extent of the Diocese’s liability through the use of
Stipulated Judgments for certain eligible Abuse Claims, represents an opportunity to maximize the
potential recovery for all Abuse Claimants.

A.      Summary of the Plan

         Survivors of Abuse are the focal point of the Plan. The tragedy of the Abuse that was
inflicted in the past by certain priests or others purporting to do the missionary work of the Roman
Catholic Church is impossible to overstate. Instead of fulfilling this mission, such perpetrators
inflicted harm and suffering. The Abuse is inexcusable. It not only deeply impacted the survivors,
but it also affected the faithful and the community that the Diocese serves.

        Prior to the enactment of the New York Child Victims Act (A.2683/S.2440) (the “CVA”)
and the Adult Survivors Act (A.648/S.66) (the “ASA”), the Diocese devoted substantial resources
and effort to provide support and compensation to survivors of Abuse, including providing
counselling, therapy, and other support to those survivors. The Diocese also provided monetary
compensation to a number of known survivors, including the payment of amounts awarded through
its Independent Reconciliation and Compensation Program.

       Following the enactment of the New York Child Victims Act (A.2683/S.2440) (the
“CVA”), individuals alleging Abuse Claims began to file lawsuits against the Diocese. The
Diocese has limited insurance and other resources available to compensate Abuse Claimants. A


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filing for bankruptcy relief was the only viable means to preserve and fairly distribute the
Diocese’s limited resources among the numerous Abuse Claimants. In order to compensate the
Abuse Claimants, the Diocese and certain primary stakeholders, including the Committee and the
Committee Members who are represented by State Court Counsel that collectively represent over
70% of all Abuse Claimants in this Chapter 11 Case, entered into a Restructuring Support
Agreement (the “RSA”) which forms the basis for the Plan. Pursuant to the RSA, the Diocese has
assembled a Cash fund that will be used to compensate Abuse Claimants and to fund a litigation
trust to pursue additional insurance recoveries.

        The Plan establishes a Trust funded by (i) the DOR Entities’ Cash Contribution in the
aggregate amount of $55,000,000; (ii) at least $71,350,000 in monetary contributions made by
Settling Insurers; and (iii) the assignment to the Trust of certain Insurance Claims against Non-
Settling Insurers (the foregoing are, collectively, the “Trust Assets”). The Trustee will liquidate
the Trust Assets and distribute the proceeds to the Abuse Claimants, pursuant to the procedures
contained in the Allocation Protocol.

        The Plan Proponents believe that the Plan provides the best alternative to compensate
Abuse Claimants for their Abuse Claims. All but one of the insurers has agreed on payment
amounts to fund the Trust. The Trust will be funded in an initial amount of $126.35 million. The
lone holdout insurer is CNA, which wholesale denied approximately 270 of the approximately 300
claims that fall within its coverage periods. CNA proposed a chapter 11 plan (the “CNA Plan”)
that provides for a payment of $75 million by CNA as a settlement of its liability in the Diocese.
The Diocese’s other principal insurers, LMI and Interstate insure approximately 173 sexual abuse
claims (consisting of 159 timely and 14 late-filed claims). The average per-claim settlement based
on those insurers’ $69,500,000 settlement payment yields an average per-claim payment of
$401,734. Importantly, however, the LMI and Interstate policies are subject to a $75,000 per
occurrence self-insured retention (“SIR”), a feature the Continental policies do not have. The SIR
needs to be satisfied before the LMI/Interstate policies will pay any amounts under those policies.
Thus, using a conservative estimate of one $75,000 per occurrence applying to each of the 173
LMI/Interstate sexual abuse claims, results in an average per-claim amount of $476,734. In
contrast, CNA’s proposed payment of $75 million results in an average payment of approximately
half the average paid by LMI and Interstate.

        Under the Plan, Abuse Claimants may pursue claims insured by CNA as Litigation
Claimants. The Trust would retain the right to pursue causes of action of the Diocese against CNA
and to settle with CNA. The Plan also provides that the Diocese and other Protected Parties will
provide Stipulated Judgments to certain Abuse Claimants, which will then be assigned to the Trust.
Enforcement of the Stipulated Judgments will be prosecuted by the Trust. The Plan Proponents
believe that the tools provided by the Plan to Abuse Claimants and the Trust will allow the Trust
to pursue a favorable settlement with CNA that fairly values its exposure for Abuse Claims
asserted in this Chapter 11 Case.



       The contribution by each of the foregoing was reached as the result of extensive
negotiations regarding, among other things, the extent of liability faced by each entity, the ability
of each entity to pay, and insurance coverage available for the types of Claims being satisfied by

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the trust. In exchange for the contributions to the Trust, (a) the Diocese and Reorganized Diocese,
(b) the Parishes, (c) the Schools, (d) Other Catholic Organizations, (e) the Settling Insurers, and
(f) each of the foregoing Persons’ respective Related Persons shall be deemed “Protected Parties”
entitled to the benefit of certain releases, exculpation, and inductions, all as more specifically set
forth in this Disclosure Statement and the Plan. Similarly, in exchange for their contributions to
the Trust, Non-Settling Insurers that become Settling Insurers, if any, will likewise be entitled to
the benefit of certain releases, exculpation, and injunctions, all as more specifically set forth in this
Disclosure Statement and the Plan.

        The Plan further provides that the holders of Allowed Administrative Claims, Priority Tax
Claims, Non-Tax Priority Claims, Professional Fee Claims, Secured Claims, Pass-Through
Claims, and General Unsecured Claims will be paid in full as set forth herein, that all Abuse Claims
will be channeled to the Trust, that the Diocese will be able to restructure its financial affairs, and
that the Reorganized Diocese will be able to continue the mission and ministry of the Church,
which is critical to so many in Western New York – especially the elderly, poor, incarcerated, and
vulnerable – after confirmation of the Plan. The Reorganized Diocese will also continue to address
the spiritual needs of those who were harmed and the Catholic community the as a whole.

        In the opinion of the Plan Proponents, the treatment of Claims under the Plan provides an
opportunity for greater recovery for Creditors than that which is likely to be achieved under other
alternatives. Accordingly, the Plan Proponents believe that confirmation of the Plan is in the
best interests of, and provides the highest and most expeditious recoveries to, holders of all
Claims against the Diocese. All Creditors entitled to vote, therefore, are urged to vote to
accept the Plan.

B.      Summary of Voting Procedures

        1.      Vote Solicitation and Deadline.

             To be counted, your Ballot must be received, pursuant to the following instructions,
by Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”), on or before 5:00 p.m.
(Eastern Time) on ___________, 2023 (the “Voting Deadline”):

                If by first class mail, overnight courier or hand delivery:

                The Diocese of Rochester – Ballot Processing
                c/o Stretto
                410 Exchange, Suite 100
                Irvine, California 92602

                By electronic, online submission:




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                Please visit https://case.stretto.com/rochesterdiocese/docket.
                Click on the “E-Ballot” section of the Diocese’s website and
                follow the directions on your Ballot to submit your E-Ballot. If
                you choose to submit your Ballot via Stretto’s E-Ballot system,
                you should not also return a hard (paper) copy of your Ballot.

                IMPORTANT NOTE: You will need a unique E-Ballot ID Number that will
                be provided with your Ballot.

IF YOU HOLD A CLAIM ENTITLED TO VOTE:

Please (i) complete the information requested on the Ballot; (ii) sign, date, and indicate your vote
to accept or reject the Plan; and (iii) return the completed Ballot in the enclosed pre-addressed,
postage-paid envelope, or by one of the other methods described above, so that it is actually
received by Stretto on or before the Voting Deadline.

     DO NOT RETURN ANY INVOICES, DEBT INSTRUMENTS, NOTES, OR
CERTIFICATES THAT YOU MAY HAVE WITH YOUR BALLOT.

    ANY BALLOTS RECEIVED AFTER THE VOTING DEADLINE WILL NOT BE
COUNTED, NOR WILL ANY BALLOTS RECEIVED BY TELECOPY OR EMAIL BE
ACCEPTED.

       IF YOU HAVE QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE
A RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE AN
ELECTRONIC COPY OF THE DISCLOSURE STATEMENT AND THE PLAN, OR
NEED PHYSICAL COPIES OF THE BALLOT OR OTHER ENCLOSED MATERIALS,
PLEASE CONTACT THE DIOCESE’S SOLICITATION AND CLAIMS AGENT,
STRETTO, BY EMAIL AT TEAMROCHDIOCESE@STRETTO.COM OR BY CALLING
855.347.3773 AND REQUESTING TO SPEAK WITH A MEMBER OF THE DIOCESE’S
SOLICITATION TEAM.

        2.      Importance of Your Vote.

                Your vote is important. The Bankruptcy Court defines acceptance by a Class of
Claims as acceptance of at least two-thirds in amount and a majority in number of Allowed Claims
in the Class that vote. Only the Ballots of those Creditors who actually vote are counted for
purposes of determining whether a Class voted to accept the Plan. Your failure to vote will leave
to others the decision to accept or reject the Plan.

C.      Overview of Chapter 11

        Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. Under
chapter 11, a debtor is authorized to reorganize its business for the benefit of itself and its creditors.
In addition to permitting rehabilitation of a debtor, another goal of chapter 11 is to promote
equality of treatment for similarly situated creditors and interest holders with respect to any
distribution of a debtor’s assets.


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         The commencement of a chapter 11 case creates an estate that comprises all of the legal
and equitable interests of the debtor as of the filing date. The Bankruptcy Code provides that the
debtor may continue to operate its business and remain in possession of its property as a “debtor
in possession”. Upon filing a petition for chapter 11 relief and during the pendency of a case, the
Bankruptcy Code imposes an automatic stay against creditors’ attempts to collect or enforce,
through litigation or otherwise, claims against the debtor. The automatic stay provisions of
section 362 of the Bankruptcy Code, unless modified by court order, will generally prohibit or
restrict attempts by creditors to collect or enforce any claims that arose prior to the commencement
of the chapter 11 case against the debtor.

        The Bankruptcy Code provides for the formation of an official committee of unsecured
creditors in a chapter 11 case to represent the interests of Creditors in the case. On September 26,
2019, the United States Trustee appointed the Committee in the Chapter 11 Case to represent the
interests of the Diocese’s unsecured Creditors, including the Abuse Claimants.

        The principal objective of a chapter 11 reorganization is the confirmation of a plan of
reorganization. The plan sets forth the means for satisfying the claims of creditors and other
stakeholders. The plan and a disclosure statement that contains information necessary to allow
creditors, shareholders, and members to evaluate the plan are sent to creditors, shareholders and
members whose claims or interests are impaired, who then vote to accept or reject the plan.

        A class of claims is entitled to vote to accept or reject a plan if the class is “impaired” by
the plan. Section 1124 of the Bankruptcy Code provides generally that a claim is impaired if the
legal, equitable, or contractual rights of the claim are altered.

        A plan may be confirmed under section 1129(a) of the Bankruptcy Code if each class of
claims or interests is not impaired by the plan or if each class has noted to accept the plan. Votes
will be counted only with respect to claims: (a) that are listed on the debtor’s schedules other than
as disputed, contingent, or unliquidated; or (b) for which a proof of claim was filed on or before
the claim filing deadline set by the Bankruptcy Court for the filing of proofs of claim. However,
any vote by a holder of a claim will not be counted if the claim has been disallowed or is the subject
of an unresolved objection, absent an order from the Bankruptcy Court allowing the claim for
voting purposes. A class of claims has accepted a plan if creditors that hold at least two-thirds in
amount and more than one-half in number of the allowed voting claims in the class have voted to
accept the plan. Pursuant to Bankruptcy Rule 3018(a), Class 4 Abuse Claims shall be estimated
at $1.00 for voting purposes only. The actual amount payable on account of Class 4 Abuse Claims
will be determined pursuant to the Allocation Protocol.

        A holder of a Disputed Claim is not entitled to vote on the Plan unless such Claim is
temporarily Allowed by the Diocese, or by an order of the Bankruptcy Court, in an estimated
amount that it deems proper for the purpose of voting to accept or reject the Plan. In other words,
only holders of Allowed Claims that are in Class 3 (General Unsecured Claims) or Class 4 (Abuse
Claims) may vote to accept or reject the Plan. A Claim to which an objection has been Filed by
the Diocese or any other party in interest that is pending at the time of the Confirmation Hearing
or a Claim (i) that is listed on the Diocese’s Schedules as disputed, unliquidated, or contingent,
and (ii) with respect to which a superseding proof of claim has not been Filed, is not an Allowed
Claim for voting purposes, unless the Claim is settled by agreement or the Bankruptcy Court

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Allows the Claim (in whole or in part) by Final Order. Upon request of a party in interest, the
Bankruptcy Court may temporarily Allow or estimate a Disputed Claim for purpose of voting on
the Plan. Ballots cast in respect of Claims other than Allowed Abuse Claims will not be counted.
In addition, a vote may be disregarded if the Bankruptcy Court determines that the acceptance or
rejection of the Plan by the Claimant is not solicited or procured in good faith or in accordance
with the provisions of the Bankruptcy Code.

        If an impaired class votes to reject the plan, the proponent of the plan may seek to “cram
down” the plan by confirming it under section 1129(b) of the Bankruptcy Code. A plan proponent
may cram down a plan upon a rejecting class only if at least one impaired class has voted to accept
the plan, the plan does not discriminate unfairly, and the plan is fair and equitable with respect to
each impaired class that has not voted to accept the plan. The Plan Proponents believe that the
Plan will satisfy the foregoing requirements as to any rejecting Class of Claims, and can
therefore be confirmed despite any such rejection by any Class.

        Voting on the plan by each holder of a claim in an impaired class is important. After
carefully reviewing the Plan and Disclosure Statement, each holder of a claim should vote on the
enclosed ballot either to accept or reject the Plan. Any ballot that does not appropriately indicate
acceptance or rejection of the Plan will not be counted. A ballot that is not received by the deadline
will not be counted. If a ballot is lost, damaged, or missing, a replacement ballot may be obtained
by contacting the Diocese’s solicitation and claims agent, Stretto, by email at
TeamRochDiocese@stretto.com or by calling 855.347.3773 and requesting to speak with a
member of the solicitation team.

       Class 3 General Unsecured Claims and Class 4 Abuse Claims are Impaired under the
Plan and are entitled to vote on the Plan.

        The Class 1 Secured Claim of The Bank of Castile, and Class 2 Pass-Through Claims
(if any) are Unimpaired under the Plan and are deemed to accept the Plan. Class 5 Inbound
Contribution Claims are Impaired under the Plan and are deemed to reject the Plan.

        Section 1129(a) of the Bankruptcy Code establishes several conditions for the confirmation
of a plan. These conditions are too numerous to be fully explained here. Parties are encouraged
to seek independent legal counsel to answer any questions concerning the chapter 11 process.
Among the conditions for plan confirmation is that either each holder of a claim must accept the
plan, or the plan must provide at least as much value as would be received upon liquidation of a
debtor’s estate under chapter 7 of the Bankruptcy Code. The Plan Proponents believe that the
Plan satisfies all the applicable requirements of section 1129(a) of the Bankruptcy Code.

         The Bankruptcy Court has scheduled a Confirmation Hearing to consider approving the
Plan commencing on _______________, 2023 at _____ a.m./p.m. (prevailing Eastern Time) at
the United States Bankruptcy Court for the Western District of New York in Rochester, New York.
The Confirmation Hearing may be adjourned from time to time without further notice other than
by announcement in the Bankruptcy Court on the scheduled hearing date or upon the Diocese
filing a notice of adjournment.




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D.       Summary of Classification of Claims

        Detailed elsewhere in this Disclosure Statement are descriptions of the technical aspects of
the classification of Claims, the relative allocations of assets to holders of such Claims, the
methodology as to how such assets are to be distributed, the risks inherent in the proposed Plan,
and the applicable bankruptcy and tax consequences of the Plan. However, the Plan Proponents
believe that a broad overview of what, in their opinion, the Creditors are likely to receive under
the Plan, will be helpful for your consideration of whether you wish to accept or reject the Plan.

     The following is a summary of the classification of all Claims under the Plan. This
summary is qualified in its entirety by reference to the Plan:

 Class        Designation                                       Impaired      Entitled to Vote
 N/A          Administrative Claims                             No            Deemed to Accept
 N/A          Priority Tax Claims                               No            Deemed to Accept
 N/A          Non-Tax Priority Claims                           No            Deemed to Accept
 N/A          Professional Fee Claims                           No            Deemed to Accept
 N/A          U.S. Trustee Fee Claims                           No            Does not Vote
 1            Secured Claim of The Bank of Castile              No            Deemed to Accept
 2            Pass-Through Claims                               No            Deemed to Accept
 3            General Unsecured Claims                          Yes           Entitled to Vote
 4            Abuse Claims                                      Yes           Entitled to Vote
 5            Inbound Contribution Claims                       Yes           Deemed to Reject

         As discussed in the Liquidation Analysis attached hereto as Exhibit B, the Plan Proponents
estimate that recoveries for holders of Abuse Claims in Class 4 under the Plan will be greater than
in liquidation under chapter 7 of the Bankruptcy Code because the total amount of assets available
for Distribution is greater under the Plan than in liquidation under chapter 7. The portion of the
DOR Entities’ Cash Contribution and assignment of Insurance Claims made by the Diocese and
the Parishes, Schools, and Other Catholic Organizations that comprise the Participating Parties
will not be available to the Estate under chapter 7. The Plan Proponents also believe that
theoretical Distributions under a chapter 7 case would likely be delayed due to the time it will take
a chapter 7 trustee to assess the Diocese’s assets, review and analyze Claims, and evaluate and
litigate claims against third parties. Holders of Allowed Claims entitled to vote to accept or reject
the Plan should review the Liquidation Analysis (including all footnotes thereto and documents
referenced therein) in assessing whether to vote to accept or reject the Plan.

E.       Disclosure Statement Enclosures

         Accompanying this Disclosure Statement are the following enclosures:

         1.        Order Approving Disclosure Statement.

        A copy of the Order of the Bankruptcy Court dated ____________, 2023, approving this
Disclosure Statement and, among other things, establishing procedures for voting on the Plan,
scheduling the Confirmation Hearing, and setting the deadline for objecting to confirmation of the
Plan (the “Order Approving Disclosure Statement”).

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        2.       Notice of Confirmation Hearing.

        A copy of the notice of the deadline for submitting ballots to accept or reject the Plan and,
among other things, the date, time and place of the Confirmation Hearing, and the deadline for
filing objections to confirmation of the Plan (the “Notice of Confirmation Hearing”).

        3.       Ballot.

       A Ballot (and return envelope) for voting to accept or reject the Plan. See Article XVIII
below for an explanation of which Creditors are entitled to vote.

                                                ARTICLE II

                              THE DIOCESE AND ITS OPERATIONS

A.      Prepetition Operations

         The Catholic Church is a worldwide community with over 1.2 billion members who hold
a common creed. The supreme authority of the Church is vested in the Pope, who, by virtue of his
office, possesses supreme, full, immediate, and universal ordinary power in the Church. The Pope
exercises such power in concert with the College of Bishops of which he is the head. The
organizational structure is intended to serve the mission to teach, to sanctify, and to serve which
is realized in a variety of instruments and organizations. A “diocese” is a portion of the Christian
faithful which is entrusted to a bishop for him to shepherd with the cooperation of the ordained
clergy. As a general rule, a diocese is territorial and encompasses all the Christian faithful within
its geographical bounds. The bishop of a diocese is appointed by the Pope. The Bishop of the
Diocese is the Most Reverend Salvatore R. Matano (the “Bishop”). Bishop Matano was installed
as the Bishop of Rochester on January 3, 2014. A diocese is divided into “parishes,” which are
communities of the Christian faithful stably constituted in a particular church, whose pastoral care
is entrusted to a priest as its proper pastor under the authority of the diocesan bishop. As a general
rule, each parish is territorial and encompasses all the Christian faithful within its geographical
bounds.

        Canon Law is a generic term applied to several sources of church law that together establish
the internal organizational structure and procedures to be followed within the Catholic Church.
Canon Law also identifies property rights and agency relationships among the variety of structures
with the community of the Catholic Church. The Diocese is a Latin Catholic Diocese and subject
to the Code of Canon Law promulgated by Pope John Paul II on January 25, 1983.3 As used
herein, “Church” means the universal Catholic Church. Under Canon Law, dioceses and parishes
are public juridic persons having separate and distinct canonical legal existence from each other
and from the Church.


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  1983 Code c.1-1752 (1983) (as amended, “1983 Code”). Within the Roman Catholic Church there are 24 sui juris
churches. The Latin Church is the largest, it is subject to Codex Iuris Canonici auctoritate Ionnisa Paulii PP. II
promulgatus (Vatican City: Libreria Editrice Vaticana, 1983). Hereinafter, the 1983 Code. Throughout this
Disclosure Statement, the English translation used will be Code of Canon Law, Latin-English Edition, CLSA 1998.


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       Under New York Law, the Diocese is an incorporated legal entity, separate from the
Parishes and Other Catholic Organizations within its territory, with its own corporate structure and
governance. The Diocese was founded on March 3, 1868 and subsequently incorporated in
New York State on March 11, 1887. The Certificate of Incorporation of the Diocese was amended
in 1909 and 1967. The 1967 amendment provides that the three trustees of the Diocese are the
Bishop, the Vicar-General, and the Chancellor.

        The Diocese serves a twelve county region in Western New York and its territory is co-
extensive with the counties of Monroe, Wayne, Yates, Ontario, Cayuga, Seneca, Tompkins, Tioga,
Chemung, Schuyler, Livingston, and Steuben. Within the territory of a diocese are separately
constituted parishes. Like a diocese, a parish is usually defined territorially. There are currently
86 separately incorporated Parishes and approximately 300,000 Catholic individuals in the
territory of the Diocese. These individuals are served by 139 Diocesan priests, 22 priests who are
Religious that reside in the Diocese, 16 extern priests4 and 131 deacons. Deacons are men ordained
for the ministry of the word (catechetics and preaching), service to the poor, and liturgical
assistance. The Diocese also currently employs approximately 64 individuals, which includes both
clergy and laity. Numerous Parish corporations own, maintain, and operate cemeteries. The Parish
corporations located within the Diocese are not under the fiscal or operating control of the Diocese.
The Parish corporations have not sought bankruptcy relief and are not debtors in this bankruptcy
proceeding.

        Within the Diocese, fifteen (15) Parish corporations own and operate schools serving
approximately 3,000 students. On the Petition Date, there was one Diocesan-operated middle
school, Siena Catholic Academy in Brighton, New York, which closed during the pendency of the
Chapter 11 Case. There are also eight non-Diocesan Catholic schools in the territory of the
Diocese that are separately operated and governed by Religious or private not-for-profit
organizations. Such schools serve approximately 2,700 students. These other separately
incorporated Catholic schools located within the Diocese are not under the fiscal or operating
control of the Diocese.

        The Diocese maintains Affiliation Agreements with all Parishes. Each Affiliation
Agreement acknowledges the common purpose served by the Diocese and the applicable Parish
and is the mechanism by which the Diocese provides operational support to the Parishes. Among
the services for which the Diocese charges fees to the Parishes are human resource services,
information technology, risk management, safe environment, activity fees (e.g. Catholic Youth
Organization and the National Catholic Youth Conference), and various other services. The
Affiliation Agreement identifies types of services provided as well as an annual billing schedule
for each fiscal year.

        There are several Other Catholic Organizations that assist the Diocese and the Parishes in
their ministry, which include: (i) Catholic Charities of the Diocese of Rochester, Inc.;
(ii) Providence Housing Development Corporation; (iii) Rochester Catholic Press Association,



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  An extern priest is priest incardinated in another diocese or institute of consecrated life who comes with the
permission of the diocesan bishop to exercise ministry in the territory of the Diocese of Rochester. Incardination is
the bond that exists between a cleric and a diocese or institute of consecrated life.

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Inc; (iv) Camp Stella Maris of Livonia, N.Y.; and (v) St. Bernard’s School of Theology and
Ministry. These entities are not under the fiscal or operating control of the Diocese.

        The Diocese is a not-for-profit Religious Corporation under New York law. Gross revenue
for the fiscal years ending on June 30, 2020, June 30, 2021, June 30, 2022, and June 30, 2023, was
$19,969,244, $34,052,715, $9,479,889, and $23,246,208 respectively. There are four (4) primary
sources of income used by the Diocese to support its operations: (i) an annual Catholic Ministries
Appeal (“CMA”) to all parishioners within the Diocese; (ii) fees and charges; (iii) grants and aid;
and (iv) assets released from restriction. In addition, the Diocese may, from time to time, take up
special appeals and “capital campaigns” for specific purposes. The CMA is a Diocesan-wide,
unified appeal, occurring in the fall of each year, in which all Parishes and parishioners are asked
to provide critical financial support for the Diocese. The Diocese also applies for grants, receives
gifts and bequests, conducts capital campaigns, and generates investment income to fund its
operations. Finally, the Diocese receives various donations and bequests with specific
designations on how those funds may be used and on how the amount of the underlying principal
may be used.

        The Diocese of Rochester Pastoral Center (the “Pastoral Center”) (a) provides operational
support to the Parishes and certain Other Catholic Organizations; (b) conducts school operations
through which it provides Schools with financial and educational support; (c) provides
comprehensive risk management services to the foregoing entities; (d) administers a lay pension
trust and a priest pension trust for the benefit of most of the foregoing entities’ employees and
priests; and (e) administers the Communis Fund of the Diocese of Rochester, Inc., a not-for-profit
corporation created on December 12, 2005 to receive funds from the Diocese, Parishes and Other
Catholic Organizations which such entities desire to invest in a pooled investment fund. The
Pastoral Center provides operational and functional support to the Parishes and Other Catholic
Organizations in the areas of finance, building and properties, legal, human resources, stewardship
and communications, canonical tribunal, schools, evangelization and catechesis, pastoral services,
and clergy services. Information technology is also provided by contract to all Parishes and Other
Catholic Organizations, along with Mary’s Place Refugee Outreach, Nativity Preparatory
Academy, Catholic Charities of the Diocese of Rochester, Inc., Providence Housing Development
Corporation, and Camp Stella Maris of Livonia, Inc.

B.      Need for Reorganization

         Over the last several decades, certain clergy members and employees of the Church have
violated the sacred trust placed in them by children and their families and the Church by
committing acts of Abuse. This conduct runs contrary to the teaching and traditions of the Church.
The Diocese has worked for more than three decades to meet the needs of Abuse survivors without
filing for chapter 11 reorganization. Since the mid-1980s, the Diocese has settled 31 claims related
to child Abuse and has directed substantial resources towards providing financial, psychological,
pastoral, and spiritual support to survivors. The Diocese conducted an Independent Reconciliation
and Compensation Program prior to the Petition Date pursuant to which 23 Abuse survivors agreed
to monetary settlements totaling $2,680,320. The Diocese has publicly disclosed proven or
acknowledged perpetrators. The Diocese makes referrals to law enforcement for all allegations of
Abuse. Bishop Matano has apologized for the past misconduct of the personnel of the Diocese
and meets with victims at every opportunity in an attempt to bring comfort to such individuals, as

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did his predecessor. The Diocese has established standards for the training and background
assessment of all employees, clerics and volunteers who will likely interact with children and
young people.

       While the Diocese carried insurance during many periods in which Abuse is alleged to
have occurred, and while the Diocese believes such insurance provides coverage for the Abuse
Claims as they were asserted or likely would be asserted against the Diocese, prior to filing its
Chapter 11 Case, the Diocese had been largely unsuccessful in obtaining any coverage for Abuse
Claims asserted against the Diocese.

        On January 28, 2019, the New York State Legislature passed the CVA. New York’s
Governor signed the legislation on February 14, 2019. The CVA modified New York’s statute of
limitations and created a one-year “window” during which victims of child sexual abuse whose
claim may have been time-barred were permitted to commence a timely civil action. In addition,
the CVA extended the statute of limitations for claims that were not time-barred on its date of
passage, permitting such child victims to commence timely civil actions until they reach 55 years
of age. The window for commencing previously time-barred actions under the CVA was
subsequently extended to, and closed on, August 13, 2021. Since the Petition Date, survivors of
alleged clergy Abuse have Filed 554 proofs of claims against the Diocese’s Estate in the Chapter
11 Case. In addition, the vast majority of such claims are the subject matter of separate Abuse
Actions that have been commenced in other courts against a Participating Party that is alleged to
be jointly and severally liable with the Diocese on account of such claims.

        On May 24, 2022, New York’s Governor signed into law the ASA. The ASA created a
one-year window during which survivors whose claims would otherwise have been subject to
New York’s statute of limitations may commence lawsuits based upon sexual offenses committed
against them when they were eighteen (18) years of age or older at the time the Abuse occurred.
The ASA window to sue on an Adult Abuse Claim opened on November 24, 2022.

       As a result, the Diocese faced the prospect of addressing Abuse Claims asserted in amounts
exceeding the Diocese’s ability to pay, in which circumstance (a) survivors of Abuse could have
been left with no compensation or other support, and (b) those within the Diocese (including non-
Catholics) who depend on the services of the Church delivered through the Diocese could have
been left without the material, monetary, and spiritual support the Diocese provides.

        The Diocese is a not-for-profit religious corporation with limited resources, including
limited insurance coverage which may be applicable to claims of persons seeking remedies for
Abuse Claims. The Diocese acknowledges its moral obligation to compensate all victims of Abuse
by church personnel fairly and equitably. Consistent with this moral obligation, it cannot allow
any single plaintiff to recover a disproportionate share of the limited funds available from the
Diocese simply because that plaintiff’s case goes to trial first. Similarly, the Diocese cannot ignore
the valid claims of other Creditors who stand on equal footing with Abuse Claimants as general
unsecured Creditors of the Diocese. Beyond the Diocese’s obligation to all of its Creditors, the
Diocese has a fundamental and moral obligation to the Catholic faithful it serves, and to the donors
who have entrusted the Diocese with the material fruits of their life’s labor, to continue the
ministries of the Church through the Reorganized Diocese. The Diocese’s goals in seeking chapter
11 relief were two-fold: First, to protect and preserve its assets that are properly available for

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Distribution to satisfy the claims of the Diocese’s unsecured Creditors, along with whatever
additional assets can be marshaled, so that those assets are distributed equitably to all Creditors.
Second, to continue the work of the Church in Western New York to the fullest extent possible,
using the resources dedicated to that purpose.

                                          ARTICLE III

                                   THE CHAPTER 11 CASE

A.      The Chapter 11 Filing

        The Diocese commenced the Chapter 11 Case on the Petition Date by filing a voluntary
petition for chapter 11 relief under the Bankruptcy Code [Docket No. 1]. The Diocese’s case was
assigned to the Honorable Paul R. Warren, United States Bankruptcy Judge for the Western
District of New York. The Diocese has continued in possession of its assets and the management
of its business as a debtor in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy
Code.

        On September 12, 2019, the Bankruptcy Court held an initial hearing to consider certain
“first day” matters and entered several orders in the Chapter 11 Case, each of which is available
from the Clerk of the Bankruptcy Court or may be viewed, free of charge, at the case management
website maintained by the Diocese’s notice agent at https://case.stretto.com/rochesterdiocese. The
Bankruptcy Court entered the following orders granting “first day” relief:

        1.     Employee Wages and Benefits.

       The Diocese Filed a motion seeking approval to pay certain prepetition employee wage
and benefit obligations (the “Wage Motion”). Interim Orders granting the relief requested in the
Wage Motion were entered on September 19, 2019 [Docket No. 42], October 25, 2019 [Docket
No. 119], and November 22, 2019 [Docket No. 269].

        2.     Pre-petition Self-Insurance Program.

       The Diocese Filed a motion seeking authority to continue its prepetition self-insurance
program (the “PSIP Motion”). An Interim Order granting the relief requested in the PSIP Motion
was entered on September 19, 2019 [Docket No. 43] and a Final Order was entered on
November 8, 2019 [Docket No. 199].

        3.     Utilities.

        The Diocese Filed a motion seeking to prohibit utility companies from altering, refusing,
or discontinuing service and determining adequate assurance of future performance (the “Utilities
Motion”). An Interim Order granting the relief requested in the Utilities Motion was entered on
September 19, 2019 [Docket No. 44] and a Final Order was entered on November 1, 2019 [Docket
No. 158].

        4.     Maintain Bank Accounts and Forms.


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        The Diocese Filed a motion seeking approval to maintain its existing investment and bank
accounts and its existing business forms (the “Cash Management Motion”). An Interim Order
approving the Cash Management Motion was entered on September 19, 2019 [Docket No. 45] and
a Final Order was entered on November 1, 2019 [Docket No. 159].

        5.     File Chapter 11 Matrix and Schedules Under Seal.

        The Diocese Filed a motion seeking approval to File all documents containing the names
of alleged child Abuse victims in a redacted form (the “Motion to File Under Seal”). An Order
approving the Motion to File Under Seal was entered on September 13, 2019 [Docket No. 29].

B.      Administration of the Case

        After the Petition Date, and in accordance with sections 1107(a) and 1108 of the
Bankruptcy Code, the Diocese continued its operations and managed its assets as a debtor in
possession. As of the date of this Disclosure Statement, no trustee or examiner has been appointed
in the Chapter 11 Case, nor has any motion for a trustee or examiner been made.

C.      Appointment of the Committee

       On September 26, 2019, the Office of the United States Trustee appointed the Committee
pursuant to sections 1102(a) and 1102(b) of the Bankruptcy Code to serve in the Chapter 11 Case.
The Committee is composed of nine individuals who hold Abuse Claims against the Diocese.

        The Committee retained the law firm of Pachulski, Stang, Ziehl & Jones, LLP (“PSZJ”) to
represent it in the Chapter 11 Case. Since its appointment, the Committee has taken an active role
in the Chapter 11 Case and has been involved in virtually every major event that transpired during
the chapter 11 process, including participating in mediation and drafting the Plan.

        The Committee also performed its investigatory function by reviewing financial and
operating information supplied by the Diocese and third parties, and by conducting an
investigation to determine whether any other assets could be made available to pay Abuse Claims.

D.      Retention of Professionals

        During the Chapter 11 Case, the Bankruptcy Court approved the retention and employment
of the following professionals to assist in the administration of the Chapter 11 Case:

        1.     Bankruptcy Counsel to Diocese.

      On October 8, 2019, the Diocese Filed an application to retain Bond, Schoeneck & King,
PLLC (“Bond”) as its bankruptcy counsel. An Order approving the retention of Bond was entered
on November 20, 2019 [Docket No. 249].

        2.     Claims and Noticing Agent.




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       On September 12, 2019, the Diocese Filed an application to retain Stretto as its claims and
noticing agent. An Order approving the retention of Stretto was entered on November 25, 2019
[Docket No. 288].

        3.     Special Litigation and Real Estate Counsel to Diocese.

        On October 8, 2019, the Diocese Filed an application to retain Harris Beach PLLC (“Harris
Beach”) as its special counsel with respect to (i) the Abuse Claims; (ii) a certain subpoena dated
September 6, 2018 issued to the Diocese by the New York State Office of the Attorney General;
(iii) certain labor and employment matters; and (iv) specific real estate matters. An Order
approving the retention of Harris Beach was entered on November 22, 2019 [Docket No. 273].

        4.     Special Insurance Counsel to Diocese.

       On October 8, 2019, the Diocese Filed an application to retain Blank Rome LLP (“Blank
Rome”) as its special counsel with respect to the Diocese’s various insurance policies and
insurance coverage litigation. An Order approving the retention of Blank Rome was entered on
November 27, 2019 [Docket No. 300].

        5.     Special Corporate Counsel to Diocese.

       On October 8, 2019, the Diocese Filed an application to retain Nixon Peabody LLP
(“Nixon”) as its special corporate counsel with respect to, among other things, federal and state
laws applicable to tax exempt organizations. An Order approving the retention of Nixon was
entered on November 27, 2019 [Docket No. 301].

        6.     Special Counsel to the Diocese.

        On August 19, 2021, the Diocese Filed an application to retain Gellert, Scali, Busenkell &
Brown, LLC (“Gellert”) to act as special counsel to the Diocese and represent its interests in the
chapter 11 case filed by the Boy Scouts of America in the United States Bankruptcy Court for the
District of Delaware (Case No. 20-10343). An Order approving the retention of Gellert was
entered on October 25, 2021 [Docket No. 1319].

        7.     Claims Valuation Expert to the Diocese.

       On April 12, 2022, the Diocese Filed an application to retain Gnarus Advisors, LLC
(“Gnarus”) as claims valuation expert to the Diocese. An Order approving the retention of Gnarus
was entered on April 27, 2022 [Docket No. 1485].

        8.     Accountants.

       On November 12, 2019, the Diocese Filed an application to retain Bonadio & Co, LLP
(“Bonadio”) as the accountants to the Diocese. An Order approving the retention of Bonadio was
entered on November 27, 2019 [Docket No. 302].

        9.     Counsel Retained by the Committee.



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      On October 18, 2019, the Committee Filed an application to retain PSZJ as its legal advisor.
An Order approving the retention of PSZJ was entered on November 1, 2019 [Docket No. 160].

         10.    Financial Advisor Retained by the Committee.

       On August 5, 2020, the Committee Filed an application to retain Berkeley Research Group,
LLC as its financial advisor. An Order approving the retention of Berkeley Research Group, LLC
was entered on September 11, 2020 [Docket No. 761]

         11.    Special Insurance Counsel Retained by the Committee.

        On June 3, 2021, the Committee Filed an application to retain Burns Bowen Bair LLP as
special insurance counsel to the Committee. An Order approving the retention of Burns Bowen
Bair LLP was entered on June 22, 2021 [Docket No. 1113]

         12.    Claim Valuation Expert Retained by the Committee.

       On June 24, 2021, the Committee Filed an application to retain The Claro Group, LLP as
claim valuation expert to the Committee. An Order approving the retention of The Claro Group,
LLP was entered on July 17, 2021 [Docket No. 1217].

E.       Schedules and Statement of Financial Affairs

       The Diocese Filed its Schedules of Assets and Liabilities (the “Schedules”) and Statements
of Financial Affairs Schedules on October 4, 2019 [Docket No. 79].

F.       Post-Petition Operations and Select Financial Information

       Since the Petition Date, the Diocese has continued to operate its ecclesiastical business.
During a typical month, the Diocese’s expenses total approximately $1,500,000.

         Set forth below is a summary of the Diocese’s Assets as of June 30, 2023:

         1.     Operating Cash.

       As of June 30, 2023, the Diocese had approximately $3.9 million in cash and cash
equivalents, approximately $2.6 million of which was not subject to donor restrictions.

         2.     Real Estate.

       The Diocese currently owns three (3) parcels of real property with an aggregate value of
approximately $4,251,000 as follows:

              a.      the Pastoral Center located at 1150 and 1136 Buffalo Road, Rochester, New
York appraised at $3,815,000 as of June 30, 2019.

             b.       a church and parking lot used in migrant ministry and located at 3799 and
3810 Union Street, Palmyra, New York appraised at $271,000 as of June 30, 2019.


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                c.    a church and rectory used in migrant ministry and located at 175 Main
Street, Leicester, New York appraised at $165,000 as of April 15, 2021.

        3.     Personal Property.

       The Diocese currently owns personal property (accounts receivable, prepaid expenses
including insurance, workers’ compensation, furniture, and fixtures), with a scheduled value of
$1,851,000 as of the Petition Date.

        4.     Investment Accounts.

                a.     General Investment Account. As of June 30, 2023, the Diocese had
$25,557,000 on deposit in a general investment account at Tompkins Financial. These monies are
expected to be used to fund a significant portion of the DOR Entities’ Cash Contribution described
in greater detail below.

                b.      The CGA Investment Account. The Diocese maintains a charitable gift
annuity program pursuant to N.Y. Insurance Law § 1110, which allows the Diocese to make
annuity agreements with donors. Under the Diocese’s charitable gift annuity program, donors
make donations to the Diocese for the restricted purpose of funding annuity payments for the
lifetime of a specified annuitant, with the understanding that, upon the death of the annuitant, the
funds associated with the donation would be withdrawn from the program and used to support one
or more Catholic entities or initiatives, as specified in the applicable gifting instrument. In most
instances, the donors direct that any remainder benefit be given to a specific Parish or religious
order, or designate it for a specific purpose, rather than provide that it be given to the Diocese on
an unrestricted basis.

       The Diocese maintains an investment account at Tompkins Financial Advisors for the
purpose of investing and holding the donated funds from which annuity payments are made in
accordance with the requirements of Insurance Law § 1110 (the “CGA Investment Account”). The
CGA Investment Account has, as of June 30, 2023, an approximate balance of $101,000. The
Diocese is currently a party to annuity agreements with nine (9) annuitants, pursuant to which the
Diocese is obligated to make annuity payments aggregating approximately $20,000 annually.

        As required by Insurance Law § 1110(b) the annuity funds in the CGA Investment Account
are held as segregated separate and distinct funds, and may not be applied by the Diocese to pay
its debts or obligations or for any purpose except payment of annuity benefits.

       To comply with the requirements of Insurance Law § 1110(b), the Diocese has retained the
services of Alesco Advisors to assist in managing investments within the CGA Investment Fund
and to ensure that donated annuity funds are invested in accordance with the prudent investor
standard defined in section 11-2.3 of the N.Y. Estates, Powers and Trusts Law.

       The annuity payments the Diocese has committed to make from the CGA Investment
Account are calculated based upon an actuarial evaluation of the amount donated, the annuitant’s
expected lifespan, and the projected availability of income from investments in the CGA
Investment Account. If the Diocese is not able to obtain a reasonable investment return on the


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donated funds, its obligations to make annuity payments may exceed the funds available to make
the payments.

                c.     The Communis Fund. The Communis Fund (“Communis”) is a not-for-
profit corporation formed in 2005 to maintain investments on behalf of the Diocese and various
other separately incorporated Catholic entities. Communis provides for the administration and
protection of the Diocese’s temporal goods in conformity with Canon Law and the New York State
Prudent Management of Institutional Funds Act (See New York Not-for-Profit Corporation Law
“NPCL” at §§ 550-558). Communis is exempt from certain federal and state securities laws
pursuant to the Philanthropy Protection Act of 1995. The participants in Communis include: the
Diocese, the Priests’ Retirement Plan, Lay Employees’ Retirement Plan, various Parishes, Catholic
Charities of the Diocese of Rochester, and St. Bernard’s School of Theology & Ministry. All
investments of the participants are held separately in clearly identified accounts in the name of the
participants.

         Communis is governed by a board of directors elected by the Diocesan Bishop, the Vicar
General, and the Chancellor of the Diocese, in their capacities as the members of the corporation.
The board of directors oversees Communis’ operations including, without limitation, by adopting
Communis’ investment policy, selecting an investment advisor and reviewing investment
performance. Communis’ investment activity is professionally managed by Alesco Advisors in
accordance with the investment guidelines adopted by the board. The investment guidelines have
been established to encourage steady growth over a long-term investment horizon. Pursuant to an
Institutional Custody Agreement dated as of April 3, 2006, all securities and other investments in
Communis are held by the Bank of New York Mellon (“BNY Mellon”) which serves as both
custodian and record keeper for Communis.

         In addition to serving as an investment vehicle, Communis/BNY Mellon provides the
Diocese with accounting support by separately monitoring and accounting for more than fifty
distinct categories of endowed, use-restricted and trust funds held with Communis. As of June 30,
2023, Communis held approximately $47,407,000 in funds under management for the Diocese,
ninety-eight percent (98%) of which are subject to donor-imposed restrictions on use or are held
in trust for the benefit of third parties.

         The Diocese is reliant, in part, on income generated from its investments in Communis to
fund its annual budget. The Diocese follows the spending rules set forth in the New York Prudent
Management of Institutional Funds Act and generally budgets to spend up to five percent (5%) of
the rolling 20 quarter average of its invested funds on an annual basis.

G.      Bar Date, Abuse Claims, and Boy Scouts of America Claims

        1.     Bar Date.

       By an Order dated February 25, 2020 (the “Bar Date Order”), the Bankruptcy Court fixed
August 13, 2020 (the “Bar Date”) as the deadline for filing proofs of claim for all prepetition
Claims, including Abuse Claims, against the Diocese. The Bar Date Order also established August
13, 2020 as the deadline for all governmental units (as defined in section 101(27) of the Bankruptcy
Code) to File proofs of claim in the Chapter 11 Case. The Notice of Deadline for Filing Proofs of


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Claim (the “Bar Date Notice”) approved by the Bankruptcy Court defines “Sexual Abuse Claim”
as any claim arising from “contacts, or interactions of a sexual nature between a child and an adult,
or a nonconsenting adult and another adult.”

        The Bar Date Notice was sent to all known Creditors of the Diocese. In addition, the Bar
Date Notice was published, as required in the Bar Date Order, in national and regional newspapers,
on television and radio stations, on the Diocese’s social media accounts, in the Catholic Courier,
through postings at Parishes and at other Catholic agencies, and through postings at governmental
agencies, including the State of New York Office of the Attorney General, and at the district
attorney’s office, sheriff’s office, county government center, and public health and substance abuse
agencies in Monroe, Cayuga, Livingston, Wayne, Tioga, Tompkins, Ontario, Seneca, Schuyler,
Yates, Steuben, and Chemung Counties.

        Under the Bar Date Order and the Plan, unless otherwise ordered by the Bankruptcy Court
or as provided in the Allocation Protocol, any Person who was required to File a timely proof of
claim and failed to do so on or before the Bar Date will not be entitled, with respect to such Claim,
to receive any payment or Distribution of property from the Diocese, its successors or assigns, and
will be forever barred from asserting such Claim against the Diocese or its Estate.

         The Diocese, its Professionals, and the Committee’s Professionals have reviewed all the
Claims Filed by Creditors. More than 554 proofs of claim were Filed by Abuse Claimants in the
Chapter 11 Case. The Diocese believes that at least 41 of these proofs of claim are either duplicate
claims or do not allege a claim arising from or related to Abuse. At least 42 Abuse Claims were
filed after the Bar Date. Among the Abuse Claims Filed prior to the Bar Date, the Diocese believes
at least 46 assert Claims based upon the actions or omissions of individuals or entities that are not
affiliated with the Diocese and for which the Diocese believes neither it nor the Participating
Parties have any legal liability. Notwithstanding the Diocese’s position on liability, or whether
Abuse Claims may be duplicative or filed after the Bar Date, the Abuse Claim Reviewer and/or
the Trustee may determine that holders of such Abuse Claims may be entitled to a Distribution in
accordance with the Allocation Protocol. Further, in the case of Litigation Claims, a court may
find that the Diocese and/or Participating Parties are liable to Litigation Claimants even where the
Diocese and/or Participating Parties believe they are not liable for such Claims. Nothing herein
shall be deemed an admission regarding any Person’s liability for Abuse Claims. In addition,
various Parishes, Schools, and Other Catholic Organizations also Filed contingent claims for
indemnification or contribution in the Chapter 11 Case, as they were sued in various Abuse Actions
either as co-defendants along with the Diocese prior to the Petition Date or, following the Petition
Date, in Abuse Actions relating to the same actions or occurrences of Abuse alleged in proofs of
claim Filed in the Chapter 11 Case.

         2.       Claims Involving the Boy Scouts of America.5

      On February 18, 2020, the Boy Scouts of America and Delaware BSA, LLC (collectively,
“BSA”) Filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the United


5
 Capitalized terms that are used in this section but not defined in the Diocese’s Plan or elsewhere in this Disclosure
Statement shall have the meanings ascribed to them in the Third Modified Fifth Amended Chapter 11 Plan of
Reorganization (With Technical Modifications) for Boy Scouts of America and Delaware BSA, LLC [BSA Docket No.

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States Bankruptcy Court for the District of Delaware (the “Delaware Court”) commencing a jointly
administered chapter 11 bankruptcy case bearing the case number 20-10343 (the “BSA
Bankruptcy Case”). The BSA Bankruptcy Case was Filed primarily to address thousands of
unique abuse-related claims asserted against the BSA (the “BSA Abuse Claims”). In addition to
alleging direct liability against BSA for abuse, many BSA Abuse Claims also implicate certain
other organizations (known as “Chartered Organizations”)6 that facilitate the scouting programs
of the BSA on a local level. The Diocese and several of the Participating Parties may have been
Chartered Organizations and are potentially implicated by certain BSA Abuse Claims.

        There are nineteen Abuse Claims asserted against the Diocese and other Participating
Parties (either through proofs of claim filed in the Chapter 11 Case or Abuse Actions filed in state
court) that reference the BSA and allege scouting-related Abuse (the “DOR-BSA Abuse Claims”).
On or around June 22, 2021, the Roman Catholic Ad Hoc Committee (the “RCAHC”)7 was formed
to represent the interests of all Roman Catholic entities (“Roman Catholic Entities”) nationwide
that are Chartered Organizations, or are otherwise implicated by, the BSA Case. The Diocese is a
member of the RCAHC.

        On March 17, 2022, the RCHAC entered into a Settlement Agreement with BSA and its
key constituents (the “RCAHC Settlement”) which provides that all non-debtor Roman Catholic
Entities would be treated as Participating Chartered Organizations under the BSA Plan. Roman
Catholic Entities, such as the Diocese, that are currently debtors in their own chapter 11 cases are
required to obtain orders from their own bankruptcy courts authorizing them to participate in the
RCAHC Settlement. On November 10, 2022, the Bankruptcy Court entered an Order [Docket No.
1801] authorizing, but not directing, the Diocese to opt-in to treatment as a Participating Chartered
Organization.

      On September 8, 2022, the Delaware Court entered an order [BSA Docket No. 10316] (the
“BSA Confirmation Order”) confirming the BSA Plan. On December 20, 2022, the Diocese gave
BSA notice of its election to opt-in to treatment as a Participating Chartered Organization under
the BSA Plan.

      The legal effect of certain provisions contained within the BSA Plan and the BSA
Confirmation Order is a matter of dispute among various parties in interest in the BSA Bankruptcy
Case. Further, the BSA Confirmation Order has been appealed by multiple parties. While there


10296] (the “BSA Plan”). References to the BSA Bankruptcy Case docket will be cited in the following manner:
“[BSA Docket No. ___]”.
6
  There are over 40,000 Chartered Organizations nationwide within the BSA organization, and they operate within
one of the 253 non-debtor Local Councils that are responsible for administering the BSA’s programs across the United
States and its territories. Each Local Council covers a specific geographic area. The counties served by the Diocese
are variously located within the Seneca Waterways Council, the Five Rivers Council, the Iroquois Trail Council, the
Baden-Powell Council, and the Longhouse Council.
7
 The RCAHC is composed of the following entities: Catholic Mutual Relief Society of America, Roman Catholic
Diocese of Sioux City, Roman Catholic Diocese of Joliet, Roman Catholic Diocese of Omaha, Roman Catholic
Diocese of Winona-Rochester, Roman Catholic Archdiocese of Washington, D.C, Roman Catholic Archdiocese of
Atlanta, Roman Catholic Archdiocese of New York, Roman Catholic Archdiocese of Chicago, Roman Catholic
Diocese of Syracuse, Roman Catholic Diocese of Buffalo, and the Diocese of Rochester.

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is a possibility that the BSA Confirmation Order will be modified or vacated on appeal, in the
event it is upheld the Diocese believes that, as a Participating Chartered Organization, it will
receive the following treatment under the BSA Plan:8

               a.     Protection from Direct BSA Abuse Claims. All BSA Abuse Claims that
arose on or after January 1, 1976 (“Post-1975 BSA Abuse Claims”), as well as all BSA Abuse
Claims that arose prior to January 1, 1976 (“Pre-1976 BSA Abuse Claims”) for which there is
insurance issued by a Settling Insurance Company (as defined in the BSA Plan, a “BSA Settling
Insurance Company”), will be channeled into a Settlement Trust established under the BSA Plan
(the “BSA Settlement Trust”), and the Abuse survivors will release the Participating Chartered
Organizations from such BSA Abuse Claims. Claims unrelated to scouting are not impacted by
the BSA Plan. The BSA Plan also provides that all Participating Chartered Organizations will
receive the protection of a twelve-month injunction from prosecution of BSA Abuse Claims
beginning on the Effective Date of the BSA Plan (subject to further extension) to afford
Participating Chartered Organizations an opportunity to negotiate an appropriate contribution with
the Settlement Trust in order to become, and receive the enhanced treatment afforded to,
Contributing Chartered Organizations under the BSA Plan. Contributing Chartered Organizations
receive complete releases from all BSA Abuse Claims asserted against them, regardless of when
the BSA Abuse Claim arose.

                b.     BSA and Local Council Insurance. Participating Chartered Organizations
will assign, to the BSA Settlement Trust, their rights as additional insureds under liability
insurance policies covering BSA Abuse Claims issued to the BSA or Local Councils by BSA
settling insurance companies (the “Participating Chartered Organization Insurance Assignments”)
and will voluntarily release their rights to any such insurance policies. All BSA Abuse Claims
will be channeled into the BSA Settlement Trust. Participating Chartered Organizations must also
assign to the BSA Settlement Trust, among other things, all causes of action against non-settling
insurance companies related to Post-1975 BSA Abuse Claims; however, they will retain whatever
rights they previously had (if any) in all pre-1976 insurance policies issued to the BSA and Local
Councils.

               c.      Chartered Organization Insurance.           BSA Abuse Claims against
Participating Chartered Organizations will be released and channeled to the BSA Settlement Trust
if a BSA Settling Insurance Company issued a liability policy (other than an automobile policy or
director’s and officer’s policy) that does not specifically exclude Abuse or molestation to a
Participating Chartered Organization, and a claimant alleges Abuse during the period of that
policy. Although the Participating Chartered Organization will release the BSA settling insurance
company for these BSA Abuse Claims, the Participating Chartered Organization will retain all
rights for Abuse claims unrelated to scouting under policies issued by BSA settling insurance
companies. They will also retain all rights for any claims (both related and unrelated to scouting)
under independent insurance policies issued by non-settling insurance companies.




8
  Notwithstanding the Diocese’s description of its understanding of the legal effect of the BSA Plan, nothing herein
shall bind the Abuse Claims Reviewer, the Trustee or the Trust in the application of the Allocation Protocol to Abuse
Claims.

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               d.     Indirect Abuse Claims. The Participating Chartered Organizations must
voluntarily waive all claims against the BSA for contribution, indemnity, reimbursement, or
subrogation, and any other claims which are derivative of abuse claims against BSA.

       The Diocese believes that twelve of the nineteen DOR-BSA Abuse Claims allege Post-
1975 BSA Abuse Claims, and the remaining seven allege Pre-1976 BSA Abuse Claims that are
not covered under insurance policies issued by BSA Settling Insurance Companies.

       Under the Plan, holders of DOR-BSA Abuse Claims may be compensated by the Trust
without regard to treatment of such claims under the BSA Plan.

H.       Reserved

I.       Insurance Coverage Adversary Proceeding

       The Diocese determined that Insurance Policies issued by twelve of its Insurers may be
implicated by the Abuse Claims. The Abuse Claims have also been Filed, in many cases, against
Parishes, Schools, and Other Catholic Organizations, including Non-Debtor Catholic Entities.

        The Insurers asserted various defenses to coverage of the Abuse Claims. In response, on
November 14, 2019, the Diocese commenced Adversary Proceeding No. 19-02021 (the “Insurance
Adversary Proceeding”) by filing a complaint against CNA, Interstate, LMI, Underwriters; The
Dominion Insurance Company Limited; Stronghold Insurance Company Limited; CX Reinsurance
Company Limited; Markel International Insurance Company Limited; Tenecom Limited; Colonial
Penn Insurance Company; and HDI Global Specialty SE (collectively, the “Insurers”) for breach
of contract and declaratory judgment, seeking a declaration of the rights, duties, and liabilities of
the parties pursuant to the terms of their respective insurance policies and damages. By
commencing the Insurance Adversary Proceeding, the Diocese sought to determine the extent of
coverage as to the Abuse claims asserted against the Diocese.9

        On December 23, 2019, the Diocese moved for an order referring the issues raised in the
Insurance Adversary Proceeding to mediation and for the appointment of a mediator to mediate all
issues among the Diocese, the Committee, and the Insurers. On March 10, 2020, the Court entered
an Order Directing Mediation and Appointing Mediator (the “Mediation Order”) which (i) referred
the claims asserted in the Insurance Adversary Proceeding to mediation; (ii) appointed the
Honorable United States Bankruptcy Judge Gregg W. Zive as mediator; and (iii) directed the
Diocese, the Insurers, the Committee, the ad hoc committee of Parishes and other Protected Parties
to participate in the mediation process.

      Under the Plan, the Trust will succeed to the Diocese as plaintiff under the Insurance
Adversary Proceeding.

         1.     The First Insurance Settlement and Claimant Lift Stay Motions.


9
  Colonial Penn Insurance Company was dismissed from the Insurance Adversary Proceeding once it was determined
that no Abuse Claims implicate the Colonial Penn insurance policies in question.


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        The Diocese, the Insurers, and the Committee thereafter engaged in several mediation
sessions during late 2020 and early 2021. The mediation sessions culminated in the execution of
a Settlement Agreement (the “First Settlement Agreement”) between the Diocese, LMI and
Interstate pursuant to which LMI and Interstate agreed to pay $15,000,000 and $20,000,000
respectively to the Estate for a complete buy-back of their insurance policies under which the
Diocese and its related entities (the “DOR Entities”) could claim coverage. In exchange for this
payment, LMI and Interstate would receive, upon confirmation of the Diocese’s chapter 11 plan,
releases from the DOR Entities, an injunction enjoying all entities from asserting Abuse Claims
against the subject insurance policies, LMI, Interstate or the DOR Entities, and the channeling of
the Abuse Claims to the Trust.

         The Committee was not a party to, and opposed, the First Settlement Agreement.

        On May 27, 2021, the Diocese Filed a Motion for Entry of an Order Approving Settlement
Agreement With Certain Underwriters at Lloyd’s, London, Certain London Market Companies,
Interstate Fire & Casualty Company and National Surety Corporation [Docket No. 1101;
Insurance Adv. Docket No. 99] (the “First Settlement Motion”) seeking approval of the First
Settlement Agreement.

         On June 8, 2021 and June 23, 2021, several Abuse Claimants each Filed a motion seeking
relief from the automatic stay under section 362(d) of the Bankruptcy Code to pursue their Abuse
Claims against the Diocese and other parties in state court (the “Claimant Lift Stay Motions”).10
The Committee Filed a Memorandum of Law in support of the Lift Stay Motions [Docket No.
1081].

        On July 12, 2021, the Bankruptcy Court entered an Order Denying Motion to Approve
Compromise, Without Prejudice and Directing Parties to Resume Mediation [Docket No. 1213;
Insurance Adv. Docket No. 153] which denied the First Settlement Motion, denied the Claimant
Lift Stay Motions, and directed all parties to return to mediation.

         2.      The Second Insurance Settlement.

       The mediation sessions resumed and continued from August 2021 through May 2022.
During May 2022, the Diocese negotiated proposed Settlement Agreements with LMI,
Underwriters, Interstate and CNA (the “Second Settlement Agreements”) pursuant to which those
Insurers agreed to provide aggregate settlement proceeds of $107,250,000 to the Estate as set forth
below:




10
  The Claimant Lift Stay Motions are filed at Docket Nos. 1037, 1039, 1041, 1042, 1045, 1047-1053, 1061, 1063,
1064, 1065, 1070, 1073, 1074, and 1075. The Committee filed a Joinder to the Claimant Lift Stay Motions at Docket
No. 1079.

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                           Insurer                        Settlement Amount
                           LMI                            $16,650,000
                           Underwriters                   $1,100,000
                           Interstate                     $26,000,000
                           CNA                            $63,500,000
                           TOTAL                          $107,250,000

         In addition to the $107,250,000 in proposed settlement proceeds from LMI, Underwriters,
Interstate and CNA, the DOR Entities proposed to provide an additional $40,500,000, to make a
total of $147,750,000 available to the Trust to compensate Abuse Claimants. In exchange for these
payments, LMI, Underwriters, Interstate and CNA would receive, upon confirmation of the
Diocese’s chapter 11 plan, releases from the DOR Entities, an injunction enjoying all entities from
asserting Abuse Claims against the subject insurance policies, LMI, Underwriters, Interstate,
CNA, and the DOR Entities, and the channeling of the Abuse Claims into the Trust. On May 20,
2022, the Diocese Filed a Motion to Approve Proposed Insurance Settlements to Fund Survivor
Compensation Trust [Insurance Adv. Pro. Docket No. 190] (the “Second Settlement Motion”).
The Committee has objected to the Second Settlement Motion. The parties have engaged in
preliminary discovery and negotiations regarding the Second Settlement Motion but, as of the date
of this Disclosure Statement, the Bankruptcy Court has not heard or ruled upon the Second
Settlement Motion.

       The Plan Proponents assert that the Plan supersedes the Second Settlement Motion and
renders it moot.

J.       Stay of Litigation Against Parishes, Schools, and Other Catholic Organizations

        Until May 7, 2022, all litigation in Abuse Actions against Participating Parties was stayed
pursuant to an Agreed Stipulation and Order Pursuant to 11 U.S.C. § 105(a) Staying Continued
Prosecution of Certain Lawsuits [Docket No. 452] (the “Stay Stipulation and Order”). The Stay
Stipulation and Order enjoined the prosecution of Abuse Claims against all Participating Parties,
and was the result of negotiations between the Diocese and the Committee. The Stay Stipulation
and Order was intended to enable the parties to concentrate their efforts on achieving a global
resolution of all Abuse Claims against the Diocese and the Participating Parties through the Plan.
The Stay Stipulation and Order was extended through consent of the Diocese and the Committee
eleven times over the course of the Chapter 11 Case while the Diocese engaged in plan negotiations
through mediation with its Insurers and the Committee [Docket Nos. 544, 638, 773, 880, 915, 971,
1132, 1236, 1344, 1413, and 1421]. The Stay Stipulation and Order expired on March 23, 2022.11

       On April 6, 2022, the Diocese commenced an adversary proceeding by filing a Verified
Complaint Seeking Declaratory and Injunctive Relief Pursuant to 11 U.S.C. §§105 and 362 or a
Preliminary Injunction Pursuant to Rule 7065 of the Federal Rules of Bankruptcy Procedure (Adv.
Pro. No. 22-02075) (the “Stay Adversary”) and Filed a motion (the “Injunction Motion”) seeking,
11
   Paragraph 6 of the Stay Stipulation and Order provides a forty-five (45) day period, following the occurrence of
the Termination Date (as such term is used therein), before any answer, motion to dismiss, or other responsive
pleading(s) must be filed by the Protected Parties in any of the CVA Cases. Based upon the March 23, 2022
Termination Date, that 45-day period expired on May 7, 2022.


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among other things, entry of one or more orders (i) confirming that the automatic stay provided by
section 362 of the Bankruptcy Code enjoins the prosecution of the Abuse Claims, to the extent
they seek to recover against, collect, or to obtain possession or control of, any property of the
Diocese’s bankruptcy estate (including, without limitation, any rights to insurance coverage), and
further (ii) enjoining the prosecution of the Abuse Claims against the Participating Parties pursuant
to section 105(a) of the Bankruptcy Code, to the extent such prosecution is not already stayed by
operation of the automatic stay.12

        The Committee and various Abuse Claimants opposed the Injunction Motion. On May 23,
2022, the Bankruptcy Court issued a Decision and Order Denying Motion of Diocese Seeking to
Enjoin the Prosecution of State Court Actions Against Independent Catholic Corporations and
Dismissing Complaint [Stay Adv. Docket. No. 48] (the “May 23 Decision”), which among other
things, denied the Injunction Motion, dismissed the Stay Adversary and raised significant concerns
about the Diocese’s pursuit of a non-consensual plan. On June 6, 2022, the Diocese appealed the
May 23 Decision to the District Court. That appeal is currently pending in the District Court under
Case No. 22-cv-06262 (the “Stay Appeal”).

K.       Appointment of Second Mediator

       The Diocese, the Committee, and the Insurers thereafter requested that the Bankruptcy
Court appoint Paul Van Osselaer to act as co-mediator with Judge Zive. On July 8, 2022, the
Bankruptcy Court entered the Consent Order Appointing Paul Van Osselaer as Additional
Mediator [Insurance Adv. Docket No. 200] and the mediation sessions resumed under the guidance
of Judge Zive and Mr. Van Osselaer.

        Since entry of the original Mediation Order, the Diocese, the Committee, and the Insurers
have engaged in more than three years of mediation with dozens of virtual and in-person mediation
meetings, interspersed with ongoing negotiations and communications among the mediation
parties. In spite of the substantial efforts of, and expense incurred in connection with, mediation,
the Diocese, the Committee, and the Non-Settling Insurers have been unable to achieve agreement
on a global settlement.

L.       The DOR Claim Objections

        On July 22, 2022, the Diocese Filed objections to 68 Abuse Claims Filed in the Chapter 11
Case (collectively, the “DOR Claim Objections”).13 The basis for the DOR Claim Objections is
the Diocese’s assertion that the subject Abuse Claims do not allege facts sufficient to support a
claim upon which relief can be granted under applicable New York Law because they concern
allegations against either (i) entities not located within the Diocese; (ii) entities not controlled by
the Diocese; or (iii) individuals who were never employed by the Diocese. LMI and CNA Filed
Joinders to the DOR Claim Objections [Docket Nos. 1670 and 1733].



12
   See The Diocese of Rochester v. AB 100 DOE, et al., Adv. No. 22-ap-02075 [Stay Adv. Docket Nos. 1, 4] (May 6,
2022).
13
   The DOR Claim Objections are filed at Docket Nos. 1576-1641 and 1643-1644 in the Chapter 11 Case.


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        The hearings to consider the DOR Claim Objections have been adjourned several times,
with the hearing being suspended indefinitely per Court order [Docket No. 2116]. Pursuant to the
Plan, the DOR Claim Objections will be deemed withdrawn with prejudice as of the Effective Date
of the Plan.

M.      The Restructuring Support Agreement

         The resumed mediation sessions resulted in the execution of the RSA on November 1,
2022. Pursuant to the RSA, the Diocese and the Committee agreed to pursue a plan of
reorganization in which Abuse Claims will be satisfied from a trust to be funded by (i) the DOR
Entities’ Cash Contribution in the amount of $55,000,000; (ii) the proceeds received from Settling
Insurers under Insurance Settlement Agreements; and (iii) the assignment of certain Insurance
Claims against Non-Settling Insurers to the Trust. The RSA also provides for resolution of the
litigation with the Committee in the Stay Adversary and the Appeal. The principal terms of the
RSA have been incorporated into the Plan. To date, the Plan Proponents have agreed to
settlements, subject to the execution of one or more Insurance Settlement Agreements, with
(a) Underwriters, pursuant to which Underwriters will pay an Insurance Settlement Amount of
$1.1 million, (b) LMI, pursuant to which LMI will pay an Insurance Settlement Amount of $19.5
million, (c) Interstate, pursuant to which Interstate will pay an Insurance Settlement amount of $50
million, and (d) First State, pursuant to which First State will pay an Insurance Settlement amount
of $750,000.

        On November 3, 2022, the Diocese filed a motion seeking entry of an order by the
Bankruptcy Court approving the RSA [Docket No. 1790] (the “RSA Approval Motion”). Each of
LMI, Underwriters, Interstate, CNA, First State, and the U.S. Trustee objected to the RSA
Approval Motion. As of the date of this Disclosure Statement, the Bankruptcy Court has not heard
or ruled upon the RSA Approval Motion.

N.      Court Facilitated Settlement Conference and LMI Settlement

         In January 2023, the Bankruptcy Court convened a multi-day settlement conference among
the Diocese, the Committee, and the Diocese’s Insurers in an attempt to facilitate development of
a global settlement of all Abuse Claims and Insurance Claims and to resolve the various objections
to the Second Settlement Motion and the RSA Approval Motion. Judge Warren attended and
facilitated settlement negotiations among the parties. A representative for the U.S. Trustee was
also present.

      While the parties were not able to achieve a global settlement, the Diocese and the
Committee were able to reach a settlement to resolve all Insurance Claims against LMI in exchange
for LMI’s contribution of a $19,500,000 settlement payment.




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O.         CNA Claim Objections and Committee Motion to Dismiss

        On March 23, 2023, CNA filed objections to 38 Abuse Claims Filed in the Chapter 11 Case
(collectively, the “CNA Claim Objections” and together with the DOR Claim Objections, the
“Claim Objections”).14

       On April 11, 2023, the Committee filed a motion seeking entry of an order dismissing the
CNA Claim Objections for lack of standing, lack of jurisdiction, or, in the alternative, staying the
CNA Claim Objections [Docket No. 2063] (the “Committee Motion to Dismiss”). On May 1,
2023, CNA filed opposition to the Committee Motion to Dismiss [Docket No. 2110].

        On May 3, 2023, the Court adjourned the hearing on the CNA Claim Objections and the
indefinitely pending adjudication of the standing issues raised in the Committee Motion to Dismiss
[Docket No. 2117]. The Court also took the Committee Motion to Dismiss under submission
[Docket No. 2119].

           Joint Chapter 11 Plan

        On March 24, 2023, the Diocese and the Committee filed the Joint Chapter 11 Plan of
Reorganization for the Diocese of Rochester dated March 24, 2023 [Docket No. 2046] (the “Initial
Joint Plan”) together with an accompanying disclosure statement [Docket No. 2045] (the “Initial
Disclosure Statement”). The Initial Joint Plan incorporated the terms of settlement with the
Committee as set forth in the RSA, and the $19,500,000 settlement with LMI and $1,100,000
settlement with Underwriters.

       On April 7, 2023, the Diocese filed a motion for entry of an order approving the Initial
Disclosure Statement and approving proposed solicication and noticing procedures [Docket No.
2058] (the “Solicitation Procedures Motion”).

P.         Interstate Motion to Resume Litigation of Insurance Adversary Proceeding

        On March 27, 2023, Interstate filed a motion seeking to terminate the judicial stay of the
Insurance Adversary Proceding and to resume litigation of that action [Ins. Adv. Docket No. 216]
(the “Interstate Stay Termination Motion”). Both the Diocese and the Committee opposed the
Interstate Stay Termination Motion [Ins. Adv. Docket Nos. 229 and 230].

       On April 25, 2023, the Court entered a decision and order dissolving the judicial stay of
deadlines in the Insurance Adversary Proceeding and terminating its prior mediation order [Ins.
Adv. Docket No. 233] (the “Order Terminating Mediation”).

       On May 8, and May 15, 2023, the Court entered further case management orders
temporarily vacating the Order Terminating Mediation to allow additional mediation efforts to
proceed [Ins. Adv. Docket Nos. 237 and 241].



14
     The CNA Claim Objections are filed at Docket Nos. 2003-2040 in the Chapter 11 Case.


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Q.       Adjournment of Contested Matters to Allow for Additional Mediation Efforts

      On May 15, 2023, the Court adjourned consideration of the Solicitation Procedures Motion
[Docket No. 2133] and deferred issuance of a decision and order on the Committee Motion to
Dismiss without date to permit further efforts at mediation [Docket No. 2134].

R.       Interstate and First State Settlements

        After additional mediation sessions were held in early 2023, the Diocese and Committtee
agreed to resolve all Insurance Claims against Interstate in exchange for a settlement payment from
Interstate of $50,000,000. The Diocese and the Committee separately agreed to resolve all
Insurance Claims against First State in exchange for a settlement payment of $750,000.
Accordingly, as of the date of this Disclosure Statement, LMI, Underwriters, First State, and
Interstate are Settling Insurers under the Plan, with a combined Insurance Settlement Amount of
$71,350,000, which when added to the $55,000,000 DOR Entities’ Cash Contribution, will provide
the Plan with $126.35 million of initial funding.

S.       CNA Competing Plan

        On August 31, 2023, CNA filed Continental Insurance Company’s Chapter 11 Plan of
Reorganization for The Diocese of Rochester [Docket No. 2144] (the “CNA Competing Plan”).
The CNA Competing Plan proposes to settle all Insurance Claims against CNA in exchange for a
cash payment of $75,000,000 which, when combined with the DOR Entities’ Cash Contribution
and the settlement payments from other Settling Insurers, would provide a total of $201.35 million
in funding for a trust to benefit Abuse Claimants, but would foreclose the possibility of additional
recoveries from post-confirmation litigation against CNA as contemplated in the Plan.

                                          ARTICLE IV

                                  SUMMARY OF THE PLAN

         The Plan Proponents submit that the treatment of Creditors under the Plan is more
favorable than the treatment Creditors would receive if the Chapter 11 Case were converted to a
case under chapter 7 of the Bankruptcy Code. Therefore, the Plan Proponents submit that the Plan
is in the best interests of all Creditors and the Plan Proponents recommend acceptance of the Plan
by holders of Class 3 General Unsecured Claims and Class 4 Abuse Claims.

       The summary of significant elements of the Plan below is provided for the
convenience of all parties. The summary does not describe every element of the Plan and is
not intended as a substitute for a thorough and complete review of the Plan. This summary
is subject to, and is qualified in its entirety by reference to, the full text of the Plan. All
Creditors are encouraged to review the Plan and this Disclosure Statement, including
Exhibits, in their entirety for a more complete understanding of the Plan’s provisions and
impact upon Creditors. To the extent any term or provision in this Disclosure Statement is
inconsistent with a term or provision of the Plan, the term or provision of the Plan shall
control.



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A.       Classification of Claims Generally

       Section 101(5) of the Bankruptcy Code defines a claim as: (a) a “right to payment, whether
or not such right is reduced to judgement, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured or unsecured”; or (b) a “right to an
equitable remedy for breach of performance if such breach gives rise to a right to payment, whether
or not such right to an equitable remedy is reduced to judgment, fixed, contingent, matured,
unmatured, disputed, undisputed, secured or unsecured.”

        Section 1123 of the Bankruptcy Code provides that a plan of reorganization shall designate
classes of claims against a debtor. Section 1122 of the Bankruptcy Code further requires that each
class of claims contain only claims that are “substantially similar” to each other. The Diocese
believes that it has classified all Claims in compliance with the requirements of Section 1122 and
1123. However, it is possible that the holder of a Claim may challenge such classification and that
the Bankruptcy Court may find that a different classification is required for the Plan to be
confirmed. In such event, the Diocese would, to the extent permitted by the Bankruptcy Court,
modify the classifications in the Plan as required and use the acceptances received in this
solicitation for the purpose of obtaining the approval of a Class or Classes of which the accepting
holder is ultimately deemed to be a member. Any such reclassification could adversely affect the
Class of which such holder was initially a member, or any other Class under the Plan, by changing
the composition of such Class and the vote required of that Class for approval of the Plan.
Furthermore, a reclassification of Claims may necessitate a re-solicitation.

B.       Creditor Recovery Under the Plan

        All classified Claims have been placed into one of five separate Classes. The Plan
affirmatively states whether each Class of Claims is Impaired or Unimpaired and whether such
Class is entitled to vote.

C.       Classification of Claims and Treatments

       As required by the Bankruptcy Code, all Claims are classified into several separate
categories. While the vast majority of Claims have been placed into one of the five separate
Classes, some Claims are left unclassified. The separate Classes are described in detail within this
Disclosure Statement and in the Plan.

 Class       Designation                                      Impaired        Entitled to Vote
 N/A         Administrative Claims                            No              Deemed to Accept
 N/A         Priority Tax Claims                              No              Deemed to Accept
 N/A         Non-Tax Priority Claims                          No              Deemed to Accept
 N/A         Professional Fee Claims                          No              Deemed to Accept
 N/A         U.S. Trustee Fee Claims                          No              Does not Vote
 1           Secured Claim of The Bank of Castile             No              Deemed to Accept
 2           Pass-Through Claims                              No              Deemed to Accept
 3           General Unsecured Claims                         Yes             Entitled to Vote
 4           Abuse Claims                                     Yes             Entitled to Vote
 5           Inbound Contribution Claims                      Yes             Deemed to Reject

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        1.     Unclassified Claims.

                a.      Administrative Claims. Administrative Claims are Claims for costs or
expenses incurred in the administration of the Diocese’s Chapter 11 Case, which are Allowed
pursuant to section 503(b) of the Bankruptcy Code. In accordance with section 1123(a)(1) of the
Bankruptcy Code, Administrative Claims have not been classified and are treated as described in
Section 2.1 of the Plan. Except as otherwise provided in the Plan, by written agreement of the
holder of an Allowed Administrative Claim to accept different and less favorable treatment than
provided under the Plan, or by order of the Bankruptcy Court, a Person holding an Allowed
Administrative Claim will receive Cash equal to the unpaid portion of such Allowed
Administrative Claim as soon as practicable after the later of: (i) the Effective Date; or (ii) the date
on which such Claim becomes an Allowed Administrative Claim. Notwithstanding anything in
the Plan to the contrary, the holder of an Allowed Administrative Claim may be paid on such other
date and upon such other terms as may be agreed upon by the holder of an Allowed Administrative
Claim and the Diocese or the Reorganized Diocese.

         With respect to any trade Claims arising after the Petition Date representing obligations
incurred by the Diocese in the ordinary course of its business consistent with past practice, such
trade Claims shall be paid in the ordinary course of business. The Diocese estimates that unpaid
post-petition ordinary course payables as of the Effective Date, excluding payroll and related
expenses will total approximately $50,000 - $100,000. As to other Allowed Administrative
Claims, except as otherwise provided in the Plan, each holder of an Allowed Administrative Claim:
(i) shall be paid by the Reorganized Diocese as soon as reasonably practicable after the Effective
Date or on the date the Order allowing such Administrative Claim becomes a Final Order; and
(ii) shall receive, on account of and in full satisfaction of such Allowed Administrative Claim,
Cash equal to the amount thereof, unless the holder agrees to less favorable treatment of such
Allowed Administrative Claim.

       Administrative Claims representing obligations incurred by the Diocese after the date and
time of the entry of the Confirmation Order shall not be subject to application to the Bankruptcy
Court and may be paid by the Reorganized Diocese in the ordinary course of business and without
Bankruptcy Court approval.

                b.       Priority Tax Claims. Except to the extent that a holder of an Allowed
Priority Tax Claim agrees to less favorable treatment, each holder of an Allowed Priority Tax
Claim shall receive on account of and in full and complete settlement, release and discharge of,
and in exchange for, such Allowed Priority Tax Claim, at the sole option of the Diocese or the
Reorganized Diocese, as applicable, Cash in an amount equal to such Allowed Priority Tax Claim
on, or as soon thereafter as is reasonably practicable, the later of (a) the Effective Date, to the
extent such Claim is an Allowed Priority Tax Claim on the Effective Date, (b) the date such Priority
Tax Claim becomes an Allowed Priority Tax Claim, and (c) the date such Allowed Priority Tax
Claim is due and payable in the ordinary course as such obligation becomes due; provided,
however, that the Diocese reserves the right to prepay all or a portion of any such amounts at any
time under this option without penalty or premium. The holder of an Allowed Priority Tax Claim
will not be entitled to receive any payment on account of any penalty arising from, or in connection


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with any Priority Tax Claim and any demand for such penalty will be deemed Disallowed by the
confirmation of the Plan.

        The Diocese does not anticipate that any Priority Tax Claims will exist as of the Effective
Date.

               c.      Non-Tax Priority Claims. Unless the holder of an Allowed Non-Tax
Priority Claim and the Diocese or the Reorganized Diocese (as applicable) agree to a different
treatment, on, or as soon as reasonably practicable after, the later of (a) the Effective Date, or (b)
the date on which Non-Tax Priority Claim becomes an Allowed Claim, each holder of an such an
Allowed Claim shall receive, in full satisfaction, settlement, and release of, and in exchange for,
such Allowed Claim, (i) Cash equal to the unpaid portion of such Allowed Claim or (ii) such other
less favorable treatment as to which the Diocese or the Reorganized Diocese and the holder of
such Allowed Claim shall have agreed upon in writing. The Trust shall not be responsible for
payment of Non-Tax Priority Claims. Notwithstanding anything in the Plan to the contrary, the
holder of an Allowed Non-Tax Priority Claim may be paid on such other date and upon such other
terms as may be agreed upon by the holder of an Allowed Administrative Claim and the Diocese
or the Reorganized Diocese.

        The Diocese does not anticipate that any unpaid Non-Tax Priority Claims will exist as of
the Effective Date.

                d.      Professional Fee Claims. In accordance with section 1123(a)(1) of the
Bankruptcy Code, Professional Fee Claims have not been classified and are treated as described
herein. All Professionals or other Persons requesting an award by the Bankruptcy Court of
Professional Fee Claims (a) shall File their respective final applications for allowance of
compensation for services rendered and reimbursement of expenses incurred by the date that is 60
days after the Effective Date, and (b) shall be paid in full, in Cash, by the Reorganized Diocese (i)
as soon as practicable after the Effective Date or the date the order allowing such Administrative
Claim becomes a Final Order; or (ii) upon such terms as may exist pursuant to order of the
Bankruptcy Court or as may be mutually agreed upon between the holder of such an Allowed
Professional Fee Claim and the Diocese or the Reorganized Diocese, as applicable. The Diocese
is authorized to pay its Professionals for services rendered or reimbursement of expenses incurred
after the Confirmation Date in the ordinary course and without the need for Bankruptcy Court
approval.

        Professional Fee Claims of Professionals employed by the Committee, which are incurred
prior to the Effective Date of the Plan in connection with the implementation and consummation
of the Plan, may be paid by the Diocese or the Reorganized Diocese, after notice and a hearing, or
by the Trust from contributions by the Diocese or the Reorganized Diocese in addition to the
amounts payable to Abuse Claimants under the Plan.

       Professional Fee Claims representing fees and expenses of Professionals employed by the
Diocese for services rendered prior to the Effective Date shall not be paid by the Trust.

               e.     U.S. Trustee Fees. U.S. Trustee Fees include all fees and charges assessed
against the Diocese under 28 U.S.C. § 1930, together with interest, if any, under 31 U.S.C. § 3717.


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All U.S. Trustee Fees not paid prior to the Effective Date shall be paid by the Reorganized Diocese
as soon as practicable after the Effective Date. In no event shall the payments made to the Trust
pursuant to Sections 2, 5, 7 or 8 of the Plan by any Person other than the Diocese be considered
“disbursements” under 28 U.S.C. § 1930, nor shall any payment made by the Trust to any Person
be considered a disbursement under 28 U.S.C. § 1930.

        To date, the Diocese has paid U.S. Trustee Fees totaling approximately $583,860 to the
Office of the United States Trustee in connection with the Chapter 11 Case. The requirement to
pay U.S. Trustee Fees is subject to any amendments to 28 U.S.C. § 1930(a)(6) that Congress makes
retroactively applicable to confirmed chapter 11 cases. The Reorganized Diocese shall have the
exclusive right to pursue any cause of action, right to reimbursement for overpayment, or similar
interest of the Diocese in amounts paid pursuant to 28 U.S.C. § 1930.

        2.     Classified Claims.

               a.      Class 1 – Secured Claim of The Bank of Castile.

               Classification: Class 1 is composed of the Secured Claim held by The Bank of
Castile in connection with the Standby Letter of Credit.

               Treatment: Currently, the Diocese is required, pursuant to orders issued by the
New York Workers’ Compensation Board (the “WCB”), to make payment with respect to legacy
claims for one Diocese claimant and two Catholic Charities’ claimants totaling approximately
$1,349.00 per month. The Standby Letter of Credit secures the Diocese’s obligations to the WCB
and those claimants. The Class 1 Claim is secured by the Diocese’s interest in a checking account
with The Bank of Castile bearing the account number “******6122” and having a balance of
$460,842.00. The Diocese is current with respect to all obligations due under the Standby Letter
of Credit and will continue to pay those obligations in accordance with the terms of the Standby
Letter of Credit. The Trust shall not be responsible for the payment of the Class 1 Claim.

             Voting: The Class 1 Claim is Unimpaired, and therefore, the holder of the Class 1
Claim is deemed to have accepted the Plan and is not entitled to vote.

               b.      Class 2 – Pass-Through Claims.

               Classification: Class 2 includes all Pass-Through Claims.

                Treatment: Upon the later to occur of the Effective Date and the date on which
the Diocese designates a Claim as a Pass-Through Claim, the holder of such Pass-Through Claim
shall be deemed to have granted relief from the automatic stay with respect to its Pass-Through
Claim, such Pass-Through Claim shall not be subject to the Diocese Discharge, and the parties
shall retain their respective rights, remedies, claims, and defenses as they existed on the Petition
Date. The Diocese shall designate all Pass-Through Claims no later than sixty days after the
Effective Date. The Trust shall not be responsible for the payment of any Pass-Through Claims.

              Voting: Class 2 Pass-Through Claims are Unimpaired, and therefore, holders of
Class 2 Claims are deemed to have accepted the Plan and are not entitled to vote.


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               c.      Class 3 – General Unsecured Claims.

              Classification: Class 3 Claims include all General Unsecured Claims. The
Diocese estimates that the Class 3 Claims total approximately $50,000.

                 Treatment: Except to the extent the holder of an Allowed General Unsecured
Claim agrees in writing to accept less favorable treatment as proposed by the Diocese or
Reorganized Diocese, the Reorganized Diocese shall pay each holder of an Allowed General
Unsecured Claim, Cash in two installments each equal to 50% of the Allowed amount of such
General Unsecured Claim with the first payment to occur on, or as soon as reasonably practicable
after the later of (a) the Effective Date, and (b) the date on which such General Unsecured Claim
becomes an Allowed General Unsecured Claim, and the second payment to occur on, or as soon
as reasonably practicable after the date that is six months after the date of the first payment. The
foregoing payments shall be in full satisfaction, settlement, and release of, and in exchange for,
such Allowed General Unsecured Claim. Notwithstanding anything to the contrary set forth
above, no payments shall be made to any Protected Party on account of any General Unsecured
Claim and all Protected Parties shall be deemed to have withdrawn any General Unsecured Claim
with prejudice as of the Effective Date in consideration of the Channeling Injunction and Release
provided in the Plan.

               The Trust shall not be responsible for payment of General Unsecured Claims.

               Voting: Class 3 General Unsecured Claims are Impaired, and therefore, each
holder of a Class 3 Claim is entitled to vote to accept or reject the Plan.

               d.      Class 4 – Abuse Claims.

               Classification: Class 4 Claims include all asserted and unasserted Abuse Claims.
More than 554 Abuse Claims have been asserted against the Diocese and the Participating Parties
through proofs of claim filed in the Chapter 11 Case and/or through the commencement of Abuse
Actions in other courts.

               Treatment:

                        i.      On the Effective Date and subject to the Plan provisions, the Trust
shall assume liability for all Abuse Claims, including Adult Abuse Claims and Future Claims, in
accordance with and under the Plan and Trust Documents. Distributions shall be made to holders
of Abuse Claims on a fair and equitable basis, pursuant to and in accordance with the terms of the
Plan and the Trust Documents.

                        ii.      Class 4 Claimants shall have their Claims treated in accordance with
the Allocation Protocol, provided, that any Claims for punitive or exemplary damages will be
treated as penalty Claims and will be Disallowed and receive no Distribution under the Plan. The
Allocation Protocol shall provide for the fair and equitable treatment of all Abuse Claims, including
Adult Abuse Claims and Future Claims. The Allocation Protocol shall specify that any remainder of
the DOR Entities’ Cash Contribution after the initial funding of the Trust Reserve in accordance with
Section 8.2.1 of the Plan shall be distributed to holders of Abuse Claims (other than Future Claims, but
including any Abuse Claims arising from or relating to a Timely Abuse Action commenced against the

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Diocese and/or a Participating Party on or before the Effective Date) on a fair and equitable basis as
promptly as practicable following the Effective Date, and that Future Claims shall be entitled to share
on a fair and equitable basis in any other Trust assets (including, without limitation, the Trust’s interest
in proceeds of any Insurance Claims, Stipulated Judgments, Insurance Settlement Agreement,
Outbound Indemnity Claims, Litigation Award, or settlement entered into by a Litigation Claimant).

                         iii.    Except with respect to Litigation Claims brought by authorized
Litigation Claimants in accordance with the terms of the Plan, the right of any Class 4 Claimant to a
trial by jury or otherwise against the Diocese and/or any Protected Parties is waived and released upon
the occurrence of the Effective Date, and any Class 4 Claim they may hold will be solely determined
by the Abuse Claims Reviewer in accordance with the Allocation Protocol.

                         iv.     The Allocation Protocol was developed by the Committee, in
consultation with State Court Counsel and was not developed by, or submitted for the approval of, any
of the Protected Parties, nor are the Protected Parties deemed to have accepted or acquiesced in the
adoption of the Allocation Protocol. If a Class 4 Claim is denied payment, in whole or in part, pursuant
to the Allocation Protocol, the holder of such Class 4 Claim will have no rights against any of the
Protected Parties relating to such Class 4 Claim.

                       v.     None of the Trust, the Diocese, or the Reorganized Diocese shall
have any obligation to take any action to enforce an Insurance Policy of a Non-Settling Insurer,
including any obligation to commence/prosecute any action against any Non-Settling Insurer or to
defend an action commenced by a Non-Settling Insurer, though the Trust (the Diocese, or the
Reorganized Diocese), may do so in their sole and absolute discretion.

                       vi.      The payment of the Class 4 Claims by the Trust will not, prior to the
occurrence of the Abuse Claim Discharge Date, constitute a release, accord, or novation of the
Diocese’s or the Participating Parties’ liability with respect to the Class 4 Claims; provided,
however, for the avoidance of doubt, the entirety of the Diocese’s liability with respect to the Class
4 Claims shall be discharged under Bankruptcy Code section 1141(d), in accordance with Section
12.2, and all of the Participating Parties’ liabilities with respect to any Abuse Claims are subject
to the Channeling Injunction and the releases under the Plan. Under no circumstances shall the
Abuse Claims Reviewer’s review of a Class 4 Claim affect the rights of a Non-Settling Insurer.

                        vii.     Nothing in the Plan affects, diminishes or impairs any Class 4
Claimant’s rights against any Joint Tortfeasor, including that Joint Tortfeasor’s comparative fault
or joint and several liability for Abuse, if any. In any litigation against a Joint Tortfeasor, nothing
in the Plan or the Plan Documents shall be deemed an adjudication of a Class 4 Claim for any
purpose or a limitation on the recovery against such Joint Tortfeasor.

                       viii. The Diocese and the Reorganized Diocese shall cooperate with the
Abuse Claims Reviewer and/or the Trustee as reasonably requested by the Abuse Claims Reviewer
and/or the Trustee in connection with the administration of the Allocation Protocol, provided that
any DOR Entities’ Post-Effective Date Costs incurred in connection therewith are paid in
accordance with the DOR Entities’ Post-Effective Date Costs Procedures.

                       ix.    The Non-Settling Insurers remain fully liable for their obligations
related in any way to the Abuse Claims, and their obligations are not reduced by the Diocese being

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in bankruptcy or by the distributions Class 4 Claimants receive, or are entitled to receive, based on
the Plan. For the avoidance of doubt, determinations by the Abuse Claims Reviewer and/or any
distributions entitled to be received from the Trust shall not constitute a determination of the
Diocese’s or any Participating Party’s liability or damages for Class 4 Claims.

                          x.     As of the Effective Date of the Plan, the liability of Protected Parties
for all Class 4 Claims shall be fully assumed by the Trust, without any further order from the
Bankruptcy Court or further action from any party, and pursuant to the Channeling Injunction set
forth in Section 12.3 of the Plan. All Allowed Class 4 Claims shall be satisfied solely from the Trust
as set forth in the Plan, the Trust Agreement, and the Allocation Protocol; provided, however, such
assumption of Class 4 Claims shall not prevent Litigation Claimants from asserting Litigation
Claims to the extent provided for herein.

                       xi.     No Entity, other than the Committee or, following the Effective
Date, the Trustee, may: (a) object to any Class 4 Claim or (b) challenge the merit, validity, or
amount of any Class 4 Claim, except that nothing in the Plan shall prevent the Diocese or any
Participating Party from asserting any legal or factual defenses they may have in response to any
Litigation Claim. Any objection or challenge to a Class 4 Claim pending as of the Effective Date
is deemed withdrawn and shall not be refiled. With the exception of the Trustee’s objections or
challenges to a Class 4 Claim, or the adjudication or settlement of a Litigation Claim, Class 4
Claims shall be treated in accordance with the Allocation Protocol and shall not be subject to any
other review or judicial consideration. Nothing in the Plan or the Plan Documents shall constitute
an admission by any Protected Party as to the validity or amount of any Class 4 Claim, nor shall
anything therein restrict the Diocese or the Participating Parties from complying with any Post-
Effective Date Insurance Obligations.

                        xii.   No Class 4 Claimant shall receive a Distribution from the Trust until
such Class 4 Claimant has executed and delivered to the Trust the Abuse Claim Release Agreement
attached to the Plan Supplement as Exhibit 4. Each Class 4 Claimant must release all Claims
against the Protected Parties. The Trust must provide copies of all executed Abuse Claim Release
Agreements to the (a) Protected Parties, and upon request, (b) to any Joint Tortfeasor that has
executed a non-disclosure or confidentiality agreement. For the avoidance of doubt, nothing herein
shall require a Class 4 Claimant to release any Person that is not a Protected Party.

                       xiii. To preserve coverage under any Non-Settling Insurer Policy, subject
to the provisions of Section 12.2 of the Plan, each Class 4 Claimant specifically reserves any Abuse
Claims they may have against the Diocese or any Participating Party that implicate coverage under
any Non-Settling Insurer Policy, but recourse is limited to the proceeds of the Non-Settling Insurer
Policies and all other damages and/or costs (including, without limitation, extra-contractual
damages) that may be recoverable against any Non-Settling Insurers. Class 4 Claims will be
released as against the Diocese and the Participating Parties only upon the occurrence of the
applicable Abuse Claim Discharge Date as provided in Sections 12.2.3 and 12.8 of the Plan.

                Voting: Class 4 Abuse Claims are Impaired, and each holder of a Class 4 Claim is
entitled to vote to accept or reject the Plan.

                e.      Class 5 – Inbound Contribution Claims.


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               Classification: Class 5 Inbound Contribution Claims include any Claim asserted
against the Diocese for indemnity, contribution, or reimbursement arising out of, or related to, the
Claimant’s liability to pay or defend any Class 4 Abuse Claim.

               Treatment: Class 5 Claims shall be Disallowed and extinguished and there will be
no Distributions to the holders of Class 5 Claims on account of such Class 5 Claims.

              Voting: Class 5 Inbound Contribution Claimants will not receive or retain any
property under the Plan and therefore are deemed to have rejected the Plan. Class 5 will not vote
on the Plan.

                                           ARTICLE V

                                         ABUSE CLAIMS

A.      Assessment of Abuse Claims

        Class 4 Claims will be assessed and paid in accordance with the Allocation Protocol, which
is designed to provide an expeditious, efficient, and inexpensive method for settling and resolving
Abuse Claims.

B.      Legal Effect of Estimation of Claims and Distributions Under the Allocation
        Protocol

        The Abuse Claims Reviewer’s determinations are for estimation and Distribution purposes
only and shall not constitute findings or the fixing of facts or liability concerning the Abuse Claims
with any binding legal effect. The determination of Abuse Claimants’ qualifications, the
estimation of Abuse Claims, and the payment of Trust Distributions shall not be construed as an
admission of liability by the Diocese, any Participating Party or the Trust with respect to any Abuse
Claim and shall have no res judicata or collateral estoppel effect on the Diocese, the Reorganized
Diocese, any Participating Party, the Trust, or any Non-Settling Insurer. Trust Distributions do
not release the Diocese nor are Trust Distributions an accord or novation of the Diocese’s or any
Protected Party’s liability on account of the Abuse Claims.

         The Trust’s act of making a Distribution to an Abuse Claimant is immaterial to, and shall
not be construed as, a determination or admission of the Diocese’s or any Participating Party’s
liability for, or damages with respect to, any Abuse Claim. The determination of qualification,
estimation of Abuse Claims, and the payment of Distributions is not a settlement, release, accord,
or novation of any Abuse Claim and cannot be used by any Joint Tortfeasor as a defense to any
alleged joint liability. The determination of qualification, estimation of claims, and payment of
partial Distributions does not impair a Litigation Claimant’s right to obtain a judgment, including
a judgment based on joint and several liability, against the Diocese and/or a Participating Party or
any Non-Settling Insurer, for purposes of establishing the Diocese’s and/or a Participating Party’s
liability on the Litigation Claim; however, any such judgment awarded to a Litigation Claimant
will be reduced by the amount of Trust Distributions already paid by the Trust to such Litigation
Claimant on his or her Litigation Claim(s). Neither the Abuse Claims Reviewer’s review of an
Abuse Claim and determination of qualification, nor the Trust’s estimation of an Abuse Claim or
the payment of Distributions shall: (i) constitute a trial, an adjudication on the merits, or evidence

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of liability or damages in any litigation with the Diocese or the Participating Parties, Non-Settling
Insurers, or any other Person, or (ii) constitute, or be deemed, a determination of the reasonableness
of the amount of any Litigation Claim, either individually or in the aggregate with other Litigation
Claims, in any coverage litigation with any Non-Settling Insurers. The Trust’s estimation of Abuse
Claims and payment of Trust Distributions does not create an admission of the fact of liability, or
the extent of damages, on behalf of the Diocese and/or any Participating Parties.

C.      Insurance Settlements

       The Trust shall use reasonable efforts, consistent with the terms of the Trust Agreement
and its fiduciary duties to the Trust’s beneficiaries, to enter into an Insurance Settlement
Agreement with each Non-Settling Insurer.

D.      Distributions to Abuse Claimants.

         An Abuse Claimant whom the Abuse Claims Reviewer determines to be entitled to a
Distribution, will receive a Distribution from the Trust in the amount(s) and at the time(s) provided
for in the Allocation Protocol and Trust Documents. Any payment on an Abuse Claim constitutes
a payment for damages on account of a personal physical injury or sickness arising from an
occurrence, within the meaning of section 104(a)(2) of the Internal Revenue Code of 1986, as
amended. For the avoidance of doubt, the Abuse Claimants’ recoveries on their Claims shall be
limited to their Trust Distributions, if any, under the Allocation Protocol and Trust Documents,
and the Abuse Claimants shall not be entitled to collect personally, or otherwise, any additional
amounts whatsoever on their Abuse Claims from the Diocese, the Reorganized Diocese, any
Participating Party, or their respective assets, or from any Settling Insurers or Settling Insurers’
assets, for any Abuse Claims that are Channeled Claims, even if they are denied a Trust
Distribution.

E.      Litigation of Abuse Claims Against Non-Settling Insurers

        1.     Litigation Claims.

                 a.     At any time prior to the earlier to occur of the first anniversary of the
Effective Date or the applicable Abuse Claim Discharge Date, the Trustee, in accordance with the
Allocation Protocol and Trust Agreement, may authorize one or more Class 4 Claimants, at such
Claimants’ expense, to proceed as a Litigation Claimant by commencing (or resuming prosecution
of) an action in any court of competent jurisdiction solely for the purpose of determining any
liability that the Diocese and/or any Participating Party may have with respect to their Litigation
Claim, the amount of that liability, and to pursue Insurance Claims against Non-Settling Insurers.

               b.      Prior to authorizing an Abuse Claimant to proceed as a Litigation Claimant,
the Trustee shall (i) consult with the Diocese and/or any Participating Party against whom such
Abuse Claimant’s Claim is asserted and (ii) require the Abuse Claimant to execute a Litigation
Claimant Agreement. The Trustee shall provide a copy of each Litigation Claimant Agreement to
the Reorganized Diocese upon execution thereof, and to any other Protected Parties upon request.




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               c.     All DOR Entities’ Post-Effective Date Costs incurred in connection with
Litigation Claims shall be paid in accordance with the provisions of Section 8.11 of the Plan.

                d.     Consistent with the injunctions and discharge provided for in Section 12 of
the Plan, any Litigation Award obtained in respect of any Litigation Claim may not be enforced
against (a) the Diocese, the Reorganized Diocese or any Participating Party, (b) any of the non-
insurance property or assets of the Diocese, or any Participating Party, or (c) the Residual Assets
and any other property or assets that are vested in the Reorganized Diocese pursuant to the Plan,
and any property or assets otherwise acquired by the Reorganized Diocese. Any Litigation Award
arising from a Litigation Claim shall be paid under the Plan and the Trust Allocation Protocol and
shall be fully enforceable solely against, and paid by, any Non-Settling Insurer under the terms of
that Non-Settling Insurer’s Insurance Policy. Any recovery from the prosecution of a Litigation
Claim is deemed assigned to the Trust to the extent provided in the Plan, including as provided in
the Allocation Protocol and Trust Documents. Notwithstanding the foregoing, a Litigation
Claimant may settle his or her Litigation Claim with a Non-Settling Insurer in accordance with the
terms of the Plan Documents.

        2.     Claim Enhancement. To the extent the Trustee enters into a settlement agreement
(such settlement, a “Trust Insurance Settlement”) with any Non-Settling Insurer that covers a
Litigation Claimant’s Abuse Claim (the policy or policies that respond to such Claim(s) are a
“Target Policy”), such Litigation Claimant shall be entitled to an enhanced Distribution (the
“Claim Enhancement”) as set forth below to his or her allocation pursuant to the Allocation
Protocol, which enhanced amount shall be payable from the proceeds of the applicable Trust
Insurance Settlement. The Claim Enhancements are independent of one another, and are not
intended to be cumulative. The Trustee shall reserve sufficient amounts to fund such enhanced
payments prior to making any Distribution of Trust Insurance Settlement proceeds to Abuse
Claimants who are not Litigation Claimants. The Claim Enhancement shall be applied as follows:

               a.      A Litigation Claimant shall be entitled to an enhancement of ten percent
(10%) if the Trust negotiates a Trust Insurance Settlement for a Target Policy of such Litigation
Claimant if the Trust Insurance Settlement is entered into prior to commencing litigation in such
Litigation Claimant’s case.

               b.     A Litigation Claimant shall be entitled to an enhancement of twenty-five
percent (25%) if the Trust negotiates a Trust Insurance Settlement for a Target Policy of such
Litigation Claimant if the Trust Insurance Settlement is entered into after litigation commences
but prior to a deposition or interview of the Litigation Claimant by opposing counsel in such
Litigation Claimant’s case.

               c.     A Litigation Claimant shall be entitled to an enhancement of forty percent
(40%) if the Trust negotiates a Trust Insurance Settlement for a Target Policy of such Litigation
Claimant if the Trust Insurance Settlement is entered into after a deposition or interview of the
Litigation Claimant by opposing counsel but before commencement of a trial in such Litigation
Claimant’s case.

               d.      A litigation Claimant shall be entitled to an enhancement of fifty (50%) if
the Trust negotiates a Trust Insurance Settlement for a Target Policy of such Litigation Claimant


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if the Trust Insurance Settlement is entered into on or after the first day of a trial in such Litigation
Claimant’s case.

               e.      A Litigation Claimant shall be entitled to an enhancement of one hundred
percent (100%) if the Trust negotiates a Trust Insurance Settlement for a Target Policy of such
Litigation Claimant if the Trust Insurance Settlement is entered into after a Litigation Award
entered in favor of the Litigation Claimant in such litigation becomes final and non-appealable.

        3.     Withdrawal of Litigation Claim. A Litigation Claimant may withdraw his or her
election to be a Litigation Claimant at any time by written notice to the Trustee and the
Reorganized Diocese. Upon providing such notice, the Litigation Claimant’s determination not to
proceed as a Litigation Claimant shall be irrevocable.

       4.      Payment of Settled Litigation Claim. A Litigation Claimant’s allocated Trust
Distributions shall be held in reserve by the Trustee until either:

               a.      a court of competent jurisdiction enters a Final Order determining that the
Diocese and/or any Participating Party (as applicable) does not have any liability on account of
such Litigation Claimant’s Abuse Claim (any such order, a “Denial Order”), in which case such
Litigation Claimant’s Abuse Claim shall be Disallowed in its entirety and the Litigation Claimant
shall not be entitled to any Distribution from the Abuse Claims Settlement Fund; provided,
however, that such Litigation Claimant shall not be required to refund any Distribution received
from the Trust prior to entry of a Denial Order;

               b.     the Trust enters into a Trust Insurance Settlement with respect to the
applicable Target Policy, in which case the Litigation Claimant’s Abuse Claim shall be treated as
a Channeled Claim under the Plan and the Trustee shall release such Litigation Claimant’s
Distribution (including any enhancement described above) from the Abuse Claims Settlement
Fund;

                 c.      the Court enters a Litigation Award which becomes final and non-
appealable, in which case: at the election of the Litigation Claimant: (i) the Litigation Claimant
shall retain the Litigation Award, the Trustee shall release such Litigation Claimant’s Distribution
from the Abuse Claims Settlement Fund, and the Litigation Claimant shall not be entitled to (1) any
enhancement of his or her Distribution, (2) any Trust Insurance Settlement proceeds, or
(3) Stipulated Judgment Proceeds; or (ii) the Litigation Claimant shall assign his or her Litigation
Award to the Trust and participate in all Distributions from the Trust without enhancement. Such
election must be made within thirty days of the Litigation Award becoming final and non-
appealable or the Litigation Claimant shall be deemed to have elected option (i) of this paragraph.
Notwithstanding the forgoing, 10% of any Litigation Award collected by or paid to a Litigation
Claimant shall be paid by the Litigation Claimant to the Trust on account of costs and expenses
incurred by the Trust in connection with the Litigation Claimant’s Claim;

               d.     the Litigation Claimant enters into a settlement with respect to his or her
Abuse Claim, in which case: at the election of the Litigation Claimant: (i) the Trustee shall release
such Litigation Claimant’s Distribution from the Abuse Claims Settlement Fund, and the Litigation
Claimant shall not be entitled to (1) any enhancement of his or her Distribution, (2) any Trust


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Insurance Settlement proceeds or (3) Stipulated Judgment Proceeds; or (ii) the Litigation Claimant
shall assign his or her settlement proceeds to the Trust and participate in all Distributions from the
Trust without enhancement. Such election must be made within thirty (30) days of the effective
date of the settlement or the Litigation Claimant shall be deemed to have elected option (i) of this
paragraph. Notwithstanding the forgoing, 10% of any such settlement proceeds shall be paid by
the Litigation Claimant to the Trust on account of costs and expenses incurred by the Trust in
connection with the Litigation Claimant’s Claim; or

                e.      if the Trustee, upon consultation with the Litigation Claimant, determines
that there is no reasonable risk to the Litigation Claimant’s ability to recover from a Non-Settling
Insurer, then the Trustee may, in his or her discretion, release the Litigation Claimant’s allocated
Distribution to the Litigation Claimant; provided, however, that if such Litigation Claimant’s claim
against a Non-Settling Insurer is not viable because of such Distribution to the Litigation Claimant,
then the Litigation Claimant shall not be entitled to any additional recovery from the Trust or
enhancement of his or her Distribution.

F.       Dismissal of Pending Litigation

       Upon the occurrence of the applicable Abuse Claim Discharge Date, the subject Abuse
Claim asserted in any lawsuit against any Protected Party pending in state or federal court shall be
dismissed, with prejudice, and without fees and costs being recoverable against any Protected
Party.

G.       Claim Withdrawal

        An Abuse Claimant may withdraw his or her Abuse Claim at any time on written notice to
the Trustee. If withdrawn, the Abuse Claim will be withdrawn with prejudice and may not be
reasserted, and such Abuse Claimant shall still be bound by the Diocese Discharge and all
injunctive provisions of the Plan, including the Channeling Injunction.

H.       Medicare Procedures

      With respect to all Abuse Claims, the Trust shall maintain sufficient funds to pay any
Medicare Claims.

        1.      It is the position of Diocese that none of the Protected Parties, Settling Insurers, or
the Trust will have any reporting obligations in respect of their contributions to the Trust, or in
respect of any payments, settlements, resolutions, awards, or other Claim liquidations by the Trust,
under the reporting provisions of MSP or MMSEA.

       2.      Prior to making any Distribution on behalf of an Abuse Claim (including any
Distribution disbursed to an Abuse Claimant’s counsel), the Trustee shall obtain a certification of
compliance with MMSEA by the Abuse Claimant from the Claimant’s counsel, or, if the Abuse
Claimant is pro se, the Trustee shall obtain a certification of compliance with MMSEA for such
Abuse Claimant from a third party administrator engaged by and paid for by the Trust for the
purpose of providing certifications of compliance with MMSEA for all such pro se Abuse
Claimants. The cost of such certification shall be deducted from the Abuse Claimant’s
Distribution; provided, however, that to the extent such Abuse Claimant’s distribution is not

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sufficient to pay for such costs, the Trust shall pay such costs. The certifications of compliance
shall provide that the Abuse Claimant has or will provide for the payment and/or resolution of any
obligations owing or asserted under 42 U.S.C. § 1395y(b), or any related rules, regulations, or
guidance, in connection with, or relating to, such Claimant’s Abuse Claim.

         3.      The Trust shall defend, indemnify and hold harmless the Protected Parties from any
Claims related to Medicare Claims or similar reporting and payment obligations, whether relating
to past conditional payments made, future payments to be made, or otherwise arising out of,
relating to, or in connection with Class 4 Claims, including any obligations owing or potentially
owing under MMSEA or MSPA, and any Claims related to the Trust’s obligations under the Plan,
the Trust Documents, and the Plan Documents. The Trustee shall also have the obligation to
cooperate with the Protected Parties in the assertion of the Channeling Injunction with respect to
any Medicare Claims asserted against the Protected Parties. The Trustee shall not have personal
liability for these obligations and the Trust shall not be required to create a reserve for these
potential obligations. The Trust may seek recovery of any such payments from the applicable
Abuse Claimant, including from any future Distributions due to such applicable Abuse Claimant
from the Trust.

       4.      The Trust Assets shall also be used for payment of indemnity and expenses relating
to reimbursing the United States government or its contractors for conditional payments made
pursuant to the MSPA applicable to any Medicare beneficiary who is an Abuse Claimant. The
amount of such payment shall not exceed that Claimant’s award under the Trust Documents. The
Protected Parties shall not be responsible for and will not pay indemnity or expenses relating to
reimbursing the United States Government or its contractors for conditional payments made
pursuant to the MSPA applicable to any Medicare beneficiary who is an Abuse Claimant.

        5.      The Trust shall terminate and the Trustee shall have no further obligations under
the Plan or the Trust upon the termination occurrences as set forth in the Trust Agreement.

        6.     Notwithstanding anything to the contrary herein, no party shall have any reporting
obligation with respect to Class 4 Claims that arise from or relate to alleged Abuse that occurred
prior to December 5, 1980.

                                         ARTICLE VI

                                    SETTLING INSURERS

A.      Insurance Settlement Agreements

        Each Insurance Settlement Agreement is effective and binding upon all Persons who have
notice, and any of the foregoing Persons’ successors and assigns, upon the entry of a Final Order
approving the Insurance Settlement Agreement and satisfaction of all conditions precedent.
Payments by each Settling Insurer to the Trust, and the releases by the Diocese and/or the
Participating Parties of each Settling Insurer, pursuant to the Insurance Settlement Agreements
shall occur and/or be effective according to the terms of each such agreement. The Insurance
Settlement Agreements shall survive the confirmation, effectiveness, and consummation of the
Plan. The rights of the parties under any Insurance Settlement Agreement shall be determined


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exclusively under the applicable Insurance Settlement Agreement and those provisions of the Final
Order approving such Insurance Settlement Agreement, the Plan, and the Confirmation Order.

B.       Sale Free and Clear of Interests of Settling Insurer Policies

        As provided in each of the respective Insurance Settlement Agreements, each and every
Settling Insurer Policy shall be sold to the issuing Settling Insurer, pursuant to sections 105, 363,
and 1123 of the Bankruptcy Code, free and clear of all liens and Claims of all Persons.

C.       Resolution of Claims Involving Settling Insurers

        The Confirmation Order shall provide that within ten days after payment of each Settling
Insurer’s respective Insurance Settlement Amount, the Diocese or the Trust, as the case may be,
and the Settling Insurer shall effect dismissal with prejudice of their Claims against each other in
the Insurance Coverage Adversary Proceeding, with each side to bear its own fees and costs.

D.       The Settling Insurer’s Payments

       The Settling Insurers will pay to the Trust the sums set forth in their respective Insurance
Settlement Agreements within the time set forth in their respective Insurance Settlement
Agreements.

E.       Further Assurances; Non-Material Modifications

        From and after the Effective Date, the Diocese and the Settling Insurers shall be authorized
to enter into, execute, adopt, deliver, or implement all notes, contracts, security agreements,
instruments, releases, and other agreements or documents necessary to effectuate or memorialize
the Insurance Settlement Agreements without further order of the Bankruptcy Court. The Diocese
and the Settling Insurers, with the consent of the Committee, may make technical or immaterial
alterations, amendments, modifications, waiver, or supplements to the terms of any Insurance
Settlement Agreement and/or the Plan, subject to the requirements of the respective agreements.
A Class of Claims that has accepted the Plan shall be deemed to have accepted the Plan, as altered,
amended, modified, or supplemented under Section 15.1 of the Plan, if the proposed alteration,
amendment, modification, or supplement does not materially and adversely change the treatment
of the Claims within such Class. An order of the Bankruptcy Court approving any amendment or
modification made pursuant to Section 15.1 of the Plan shall constitute an order in aid of
consummation of the Plan and shall not require the re-solicitation of votes on the Plan.

F.       Waiver/Consent

        In consideration of the releases and Channeling Injunction, the Supplemental Settling
Insurer Injunction and other covenants set forth herein, subject to the occurrence of the Effective
Date and the satisfaction of the other conditions precedent to the effectiveness of the Insurance
Settlement Agreements, and upon receipt by the Trust of the Insurance Settlement Amounts, each
of the Protected Parties: (a) irrevocably and unconditionally, without limitation, releases, acquits,
forever discharges, and waives any Claims it has or might have not or in the future against the
other Protected Parties with respect to any contribution, subrogation, indemnification, or other
similar Claim arising from or relating to released Abuse Claims covered or alleged to be covered

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under the Settling Insurer Policies, and any Settling Insurer Policies; and (b) consents to the sale
of the Diocese’s and Participating Parties’ Claims, if any, in the Settling Insurer Policies in
accordance with the Insurance Settlement Agreements and to the contribution of the proceeds from
such sale and settlement to the Trust, as provided in the Plan. Nothing in Section 12 of the Plan
shall be construed to bar either (a) a Claim based on Abuse against a Person who is not a Protected
Party, or (b) a Claim by such Person for insurance coverage in connection with a Claim described
in the foregoing subsection (a) under an insurance policy other than a Settling Insurer Policy.

G.      Rights Under Insurance Settlement Agreements

       The rights of the parties under any Insurance Settlement Agreement shall be determined
exclusively under the applicable Insurance Settlement Agreement, the Final Order approving such
Insurance Settlement Agreement, the Plan, and the Confirmation Order.

H.      Timing

       The injunctions, releases, and discharges to which any Settling Insurer is entitled pursuant
to such Insurance Settlement Agreement, the Plan, the Confirmation Order, the Final Order
approving the Insurance Settlement Agreement, and the Bankruptcy Code shall become effective
pursuant to the terms of such Insurance Settlement Agreement.

                                          ARTICLE VII

                 MATTERS RELATING TO NON-SETTLING INSURERS

A.      Preservation of Rights and Obligations

        If an Abuse Claim is liquidated through the Allocation Protocol or in any state or federal
court as may be permitted by the Plan, the Allocation Protocol, or the Trust Agreement, then the
Protected Parties, the Trust, and each Non-Settling Insurer shall retain any and all legal and factual
defenses that may exist in respect to such Abuse Claim and, except as set forth in this Section, all
coverage defenses. The rights, duties, and obligations of each Non-Settling Insurer under the Non-
Settling Insurer Policies with respect to Abuse Claims are not affected in any way by: (a) the
Diocese Discharge, (b) any Trust Distribution, or (c) the Insurance Claims Assignment. Non-
Settling Insurers retain any defenses that they would be able to raise if the Claim for coverage for
an Abuse Claim were brought by any Protected Party, except any defense arising from the
Insurance Claims Assignment.

        The rights and obligations of the Protected Parties and every Non-Settling Insurer under
the terms of the Non-Settling Insurer Policies and at law shall not be affected by the Allocation
Protocol and shall be treated as if the determination by the Abuse Claims Reviewer had never
occurred. Each Non-Settling Insurer shall be entitled to all rights as are provided under the terms
of its Non-Settling Insurer Policies as if the determination by the Abuse Claims Reviewer had
never occurred.

        Nothing in the Plan, the Confirmation Order, or any Plan Document shall impose any
obligation on any Non-Settling Insurer to provide a defense for, settle, or pay any judgment with
respect to, any Abuse Claim, or grant to any Person any right to sue any Non-Settling Insurer

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directly, relating to an Abuse Claim. All such obligations with respect to Non-Settling Insurers
shall be determined by and in accordance with the terms of the Non-Settling Insurer Policies and
with applicable non-bankruptcy law.

B.      Estimations/Assessments of Abuse Claims Are Not Binding

        Estimations of Abuse Claims for purposes of determination, qualification, assignment of
points pursuant to the Allocation Protocol, and payment of Trust Distributions:

                       a.       shall not (i) constitute an admission of liability by any Person with
               respect to such Abuse Claims; (ii) have any res judicata or collateral estoppel effect
               on any Person; (iii) constitute a settlement, release, accord, satisfaction, or novation
               of such Abuse Claims; (iv) be used by any third-party as a defense to any alleged
               joint lability; or (v) otherwise prejudice any rights of the Trust, the Diocese, the
               Reorganized Diocese, the Participating Parties, the Settling Insurers, the Non-
               Settling Insurers, or the Abuse Claimants in all other contexts or forums;

                       b.     shall be without prejudice to any and all rights of the Trust, the Non-
               Settling Insurers, and the Abuse Claimants in all other contexts and forums; and

                      c.      shall not be deemed to be a determination of liability of the Diocese
               or any Participating Party or a determination of whether, or the extent to which,
               such Abuse Claim is covered under any Non-Settling Insurer Policy.

C.      Post-Effective Date Insurance Obligations

        Notwithstanding the Insurance Claims Assignment, the Diocese, the Reorganized Diocese,
and the Participating Parties shall use reasonable efforts to comply with any Post-Effective Date
Insurance Obligations. If the Trust believes the Diocese, the Reorganized Diocese, or a
Participating Party has failed to comply with any Post-Effective Date Insurance Obligation, the
Trust shall give the Diocese, the Reorganized Diocese, or the Participating Party (as applicable)
written notice identifying with specificity the Post-Effective Date Insurance Obligation at issue
and the action the Trust believes must be taken in order to come into compliance. Subject to further
order of the Court, the Diocese, the Reorganized Diocese, and the Participating Parties shall have
at least 45 days following receipt of any such notice from the Trust to either (i) undertake the
actions requested by the Trust or (ii) seek a determination from the Court as to the extent of their
Post-Effective Date Insurance Obligations and whether the action requested by the Trust is
required to comply therewith. The Court will retain jurisdiction to adjudicate such dispute or
claim. Except in the case of willful misconduct by the Reorganized Diocese and any Participating
Party, the Trust’s sole remedy for any failure to comply with any Post-Effective Date Insurance
Obligations shall be specific performance as ordered by the Court.

D.      Trust Powers With Respect to Abuse Claims and Non-Settling Insurers

        Solely as set forth in the Allocation Protocol or the Trust Agreement, any Abuse Claimant
or the Trust, as applicable, may enter into a settlement of an Abuse Claim allowed by applicable
non-bankruptcy law, and may enter into an arrangement with the Abuse Claimant’s counsel,


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provided such counsel will receive reasonable compensation from any recovery from a Non-
Settling Insurer.

       The Trustee may use the Trust Assets to prosecute litigation against the Non-Settling
Insurers.

       If the Trust successfully resolves a Covered Claim or otherwise receives a recovery of
insurance proceeds relating to any Abuse Claim from a Non-Settling Insurer, such proceeds shall
become Trust Assets available to pay, and shall increase the amount available to pay, Abuse
Claims, pursuant to the Allocation Protocol.

        Upon the due execution and delivery of an Insurance Settlement Agreement, the entry of
an order approving an Insurance Settlement Agreement, and the payment to the Trust of the
settlement amount due thereunder, a Non-Settling Insurer shall become a Settling Insurer protected
by the Channeling Injunction and the Supplemental Settling Insurer Injunction and become entitled
to benefit from all releases executed by Claimants and the other rights and protections of a Settling
Insurer under the Plan, the Trust Documents, and the orders approving Insurance Settlement
Agreements.

        With respect to any Stipulation of Judgment entered pursuant to the Allocation Protocol or
the Trust Agreement, the Trust will pursue the full amount of any such Stipulation of Judgment
against the relevant Non-Settling Insurer on behalf of the Abuse Claimant and the Abuse Claimant
shall be deemed to have assigned the full amount of such Stipulation of Judgment to the Trust.

E.      Insurance Coverage Adversary Proceeding

        As of the Effective Date, the Trust shall be substituted as the named plaintiff in the
Insurance Coverage Adversary Proceeding and have all rights of the Diocese and the Participating
Parties to pursue recoveries against any Non-Settling Insurers.

                                         ARTICLE VIII

                     MEANS FOR IMPLEMENTATION OF THE PLAN

A.      Plan Implementation

        All Administrative Claims, Priority Tax Claims, Non-Tax Priority Claims, General
Unsecured Claims, and Pass-Through Claims will be paid by the Diocese or the Reorganized
Diocese. All Abuse Claims will be paid solely from the Trust to be established for the purpose of
receiving, liquidating, and distributing Trust Assets in accordance with the Plan and the Allocation
Protocol. The proposed Trust Agreement is attached to the Plan Supplement as Exhibit 6. The
Allocation Protocol is attached to the Plan Supplement as Exhibit 1 and is incorporated into the
Trust Agreement.

B.      Corporate Action

       All matters provided under the Plan involving the corporate structure of the Diocese or
corporate action to be taken by or required of the Diocese, or the Reorganized Diocese, shall be

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deemed to have occurred and be effective as provided herein, and shall be authorized and approved
in all respects without any requirement or further approval by the Bankruptcy Court or any other
governmental entity. For avoidance of doubt, to the extent any corporate action or other
transaction contemplated under the Plan would otherwise require approval under section 511 or
511-a of the New York State Not-For-Profit Corporation Law, the entry of the Confirmation Order
shall constitute such approval.

C.      Payments Effective Upon Tender

        Whenever the Plan requires payment to be made to a Creditor, such payment will be
deemed made and effective upon tender thereof by the Trustee, the Diocese, or the Reorganized
Diocese to the Creditor to whom payment is due. If any Creditor refuses a tender, the amount
tendered and refused will be held by the Trust, the Diocese, or the Reorganized Diocese for the
benefit of that Creditor pending final adjudication of the dispute. However, when and if the dispute
is finally adjudicated and the Creditor receives the funds previously tendered and refused, the
Creditor will be obliged to apply the funds in accordance with the Plan as of the date of the tender;
and while the dispute is pending and after adjudication thereof, the Creditor will not have the right
to claim interest or other charges or to exercise any other rights which would be enforceable by
the Creditor if the Trust, the Diocese, or the Reorganized Diocese failed to pay the tendered
payment.

D.      Agreements, Instruments, and Documents

        All organizational agreements, charter documents, instruments, and documents required
under the Plan to be executed or implemented, together with such others as may be necessary,
useful or appropriate in order to effectuate the Plan, shall be executed on or before the Effective
Date or as soon thereafter as is practicable.

E.      Continuation of Insurance Policies

        Except to the extent any Insurance Policies are canceled or bought back as set forth in and
pursuant to Insurance Settlement Agreements or as otherwise provided by the terms of the Plan,
all Insurance Policies (including, without limitation, any Insurance Policy not included in
Insurance Settlement Agreements) shall, as applicable, either be deemed to be assumed by the
Diocese pursuant to sections 365, 1123(a)(5)(A), and 1123(b)(2) of the Bankruptcy Code to the
extent such Insurance Policy is or was an executory contract of the Diocese, or continued in
accordance with its terms pursuant to section 1123(a)(5)(A) of the Bankruptcy Code, to the extent
such Insurance Policy is not an executory contract of the Diocese, such that each of the parties’
contractual, legal, and equitable rights under each such Insurance Policy shall remain unaltered.
A list of all known Insurance Policies is attached to the Plan Supplement as Exhibit 6. To the
extent that any or all such Insurance Policies are considered to be executory contracts, then the
Plan shall constitute a motion to assume such Insurance Policies in connection with the Plan.
Subject to the occurrence of the Effective Date, the Confirmation Order shall approve such
assumption pursuant to sections 365(a), 1123(a)(5)(A), and 1123(b)(2) of the Bankruptcy Code
and include a finding by the Bankruptcy Court that each such assumption is in the best interest of
the Diocese, the Estate, and all parties in interest in this Chapter 11 Case. Unless otherwise
determined by the Bankruptcy Court pursuant to a Final Order or agreed to by the parties thereto


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prior to the Effective Date, no payments are required to cure any defaults of the Diocese existing
as of the Effective Date with respect to any Insurance Policy. The Diocese reserves the right to
seek rejection of any Insurance Policy or other available relief prior to the Effective Date.

F.       Bar Date for Professional Fee Claims

        Each Professional retained or requesting compensation in the Chapter 11 Case, pursuant to
sections 330, 331, or 503(b) of the Bankruptcy Code, must File with the Bankruptcy Court a final
application requesting the allowance of a Professional Fee Claim no later than 60 days after the
Effective Date. All applications for the allowance of Professional Fee Claims that are not timely
Filed shall be forever barred. Objections to such applications may be Filed in accordance with the
Bankruptcy Rules. The Bankruptcy Court shall determine all such Professional Fee Claims.

G.       Bar Date for Other Administrative Claims

        Except as provided for herein or in an order of the Bankruptcy Court, and subject to
section 503(b)(1)(D) of the Bankruptcy Code, holders of Administrative Claims must File and
serve on the Diocese requests for the payment of such Administrative Claims not previously
Allowed by a Final Order in accordance with the procedures specified in the Confirmation Order,
on or before the Administrative Claims Bar Date, or such Administrative Claims shall be
automatically considered Disallowed Claims, forever barred from assertion, and unenforceable
against the Diocese or the Reorganized Diocese, the Estate, or their property without the need for
any objection by the Diocese or the Reorganized Diocese, or further notice to, or action, order, or
approval of the Bankruptcy Court, and any such Administrative Claims shall be deemed fully
satisfied, released, and discharged.

H.       Exit Financing

        The Diocese may, at its discretion, obtain financing to assist the Diocese in making its
portion of the DOR Entities’ Cash Contribution, which financing may be secured by the Diocese’s
interest in certain real property located at 1150 Buffalo Road, Rochester, New York, or such other
property of the Diocese that is not otherwise contemplated to be transferred (other than to the
Reorganized Diocese) pursuant to this Plan. Any security interest in collateral granted to a lender
in connection with such financing shall, on and after the Effective Date, be enforceable against
any interest the Reorganized Diocese may have in such collateral, to the same extent it may have
been enforcable against the Diocese prior to the Effective Date.

                                         ARTICLE IX

                                          THE TRUST

A.       Establishment of the Trust

        On the Confirmation Date, or as soon as practicable thereafter, the Trust shall be
established in accordance with the Trust Documents for the exclusive benefit of the holders of
Abuse Claims. The Trust will assume all liability for and rights concerning all Channeled Claims,
including the rights to settle the Channeled Claims. The Trust will control the allocation and
Distribution of the Abuse Claims Settlement Funds to Abuse Claimants pursuant to the terms of

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the Allocation Protocol, the Trust Agreement, the Plan, and the Confirmation Order. The Trustee
shall establish and maintain a reserve for Trust Expenses, which shall be paid pursuant to the terms
of the Trust Agreement.

B.      Funding the Trust

        1.     DOR Entities’ Cash Contribution.

        On or before the Effective Date, the Diocese and the Participating Parties shall cause the
DOR Entities’ Cash Contribution to be paid to the Trust to establish the Trust Reserve, with any
balance to be included in the Abuse Claims Settlement Fund. The Abuse Claims Settlement Fund
may be supplemented from time to time from: (a) any payment by a Settling Insurer pursuant to
an Insurance Settlement Agreement; (b) any Insurance Claim Proceeds; (c) proceeds of Litigation
Awards; (d) proceeds of Outbound Contribution Claims; (e) Stipulated Judgment Proceeds; and
(f) any other proceeds which the Trust may obtain pursuant to the terms of the Plan.

        2.     Settling Insurers’ Cash Contribution.

      The Settling Insurers will pay to the Trust the sums set forth in their respective Insurance
Settlement Agreements on or before the Effective Date.

        3.     Insurance Claims Assignment.

       Insurance Claims against any Non-Settling Insurer shall be transferred to the Trust as
follows:

                       a.      On the Effective Date, and without further action by any party, the
               Diocese and each of the Participating Parties will be deemed to have assigned to
               the Trust the Diocese’s and the Participating Parties’ rights, if any, to all Insurance
               Claims and recoveries on account of such Insurance Claims against the Non-
               Settling Insurers. The foregoing transfer shall be effective to the maximum extent
               permissible under applicable law and shall not be construed: (i) as an assignment
               of the insurance policies; or (ii) to entitle any Person or entity to Insurance
               Coverage other than those Persons or entities entitled to coverage under the terms
               of the Non-Settling Insurer Policies. The parties shall use reasonable efforts to
               seek the Bankruptcy Court’s determination at the Confirmation Hearing that the
               proposed Insurance Claims Assignment is valid and does not defeat or impair the
               Insurance Coverage. If a party in interest fails to timely File an objection to the
               proposed Insurance Claims Assignment by the deadline for filing objections to
               confirmation of the Plan, that party in interest shall be deemed to have irrevocably
               consented to the Insurance Claims Assignment and will be forever barred from
               asserting that the Insurance Claims Assignment in any way affects the ability of the
               Trust to pursue Insurance Claims from the Non-Settling Insurers, and each of them,
               or Insurance Coverage. In the event that the Bankruptcy Court determines that the
               Insurance Claims Assignment is valid and does not defeat or impair the Insurance
               Coverage under such insurance policies, following the Effective Date, the Trust
               shall assume responsibility for, and be bound by, only such obligations of the
               Diocese and Participating Parties under the Non-Settling Insurer Policies as are

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              necessary to enforce the Insurance Claims and any recoveries on account of
              Insurance Claims against the Non-Settling Insurers. At the Trust’s reasonable
              request, the Diocese, the Reorganized Diocese, and the Participating Parties shall
              use reasonable efforts to comply with any Post-Effective Date Insurance
              Obligations to preserve coverage under the Non-Settling Insurer Policies. Any
              DOR Entities’ Post-Effective Date Costs incurred in connection with such efforts,
              shall be paid by the Trust in accordance with the DOR Entities’ Post-Effective Date
              Costs Procedures described below.

                      b.      In the event that the Bankruptcy Court does not enter an order
              transferring the Insurance Claims, the Diocese and each of the Participating Parties
              will retain the Insurance Claims. The Diocese or a Participating Party will assert
              Insurance Claims to the extent reasonably requested by the Trust against any Non-
              Settling Insurer. The Diocese or Participating Party will retain counsel acceptable
              to the Trustee to prosecute any Insurance Claims and the Trust shall pay all
              attorney’s fees, expert fees, and other costs and expenses incurred by the Diocese
              or the Participating Party in prosecuting the Insurance Claims. For avoidance of
              doubt, any efforts by the Diocese or a Participating Party to prosecute the Insurance
              Claims shall be an accommodation to the Trust and any costs and expenses incurred
              in connection therewith shall be paid by the Trust in full and shall not be subject to
              the DOR Entities’ Post-Effective Date Costs Procedures described below. The
              Trust shall have a common interest with the Diocese in prosecuting Insurance
              Claims, and may appear and be heard in connection with the prosecution of such
              claims, at its own expense, unconditionally, subject only to any limitations of law
              and equity. The Diocese and the Participating Parties shall not settle any of the
              Insurance Claims without the prior written consent of the Trustee, which consent
              shall not be unreasonably delayed or denied. All recoveries on account of Insurance
              Claims will be paid to the Trust, net of any unreimbursed attorney’s fees, expert
              fees and other costs and expenses associated with prosecuting such Insurance
              Claims.

                      c.     The parties shall seek a determination from the Bankruptcy Court
              confirming that the duties, obligations, and liabilities of any Non-Settling Insurer
              are not enhanced, altered, diminished, reduced, or eliminated by: (i) the Diocese
              Discharge with respect to Abuse Claims, or any covenants not to execute against
              the assets (exclusive of insurance policies) of any Participating Party; (ii) the
              injunctive protection provided to the Protected Parties; or (iii) the assumption of
              and responsibility for all Abuse Claims by the Trust.

        4.    Outbound Contribution Claims.

       Outbound Contribution Claims shall be automatically, and without further act or deed,
assigned to the Trust on the Effective Date.




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C.       Vesting of Trust Assets

        On the Effective Date, all Trust Assets shall vest in the Trust, and the Protected Parties
shall be deemed for all purposes to have transferred all of their respective right, title, and interest
in the Trust Assets to the Trust. On the Effective Date, or as soon as practicable thereafter, the
Protected Parties, as applicable, shall take all actions reasonably necessary to transfer any Trust
Assets to the Trust. Upon the transfer of the Trust Assets in accordance with this paragraph, the
Protected Parties shall have no further interest in or with respect to the Trust Assets.

D.       Non-Monetary Commitments.

        In order to further promote healing and reconciliation, and in order to continue efforts to
prevent Abuse from occurring in the future, the Reorganized Diocese agrees that, beginning within
thirty days after the Effective Date (unless a different date is provided in the Confirmation Order),
it will use reasonable efforts to undertake and observe certain non-monetary commitments as
agreed upon with the Committee and set forth as Exhibit 7 in the Plan Supplement.

E.       Appointment of the Trustee

        The initial Trustee will be identified no fewer than ten Business Days before the
Confirmation Hearing. The Trustee shall commence serving as the Trustee on the Effective Date;
provided, however, that the Trustee shall be permitted to act in accordance with the terms of the
Trust Agreement from such earlier date, as authorized by the Bankruptcy Court, and shall be
entitled to seek compensation in accordance with the terms of the Trust Agreement and the Plan.

F.       Trust Advisory Committee

        The Plan and Trust Agreement provide for the creation of a Trust Advisory Committee,
which shall initially consist of those members of the Committee who agree to serve on the Trust
Advisory Committee. The members of the Trust Advisory Committee shall have only such limited
rights, duties and powers as set forth in the Plan and Trust Agreement. The process for appointing
replacement members of the Trust Advisory Committee shall be provided in the Trust Agreement.
Upon termination of the Trust, or as otherwise provided in th Trust Agreement, the Trust Advisory
Committee shall be deemed dissolved and discharged of and from all further authority, duties,
responsibilities, and obligations with respect to or in connection with the Trust and the Chapter 11
Case.

       Except for the reimbursement of reasonable actual costs and expenses incurred in
connection with their duties as members of the Trust Advisory Committee, the members of the
Trust Advisory Committee shall serve without compensation. Reasonable expenses incurred by
members of the Trust Advisory Committee may be solely paid by the Trust without need for
approval of the Bankruptcy Court. For the avoidance of doubt, none of the Diocese, the
Reorganized Diocese, or any Participating Party shall be responsible for any fees, costs, or
expenses associated with the Trust Advisory Committee.




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G.       Rights and Responsibilities of the Trustee

        The Trustee shall be deemed to be a fiduciary of the Trust under the terms of the Trust
Agreement and shall have all rights, powers, authority, responsibilities, and benefits under New
York law specified in the Plan and as reflected in the Trust Agreement, including commencing,
prosecuting or settling causes of action, enforcing contracts, and asserting Claims, defenses, offsets
and privileges. If there is any inconsistency or ambiguity between the Confirmation Order and the
Trust Agreement with respect to Trustee’s authority to act, the provisions of the Trust Agreement
shall control. Among other things, the Trustee: (1) shall liquidate and convert to Cash the Trust
Assets, make timely Distributions and not unduly prolong the duration of the Trust; (2) may
request an expedited determination of taxes of the Trust under section 505(b) of the Bankruptcy
Code for all returns Filed for, or on behalf of, the Trust for all taxable periods through the
dissolution of the Trust; and (3) may consult with the Trust Advisory Committee and retain
professionals, including legal counsel, accountants, financial advisors, auditors, and other Agents
on behalf of the Trust, and at the Trust’s sole expense, as reasonably necessary and to carry out
the obligations of the Trustee hereunder and under the Trust Agreement.

        The Trust shall make Trust Distributions to the Abuse Claimants. The Trust shall pursue
Insurance Claims against any Non-Settling Insurers. The Trust shall fund DOR Entities’ Post-
Effective Date Costs pursuant to the DOR Entities’ Post-Effective Date Costs Procedures and may
seek reimbursement from any Non-Settling Insurer.

       The Confirmation Order shall state that, absent permission of the Bankruptcy Court, no
cause of action shall be commenced in any forum, other than the Bankruptcy Court, against the
Trustee in its official capacity, with respect to its status, duties, powers, acts, or omissions as
Trustee.

H.       Trust Pursuit of Insurance Claims

         1.     Trust’s Rights to Pursue Insurance Claims.

         Effective as of the Effective Date, the Insurance Claims are assigned and transferred to the
Trust.

                a.      The Trust shall be entitled to (i) all recoveries on account of Insurance
Claims assigned to the Trust as set forth in the Plan, the Allocation Protocol, and the Confirmation
Order, and (ii) to assert and/or assign to any Abuse Claimant all Insurance Claims that currently
exist or may arise in the future against Non-Settling Insurers.

                b.      The Trust shall also have the right to pursue Claims against Non-Settling
Insurers related to the Diocese’s and/or the Participating Parties’ liability for Abuse Claims or the
Non-Settling Insurers’ obligations in respect of such Claims as set forth in the Allocation Protocol,
regardless of whether an Abuse Claimant holds a Claim against the Trust, a Litigation Claim, or
both. The foregoing transfer shall not be construed to entitle any Person to insurance coverage
other than those Persons entitled to such coverage from Non-Settling Insurers.




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               c.     The Trust may act in its own name, or in the name of any Abuse Claimant,
the Diocese and/or a Participating Party to enforce any right, title, or interest of any such party in
the Insurance Claims assigned to the Trust.

                d.      No limitations on recovery from Non-Settling Insurers shall be imposed by
virtue of the fact the Diocese is in bankruptcy or by any Distribution from the Trust to an Abuse
Claimant.

                e.     The Insurance Claims Assignment shall not affect any Non-Settling
Insurer’s duty to defend, but to the extent that the failure to defend or a separate agreement between
the Diocese and/or a Participating Party and any Non-Settling Insurer gives rise to a monetary
obligation to reimburse defense costs in lieu of a duty to defend, the Trust shall be entitled to the
benefit of such monetary obligation or policy proceeds to the extent of any DOR Entities’ Post-
Effective Date Costs actually paid by the Trust.

                f.     Any recovery by the Trust on Insurance Claims relating to the Diocese’s
and/or Participating Parties’ liability for Abuse Claims shall become a Trust Asset and shall be
distributed as provided in the Plan, the Trust Agreement, and the Allocation Protocol.

              g.    The Trust’s pursuit of the Protected Parties shall be limited to enforcing
specific performance of the Insurance Claims Assignment and any Insurance Settlment
Agreements and any other rights or interests expressly granted to the Trust under the Plan.

                h.     The Trust shall have full access to coverage under the Non-Settling Insurer
Policies to the greatest extent permitted by applicable non-bankruptcy law, in the same manner
and to the same extent, as any Abuse Claimant, the Diocese and any Participating Parties prior to
the confirmation of the Plan and the Insurance Claims Assignment. The Non-Settling Insurers
shall retain any and all coverage defenses, except any defense regarding or arising from the
Insurance Claims Assignment, but confirmation or effectuation of the Plan shall not trigger any
coverage defense, or give rise to any additional coverage defense, that did not exist prior to the
Diocese’s filing for bankruptcy or Plan confirmation, and no coverage defenses are created by the
Diocese’s bankruptcy or the negotiation, solicitation, or confirmation of the Plan, or the terms
thereof, including any treatment of, or protections afforded to, the Diocese, the Reorganized
Diocese, any Participating Party or Settling Insurer under the Plan.

                i.     The Insurance Claims Assignment does not affect any the right of the
Diocese, the Reorganized Diocese, any Participating Party or any Non-Settling Insurer to contest
any liability or the amount of damages in respect of any Abuse Claims.

        2.     Insurance Neutrality.

        For the avoidance of doubt, solely with respect to the Non-Settling Insurers, except as set
forth in Sections 6.5 and 8.8.1, nothing in the Plan, the Trust Agreement, the Confirmation Order,
any Plan Document, any order approving a settlement, or any other order, judgment, conclusion
of law, finding of fact, determination or statement (written or oral) of the Bankruptcy Court (or
any other Court exercising jurisdiction over the Chapter 11 Case) to the contrary (including any
other provision that purports to be preemptory or supervening or grants a release): (i) shall affect,
impair, or prejudice the rights and defenses of any Non-Settling Insurer against the Diocese or any

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other Participating Party under any Non-Settling Insurer Policies, including any factual or legal
defenses to any claim for insurance; (ii) shall affect, impair or prejudice the rights and defenses of
any Protected Party, the Trust, or any other insureds under Non-Settling Insurer Policies in any
manner, including any factual or legal defenses to any claim for insurance; (iii) shall constitute a
settlement or resolution of the Diocese’s and/or any Participating Party’s liability to an Abuse
Claimant; (iv) shall in any way operate to, or have the effect of, impairing or having any res
judicata, collateral estoppel, or other preclusive effect on, any party’s legal, equitable, or
contractual rights or obligations under any Non-Settling Insurer Policy; or (v) shall otherwise
determine the applicability or non-applicability of any provision of any Non-Settling Insurer
Policy and any such rights and obligations shall be determined under the Non-Settling Insurer
Policy and applicable law.

I.       Tax Matters

        The Trust is intended to qualify as a “Designated” or “Qualified Settlement Fund” pursuant
to Section 468B of the Internal Revenue Code and the Treasury Regulations promulgated
thereunder. The Diocese is the “transferor” within the meaning of Treasury Regulation
Section 1.468B-1(d)(1). The Trustee shall be classified as the “administrator” within the meaning
of Treasury Regulation Section 1.468B-2(k)(3). The Trust Documents, including the Trust
Agreement, are incorporated herein by reference. The Trust shall not be deemed to be the same
legal entity as the Diocese or the Reorganized Diocese, but only the assignee of certain assets of
the Diocese and a representative of the Estate for delineated purposes within the meaning of section
1123(b)(3) of the Bankruptcy Code. The Trust is expected to be tax exempt. The Trustee shall
File such income tax and other returns and documents as are required to comply with the applicable
provisions of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1 et seq., as may be amended, and
the regulations promulgated thereunder, 31 C.F.R. §§ 900 et seq., and New York law and the
regulations promulgated thereunder, and shall pay from the Trust all taxes, assessments, and levies
upon the Trust, if any. The Trustee, may in its discretion, establish a disputed claims reserve for
the Trust, which shall be administered in accordance with applicable law.

J.       DOR Entities’ Post-Effective Date Costs Procedures

         1.    DOR Entities’ Post-Effective Date Costs Reserve.

        As set forth in the Plan and the Trust Agreement, the Trust shall establish the DOR Entities’
Post-Effective Date Costs Reserve, which shall be funded in the amount of not less than $2,000,000
from the DOR Entities’ Cash Contribution. The Trustee shall provide the Reorganized Diocese
and all Participating Parties with a written statement as to the balance of the DOR Entities’ Post-
Effective Date Costs Reserve no later than the fifteenth day of each month until such time as the
DOR Entities’ Post-Effective Date Costs Reserve is exhausted.

       The Trustee may increase the amount of, or replenish, the DOR Entities’ Post-Effective
Date Costs Reserve, in his or her sole and exclusive discretion; provided, however, if at any time
the DOR Entities’ Post-Effective Date Costs Reserve falls below $300,000, the Trustee shall
immediately report the same to the Reorganized Diocese and all Participating Parties and the
Diocese, the Reorganized Diocese, and the Participating Parties shall be irrevocably released from
any further obligations they would otherwise have under the Plan with respect to any Insurance


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Claims and/or Abuse Claims, including, without limitation, any further obligation to comply with
any Post-Effective Date Insurance Obligations or to assist in the administration of the Allocation
Protocol, provided, further, that the Trust shall remain responsible for the payment of all DOR
Entities’ Post-Effective Date Costs incurred within one year following the date of such notice
which are submitted in accordance with these procedures to the extent any funds remain in the
DOR Entities’ Post-Effective Date Costs Reserve. Nothing herein shall be construed to address
the rights of any Non-Settling Insurer or the Trust, as assignee of Insurance Claims, upon any
withdrawal of cooperation in defense of Claims by the Diocese and/or any Participating Party.

        2.     DOR Entities’ Post-Effective Date Costs.

        All invoices for DOR Entities’ Post-Effective Date Costs shall be submitted to the Trustee
via email within 60 days following the end of the month in which DOR Entities’ Post-Effective
Date Costs are incurred (such submission, a “Fee Notice”). All Fee Notices provided to the Trustee
may be redacted to prevent the disclosure of privileged information or trial strategy. The Trustee
shall keep all Fee Notices confidential and shall not share any information contained in them (other
than the amount of the fees) with any member of the Trust Advisory Committee, any Litigation
Claimant, or their respective individual counsel, or any professional whose firm is counsel of
record to the Trust or the Trust Advisory Committee in connection with any Insurance Claims.
For the avoidance of doubt, the Trustee may share such Fee Notices with any professional advisors
who are not counsel of record to the Trust or the Trustee with respect to the Insurance Claims.

         The Trustee shall inform the Reorganized Diocese, the Participating Party, and any
professional submitting a Fee Notice of any disputes regarding the requested fees and expenses
within fifteen days of submission of a Fee Notice or shall pay the requested fees within such time.
If any such dispute cannot be resolved within fifteen days or such other amount of time agreed
upon by the parties, either may submit such dispute to the Bankruptcy Court for adjudication upon
at least fifteen days’ notice. The Bankruptcy Court shall review the applicable fees and expenses
as to reasonableness in light of the work performed.

        Professionals shall charge rates and expenses that are no higher than their usual and
customary rates for similar work performed by such professionals for clients generally at the time
such services are provided, and such rates may be adjusted from time to time in accordance with
the general practices of such professionals, but not more often than once in any twelve-month
period.

        To the extent consistent with the advice of counsel, the Diocese and any Participating
Parties will use reasonable efforts to retain joint professional representation in any case or cases
brought by one Litigation Claimant pertaining to the same Abuse Claim.

K.      Stipulated Judgments.

        The Diocese and the Committee have agreed to enter into up to thirty-eight (38) Sipulated
Judgments to be entered against the Diocese, but which shall be enforceable only upon the
Effective Date and only against CNA, and to seek approval thereof through the Stipulated
Judgment Motion to be considered by the Court concurrently with the hearing to consider
confirmation of the Plan.


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       Only Abuse Claims where the Committee and the Diocese agree that (a) there is a
reasonable basis for an assertion of liability against the Diocese, (b) an applicable Insurance Policy
from CNA affords coverage for liability claims against the Diocese, and (c) CNA has denied
coverage, shall be eligible for Stipulated Judgments.

        If the Bankruptcy Court enters an order approving the Stipulated Judgments, each of the
Stipulation Claimants shall assign their Stipulated Judgment to the Trust as of and upon the
Effective Date. If the Bankruptcy Court does not approve the Stipulated Judgments (or only
approves some of them), all Insurance Claims against CNA shall be assigned to the Trust on
substantially the same terms and conditions as the other Non-Settling Insurers, regardless of the
lack of Stipulated Judgments; provided, however, that, the Trust (as successor to the Committee)
and/or any affected Stipulation Claimant may appeal such denial, provided, further, however that
the pendency of any such appeal shall not be grounds for delaying confirmation of the Plan without
such Stipulated Judgment(s).

        On and after the Effective Date, the Trust may initiate proceedings in any court of
competent jurisdiction, on notice to the Diocese, the Reorganized Diocese, and CNA, for a
determination by such court of competent jurisdiction or a jury seated thereby of the amount of
damages payable on account of Stipulated Judgments approved by the Bankruptcy Court,
provided, however, and notwithstanding anything to the contrary anywhere in this Plan, in no event
shall such damages exceed the applicable Stipulated Judgment Limit. Each Stipulated Judgment
approved by the Bankruptcy Court shall remain in full force and effect for up to six years after the
Effective Date, subject to extension by the Bankruptcy Court for up to an additional two years for
good cause shown after notice to the Diocese and the Reorganized Diocese and a hearing.

L.      No Recourse Against Trustee

        No recourse shall ever be had, directly or indirectly, against the Trustee personally, or
against any Agent retained in accordance with the terms of the Trust Agreement or the Plan by the
Trustee, by legal or equitable proceedings or by virtue of any statute or otherwise, nor upon any
promise, contract, instrument, undertaking, obligation, covenant or agreement whatsoever
executed by the Trustee in implementation of the Trust Agreement or the Plan, or by reason of the
creation of any indebtedness by the Trustee under the Plan for any purpose authorized by the Trust
Agreement or the Plan, it being expressly understood and agreed that all such liabilities, covenants,
and Trust Agreements of the Trust whether in writing or otherwise, shall be enforceable only
against and be satisfied only out of the Trust Assets or such part thereof as shall under the term of
any such Trust Agreement be liable therefore or shall be evidence only of a right of payment out
of the Trust Assets. Notwithstanding the foregoing, the Trustee may be held liable for its
recklessness, gross negligence, willful misconduct, knowing and material violation of law, breach
of the fiduciary duty of loyalty, or fraud, and if liability on such grounds is established, recourse
may be had directly against the Trustee. The Trust shall not be covered by a bond.

        None of the Diocese, the Reorganized Diocese, or any Participating Party shall be liable
for any acts or omissions by the Trust, the Trustee, or their respective Agents or Related Persons.




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M.      Indemnification by Trust

        The Trust shall defend, indemnify, and hold harmless the Trustee and its Agents to the
fullest extent permitted under the laws of New York in the performance of their duties under the
Plan and the Trust Agreement. For the avoidance of doubt, the Diocese, Reorganized Diocese,
Participating Parties, and their respective Agents shall not be deemed to be Agents of the Trust
unless specifically authorized as such in writing by the Trustee.

N.      Trust Liability

        Upon the occurrence of the Effective Date, the Trust shall automatically and without
further act or deed assume all responsibility for preserving, managing, and distributing Trust
Assets.

        Subject to and upon the occurrence of each applicable Abuse Claim Discharge Date, the
Trust shall automatically and without further act or deed assume all liability, if any, of the
Participating Parties and Settling Insurers in respect of the Abuse Claims, which shall become
Channeled Claims in accordance with the terms of the Plan.

O.      Termination

        The Trust shall terminate after its liquidation, administration, and Distribution of the Trust
Assets in accordance with the Plan and its full performance of all other duties and functions set
forth in the Trust Agreement.

                                           ARTICLE X

                          GENERAL CLAIMS ADMINISTRATION

A.      Objections To Non-Abuse Claims

        Prior to the Effective Date, the Diocese shall have the authority to pursue any objection to
the allowance of any Non-Abuse Claim. From and after the Effective Date, the Reorganized
Diocese will retain responsibility for administering, disputing, objecting to, compromising, or
otherwise resolving and making any Distributions with respect to Non-Abuse Claims (including
those Non-Abuse Claims that are subject to objection by the Diocese as of the Effective Date);
provided, however, that nothing in this Section shall affect the right of any party in interest
(including the Reorganized Diocese and the Trustee) to object to any Non-Abuse Claim to the
extent such objection is otherwise permitted by the Bankruptcy Code, the Bankruptcy Rules, and
the Plan. Unless otherwise provided in the Plan or by order of the Bankruptcy Court, objections
to Non-Abuse Claims will be Filed and served not later than 60 days after the later of: (i) the
Effective Date, or (ii) the date such Claim is Filed (the “Claims Objection Deadline”). Such
deadline or any Bankruptcy Court-approved extension thereof, may be extended upon request by
the Reorganized Diocese by filing a motion without any requirement to provide notice to any
Person, based upon a reasonable exercise of the Reorganized Diocese’s business judgment. A
motion seeking to extend the deadline to object to any Claim shall not be deemed an amendment
to the Plan.


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B.      Determination of Claims

        From and after the Effective Date, any Non-Abuse Claim as to which a proof of claim or
motion or request for payment was timely Filed in this Chapter 11 Case, or deemed timely Filed
by order of the Bankruptcy Court, may be determined and (so long as such determination has not
been stayed, reversed, or amended, as to which determination (or any revision, modification, or
amendment thereof) the time to appeal or seek review or rehearing has expired, (and as to which
no appeal or petition for review or rehearing was Filed or, if Filed, remains pending)), liquidated
pursuant to: (i) an order of the Bankruptcy Court; (ii) applicable bankruptcy law; (iii) agreement
of the parties without the need for Bankruptcy Court approval; (iv) applicable non-bankruptcy law;
or (v) the lack of (a) an objection to such Claim, (b) an application to equitably subordinate such
Claim, and (c) an application to otherwise limit recovery with respect to such Claim, Filed by the
Diocese, the Reorganized Diocese, or any other party in interest on or prior to any applicable
deadline for filing such objection or application with respect to such Claim. Any such Claim so
determined and liquidated shall be deemed to be an Allowed Claim for such liquidated amount
and shall be satisfied in accordance with the Plan. Nothing contained in this Section shall constitute
or be deemed a waiver of any Claims, rights, or causes of action that the Diocese or the
Reorganized Diocese may have against any Person in connection with or arising out of any Claim
or Claims, including any rights under 28 U.S.C. § 157.

C.      No Distributions Pending Allowance

        Except in the case of Abuse Claims paid pursuant to the Allocation Protocol, no
Distribution will be made with respect to a Disputed Claim, or any portion thereof, unless and until
all objections to such Disputed Claim have been settled or withdrawn or have been determined by
a Final Order, and the Disputed Claim has become an Allowed Claim.

D.      Claim Estimation

        To effectuate Distributions pursuant to the Plan and avoid undue delay in the administration
of the Chapter 11 Case, with respect to Disputed Claims (except Abuse Claims), the Diocese or
the Reorganized Diocese, after notice and a hearing (which notice may be limited to the holder of
such Disputed Claim), shall have the right to seek an order of the Bankruptcy Court or the District
Court, pursuant to section 502(c) of the Bankruptcy Code, estimating or limiting the amount of:
(i) property that must be withheld from or reserved for Distribution purposes on account of such
Disputed Claim(s), (ii) such Claim for allowance or disallowance purposes, or (iii) such Claim for
any other purpose permitted under the Bankruptcy Code; provided, however, that the Bankruptcy
Court or the District Court, as applicable, shall determine: (y) whether such Claims are subject to
estimation pursuant to section 502(c) of the Bankruptcy Code, and (z) the timing and procedures
for such estimation proceedings.

E.      Treatment of Contingent Claims

        Except with respect to Abuse Claims, until such time as a contingent Claim or a contingent
portion of an Allowed Claim becomes fixed or absolute or is Disallowed, such Claim will be
treated as a Disputed Claim for all purposes related to Distributions under the Plan.



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F.       Controversy Concerning Impairment

        If a controversy arises as to whether any Claim or any Class of Claims is Impaired under
the Plan, the Bankruptcy Court, after notice and a hearing, shall determine such controversy before
confirming the Plan.

G.       Treatment of Executory Contracts and Unexpired Leases

        Subject to the requirements of section 365 of the Bankruptcy Code, all executory contracts
and unexpired leases of the Diocese except (i) Insurance Policies that have not been assumed and
retained by the Diocese pursuant to Section 7.5 of the Plan, or (ii) executory contracts and
unexpired leases that have been rejected by order of the Bankruptcy Court or are the subject of a
motion to reject pending on the Confirmation Date, will be deemed to be assumed and assigned to
the Reorganized Diocese on the Effective Date. If any party to an executory contract or unexpired
lease that is being assumed and assigned to the Reorganized Diocese objects to such assumption
and assignment, the Bankruptcy Court may conduct a hearing on such objection on any date that
is either mutually agreeable to the parties or fixed by the Bankruptcy Court. All payments to cure
defaults that may be required under section 365(b)(1) of the Bankruptcy Code will be made by the
Reorganized Diocese, except that the Trust shall pay any cure costs under any Insurance Policy
assumed and retained by the Diocese pursuant to Section 7.5 of the Plan. In the event of a dispute
regarding the amount of any cure payments, or the ability of the Diocese or the Reorganized
Diocese (as applicable) to provide adequate assurance of future performance with respect to any
executory contracts to be assumed by the Diocese, or assumed and assigned to the Reorganized
Diocese, the Trust or the Reorganized Diocese (as applicable) will make any payments required
by section 365(b)(1) of the Bankruptcy Code after the entry of a Final Order resolving such dispute.
The contracts and leases which will be assumed and assigned to the Reorganized Diocese, and
their respective cure costs, are identified in Exhibit 8 attached to the Plan Supplement.

                                          ARTICLE XI

                       PROVISIONS GOVERNING DISTRIBUTIONS

A.       Disbursing Agents

        The Reorganized Diocese shall be the disbursing agent for all aspects of the Plan except
for Distributions made from the Trust. With respect to the Trust, the Trustee shall be the disbursing
agent and be responsible for all Distributions made under the Trust.

B.       Manner of Payment

        Unless otherwise agreed by the Reorganized Diocese or the Trustee, as applicable, and the
recipient of a Distribution under the Plan or the Plan Documents, all Distributions of Cash under
the Plan may be made either by check via first class mail, postage prepaid, or by wire transfer from
a domestic bank, at the option of the respective disbursing agent.




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C.      Distribution Only to Holders of Allowed Claims

        Except as otherwise provided in the Plan for Non-Abuse Claims, Distributions under the
Plan and the Plan Documents will be made only to the holders of Allowed Claims. Until a
Disputed Non-Abuse Claim becomes an Allowed Claim, the holder of that Disputed Non-Abuse
Claim will not receive any Distribution otherwise provided to Non-Abuse Claimants under the
Plan or the Plan Documents. If necessary in determining the amount of a pro rata Distribution
due to the holders of Allowed Claims in any Class, the Reorganized Diocese will make the pro
rata calculation as if all Disputed Non-Abuse Claims were Allowed Claims in the full amount
claimed or in the estimated amount. When a Disputed Non-Abuse Claim in any Class becomes an
Allowed Claim, the Reorganized Diocese will make a full or partial Distribution, as applicable,
with respect to such Allowed Claim, net of any setoff contemplated by the order, if any, allowing
such Claim and any required withholding of applicable federal and state taxes.

D.      Disputed Claim Reserve

        To the extent that a disbursing agent makes a Distribution hereunder to a Class prior to the
resolution of all Disputed Claims of such Class, the respective disbursing agent shall reserve an
amount for any Disputed Claims in such Class equal to the amount that such holders of Disputed
Claims in such Class would be entitled to receive under the Plan if such Disputed Claims were
Allowed in the asserted amount of the Claim.

E.      Transmittal of Distributions

        Except as otherwise provided in the Plan, in the Plan Documents, or in an order of the
Bankruptcy Court, Distributions to be made under the Plan, Confirmation Order, or Trust
Documents to Class 4 Claimants will be made by the Trustee, and Distributions to all other
Claimants will be made by the Diocese or the Reorganized Diocese. Distributions to Class 4
Claimants will be made (a) to the client trust account for the Claimant’s attorney of record; (b) if
the Class 4 Claimant does not have an attorney of record, to the latest mailing address set forth in
a proof of claim Filed with the claims agent or the Bankruptcy Court by or on behalf of such
Claimant, or to such other address as may be provided to the Reorganized Diocese or Trustee, as
applicable, by such Claimant in writing; or (c) if no such proof of claim has been Filed and no
written notice setting forth a mailing address is provided by or on behalf of such Claimant to the
Reorganized Diocese or Trustee, as applicable, to the mailing address set forth in the Schedules
Filed by the Diocese in this Chapter 11 Case. Distributions to other Claimants will be made by
wire transfer or by check via first class United States mail, postage prepaid, (a) to the client trust
account for the Claimant’s attorney of record; (b) if the Claimant does not have an attorney of
record, to the latest mailing address set forth in a proof of claim Filed with the claims agent or the
Bankruptcy Court by or on behalf of such Claimant, or to such other address as may be provided
to the Reorganized Diocese, as applicable, by such Claimant in writing, or (c) if no such proof of
claim has been Filed and no written notice setting forth a mailing address is provided by or on
behalf of such Claimant to the Reorganized Diocese, to the mailing address set forth in the
Schedules Filed by the Diocese in the Chapter 11 Case. If a Claimant’s Distribution is not mailed
or is returned to the Reorganized Diocese or to the Trustee because of the absence of a proper
mailing address, the Reorganized Diocese or the Trustee, as the case may be, shall make a
reasonable effort to locate or ascertain the correct mailing address for such Claimant from

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information generally available to the public and from such party’s own records, but shall not be
liable to such Claimant for having failed to find a correct mailing address. The Trustee shall have
no liability to a Class 4 Claimant on account of Distributions made to the client trust account of a
Class 4 Claimant’s attorney.

F.       Timing of Distributions

        Unless otherwise agreed by the Reorganized Diocese or the Trustee, as applicable, and the
recipient of a Distribution under the Plan or the Plan Documents, whenever any payment to be
made is due on a day other than a Business Day, such payment will instead be made on the next
Business Day. Any Claimant that is otherwise entitled to an undeliverable Distribution and that
does not, within thirty days after a Distribution is returned to the Reorganized Diocese or to the
Trustee, as applicable, as undeliverable or is deemed to be an undeliverable Distribution, provide
the Reorganized Diocese or the Trustee, as applicable, with a written notice asserting its Claim to
that undeliverable Distribution and setting forth a current, deliverable address will be deemed to
waive any Claim to such undeliverable Distribution and will be forever barred from receiving such
undeliverable Distribution or asserting any Claim against the Reorganized Diocese, the Trust, the
Trustee, or its property. Any undeliverable Distributions to be made by the Trust that are not
claimed under this Section will become available for the Trust to distribute to other Abuse
Claimants. Any other undeliverable Distributions shall be retained by the Reorganized Diocese in
accordance with the Plan. Nothing in the Plan requires the Reorganized Diocese, the Trust, or the
Trustee to attempt to locate any Claimant whose Distribution is undeliverable.

G.       Time Bar to Check Payments

        If an instrument delivered as a Distribution to a Claimant by the Reorganized Diocese or
the Trust is not negotiated within 90 days after such instrument is sent to the Claimant, then the
instrument shall be null and void, the Claimant shall be deemed to have waived such Distribution,
and all Claims in respect of such voided check shall be discharged and forever barred. Any request
for re-issuance of a check must be made on or before 90 days after issuance of a non-negotiated
check. Except as otherwise provided herein, any Distribution under the Plan which is not
negotiated after 90 days following issuance shall be forfeited, and such Distribution, together with
any interest earned thereon, and shall return to and revest in the Reorganized Diocese or to the
Trust, as applicable.

H.       No Professional Fees or Expenses

       No professional fees or expenses incurred by a Claimant will be paid by the Diocese, the
Reorganized Diocese, or the Trustee with respect to any Claim except as specified in the Plan or
the Trust Documents.

I.       No Interest on Claims

        Unless otherwise specifically provided for in the Plan, the Confirmation Order, or a post-
petition agreement in writing between the Diocese and the holder of a Claim approved by an Order
of the Bankruptcy Court, post-petition interest shall not accrue or be paid on any Claim, and no
holder of a Claim shall be entitled to interest accruing on or after the Petition Date on any Claim.
In addition, and without limiting the foregoing or any other provision of the Plan, the Confirmation

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Order, or the Trust Agreement, interest shall not accrue on or be paid on any Disputed Claim in
respect of the period from the Effective Date to the date a final Distribution is made when and if
such Disputed Claim becomes an Allowed Claim.

J.       Saturday, Sunday or Holiday

       If any payment or act under the Plan is required to be made or performed on a date that is
not a Business Day, then the making of such payment or the performance of such act may be
completed on the following Business Day, but shall be deemed to have been completed as of the
required date.

K.       Withholding Taxes

        The Reorganized Diocese shall comply with all withholding and reporting requirements
imposed by any federal, state, local, or foreign taxing authority, and all Distributions hereunder
shall be subject to any such withholding and reporting requirements. As a condition to making
any Distribution under the Plan, the Reorganized Diocese will require that the holder of an Allowed
Claim provide such holder’s taxpayer identification number and such other information and
certification as may be deemed necessary to comply with applicable tax reporting and withholding
laws.

L.       Setoffs and Recoupment

       Subject to the terms of the Plan and pursuant to section 553 of the Bankruptcy Code or
applicable non-bankruptcy law, the Diocese or Reorganized Diocese, as appropriate, may but shall
not be required to, setoff against or recoup from any Claim on which payments are to be made
pursuant to the Plan, any Claims of any nature whatsoever the Diocese may have against the holder
of such Claim.

M.       No De Minimis Distributions

        Notwithstanding any other provisions of the Plan to the contrary, no payment of fractional
cents will be made under the Plan. Cash (rounded to the nearest whole cent when and as necessary)
will be issued to Claimants entitled to receive Distributions of Cash. Any Distribution of less than
$25.00 will be considered de minimis, and holders of Allowed Claims that are entitled to
Distributions of less than $25.00 will not receive any Distribution. Such funds will remain with,
and revest in, the Reorganized Diocese. For avoidance of doubt, this Section XI.M shall not apply
to any Distributions to be made by the Trust, which shall be governed solely by the Trust
Documents.

N.       Prepayment

       Except as otherwise provided in the Plan or the Confirmation Order, the Reorganized
Diocese shall have the right to prepay, without penalty, all or any portion of an Allowed Claim.




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                                         ARTICLE XII

                                      EFFECTIVE DATE

A.      Conditions Precedent to Effective Date

        The Effective Date shall not occur, and the Plan shall not be consummated, unless each of
the following conditions are satisfied or waived as set forth in Section 11 of the Plan:

        1.     Confirmation Order. The Bankruptcy Court shall have entered the Confirmation
Order in form and substance satisfactory to the Plan Proponents and the Settling Insurers. Without
limiting the generality of the foregoing, the Confirmation Order shall, at a minimum, contain
findings by the Bankruptcy Court that:

                a.     the Allocation Protocol as proposed by the Committee and attached as an
exhibit to the Plan Supplement has been proposed in good faith and is fair and reasonable with
respect to the treatment afforded to all Abuse Claims, including Future Claims;

               b.     the assignment of Insurance Claims, or alternatively, the retention and
prosecution of such claims following confirmation by the Diocese and other Participating Parties
as contemplated in the Plan is authorized by, and does not conflict with, any provision of the
Bankruptcy Code or other applicable law, and is therefore approved;

              c.     all of the requirements for confirmation of the Plan pursuant to section 1129
of the Bankruptcy Code have been met and that the Plan should be confirmed;

                d.     that the Bankruptcy Court has jurisdiction to approve, and does approve, the
transfer of the Residual Assets to, and vesting of title in, the Reorganized Diocese in accordance
with the provisions of section 511 or 511-a of the New York State Not-For-Profit Corporation
Law, and that no further approval by the New York Attorney General or the New York Supreme
Court is required; and

                e.      that, except as otherwise provided in the Plan, the Reorganized Diocese
shall not be liable for any Claims against or liabilities of the Diocese or any of the Participating
Parties, including under any theory of successor liability.

       2.      Channeling and Insurer Injunctions. The Confirmation Order shall approve and
implement the Channeling Injunction and the Supplemental Settling Insurer Injunction set forth in
Section 12 of the Plan.

        3.     Plan Documents. The Plan Documents shall be in form and substance acceptable
to the Plan Proponents and the Settling Insurers.

       4.      Trust Formation. The Trust shall have been formed, the Bankruptcy Court shall
have entered an order appointing the Trustee, and the Trustee and the Diocese shall have executed
the Trust Agreement.



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       5.    The DOR Entities Cash Contribution. The DOR Entities’ Cash Contribution shall
have been made to the Trust.

        6.       Insurance Settlement Agreements. Each Insurance Settlement Agreement agreed
to prior to the Confirmation Date shall have been duly executed by all parties thereto and approved
by the Bankruptcy Court, in each case in form and substance satisfactory to the Plan Proponents
and applicable Settling Insurers.

       7.      The Settling Insurers’ Contribution. All payments due from Settling Insurers
pursuant to Insurance Settlement Agreements have been made to the Trust.

       8.       Reorganized Diocese Formation. The Reorganized Diocese shall have been duly
formed and in good standing under New York law, and shall have obtained any necessary
governmental permits or approvals required to take title to the Residual Assets, and to conduct
business as a tax-exempt entity pursuant to 26 U.S.C. § 501(c)(3), on and after the Effective Date
in substantially the same manner as the Diocese has historically conducted its business.
Notwithstanding the foregoing, this condition shall be waived if the Reorganized Diocese shall not
have been duly formed and in good standing under New York Law within 60 days of the
Confirmation Order becoming a Final Order.

        9.      Final Orders. The Confirmation Order, the order appointing the Trustee, and all
orders approving Insurance Settlement Agreements shall be Final Orders and no stay of any such
orders shall then be in effect.

        10.     No Material Amendments. The Plan shall not have been materially amended,
altered, or modified as confirmed by the Confirmation Order, unless such material amendment,
alternation, or modification has been made with consent of the Plan Proponents and any affected
Settling Insurers.

        11.    Stipulated Judgments. The Bankruptcy Court shall have entered an order
adjudicating the Stipulated Judgment Motion (such order, a “Stipulated Judgment Order”). For
the avoidance of doubt, the Effective Date shall occur regardless of whether the Stipulated
Judgment Order approves all of the Stipulated Judgments, some of the Stipulated Judgments, or
no Stipulated Judgments, and notwithstanding the pendency of an appeal, if any, regarding such
Stipulated Judgment Order.

B.      Notice of Effective Date

        The Diocese shall File a notice of Effective Date with the Bankruptcy Court, and serve it
on all Creditors and parties in interest, within five Business Days after the occurrence of the
Effective Date.

C.      Waiver of Conditions Precedent to the Effective Date

        Any condition to the occurrence of the Effective Date set forth in Section 11.1 of the Plan
may be waived by the mutual written consent of the Diocese, the Committee, the Settling Insurers
with respect to any conditions affecting such Settling Insurer’s rights or obligations and the
Participating Parties with respect to any conditions affecting such Participating Party’s obligations.

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D.      Effect of Non-Occurrence of Conditions

         If substantial consummation of the Plan does not occur, the Plan will be null and void in
all respects and nothing contained in the Plan or the Disclosure Statement will: (i) constitute a
waiver or release of any Claims by or against the Protected Parties or the Settling Insurers;
(ii) prejudice in any manner the rights of the Protected Parties, the Trust, or the Settling Insurers;
(iii) constitute an admission, acknowledgment, offer, or undertaking by the Protected Parties or
the Settling Insurers in any respect, including but not limited to, in any proceeding or case against
the Diocese or any Participating Party; or (iv) be admissible in any action, proceeding or case
against the Protected Parties or Settling Insurers in any court or other forum.

                                          ARTICLE XIII

             EFFECTS OF PLAN CONFIRMATION AND EFFECTIVE DATE

A.      General Injunction and Discharge

      1.    General Injunction. EXCEPT WITH RESPECT TO ABUSE CLAIMS AND
INBOUND CONTRIBUTION CLAIMS ADDRESSED IN SECTION 12.2 OF THE PLAN,
OR AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, ALL PERSONS WHO HAVE HELD, HOLD, OR MAY
HOLD CLAIMS OF ANY KIND OR NATURE AGAINST THE DIOCESE, WHETHER
KNOWN OR UNKNOWN, WHETHER OR NOT GIVING RISE TO A RIGHT TO
PAYMENT OR AN EQUITABLE REMEDY, THAT AROSE, DIRECTLY OR
INDIRECTLY,     FROM ANY ACTION,           INACTION,  EVENT,   CONDUCT,
CIRCUMSTANCE, HAPPENING, OCCURRENCE, AGREEMENT, OR OBLIGATION
OF THE DIOCESE, ANY PARTICIPATING PARTY, OR THE DIOCESE’S AGENTS,
BEFORE THE CONFIRMATION DATE, OR THAT OTHERWISE AROSE BEFORE THE
CONFIRMATION DATE, INCLUDING ALL INTEREST, IF ANY, ON ANY SUCH
CLAIMS AND DEBTS, WHETHER SUCH INTEREST ACCRUED BEFORE OR AFTER
THE DATE OF COMMENCEMENT OF THE CHAPTER 11 CASE, AND INCLUDING
ALL CLAIMS AND DEBTS BASED UPON OR ARISING OUT OF NON-ABUSE CLAIMS
AND FROM ANY LIABILITY OF THE KIND SPECIFIED IN SECTIONS 502(G), 502(H),
AND 502(I) OF THE BANKRUPTCY CODE, WHETHER OR NOT (A) A PROOF OF
CLAIM IS FILED OR IS DEEMED FILED UNDER SECTION 501 OF THE
BANKRUPTCY CODE, (B) SUCH CLAIM IS ALLOWED UNDER THE PLAN; OR
(C) THE HOLDER OF SUCH CLAIM HAS ACCEPTED THE PLAN, ARE
PERMANENTLY ENJOINED, ON AND AFTER THE CONFIRMATION DATE, FROM
(A) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND WITH RESPECT TO ANY SUCH CLAIM OR TAKING
ANY ACT TO RECOVER SUCH CLAIM OUTSIDE OF THE CLAIMS ALLOWANCE
PROCEDURE PROVIDED FOR IN THE PLAN AND THE BANKRUPTCY CODE AND
BANKRUPTCY RULES, (B) THE ENFORCEMENT, ATTACHMENT, COLLECTION,
OR RECOVERY BY ANY MANNER OR MEANS OF ANY JUDGMENT, AWARD,
DECREE, OR ORDER AGAINST THE DIOCESE OR THE REORGANIZED DIOCESE
ON ACCOUNT OF ANY SUCH CLAIM, (C) CREATING, PERFECTING, OR
ENFORCING ANY ENCUMBRANCE OF ANY KIND AGAINST THE PROPERTY OR

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INTERESTS IN PROPERTY OF THE DIOCESE OR THE REORGANIZED DIOCESE
ON ACCOUNT OF ANY SUCH CLAIM AND (D) ASSERTING ANY RIGHT OF SETOFF,
SUBROGATION OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION
DUE FROM THE DIOCESE OR THE REORGANIZED DIOCESE OR AGAINST THE
PROPERTY OR INTERESTS IN PROPERTY OF THE DIOCESE OR THE
REORGANIZED DIOCESE ON ACCOUNT OF ANY SUCH CLAIM.

        2.     General Discharge. Except as otherwise expressly provided in the Plan or in the
Confirmation Order, on the Effective Date, pursuant to section 1141(d) of the Bankruptcy Code,
the Diocese, the Estate, and the Reorganized Diocese will be discharged from all liability for any
and all Claims other than Abuse Claims.

B.      Injunction and Discharge of Abuse Claims and Inbound Contribution Claims

      1.     Injunction of Abuse Claims and Inbound Contribution Claims. EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN SECTION 12.2.2 OF THE PLAN OR IN THE
CONFIRMATION ORDER, ON AND AFTER THE EFFECTIVE DATE ALL PERSONS
SHALL BE PERMANENTLY STAYED, ENJOINED, AND RESTRAINED FROM
TAKING ANY ACTION, DIRECTLY OR INDIRECTLY, FOR THE PURPOSES OF
ASSERTING, ENFORCING, OR ATTEMPTING TO ASSERT OR ENFORCE AGAINST
THE DIOCESE, THE REORGANIZED DIOCESE, OR ANY PARTICIPATING PARTY,
ANY ABUSE CLAIMS OR INBOUND CONTRIBUTION CLAIMS, KNOWN OR
UNKNOWN, WHETHER OR NOT GIVING RISE TO A RIGHT TO PAYMENT OR AN
EQUITABLE REMEDY, THAT AROSE, DIRECTLY OR INDIRECTLY, FROM ANY
ACTION, INACTION, EVENT, CONDUCT, CIRCUMSTANCE, HAPPENING,
OCCURRENCE, AGREEMENT, OR OBLIGATION OF THE DIOCESE, ANY
PARTICIPATING PARTY, OR THE DIOCESE’S OR ANY PARTICIPATING PARTY’S
AGENTS, BEFORE THE CONFIRMATION DATE, OR THAT OTHERWISE AROSE
BEFORE THE CONFIRMATION DATE, INCLUDING ALL INTEREST, IF ANY, ON
ANY SUCH CLAIMS AND DEBTS, WHETHER SUCH INTEREST ACCRUED BEFORE
OR AFTER THE DATE OF COMMENCEMENT OF THE CHAPTER 11 CASE, AND
INCLUDING ALL CLAIMS AND DEBTS BASED UPON OR ARISING OUT OF ABUSE
CLAIMS AND FROM ANY LIABILITY OF THE KIND SPECIFIED IN SECTIONS
502(G), 502(H), AND 502(I) OF THE BANKRUPTCY CODE, WHETHER OR NOT (A) A
PROOF OF CLAIM IS FILED OR IS DEEMED FILED UNDER SECTION 501 OF THE
BANKRUPTCY CODE, (B) SUCH CLAIM IS ALLOWED UNDER THE PLAN; OR
(C) THE HOLDER OF SUCH CLAIM HAS ACCEPTED THE PLAN.

     IN A SUCCESSFUL ACTION TO ENFORCE THE INJUNCTIVE PROVISIONS
OF THIS SECTION IN RESPONSE TO A WILLFUL VIOLATION THEREOF, THE
MOVING PARTY MAY SEEK AN AWARD OF COSTS (INCLUDING REASONABLE
ATTORNEYS’ FEES) AGAINST THE NON-MOVING PARTY, AND SUCH OTHER
LEGAL OR EQUITABLE REMEDIES AS ARE JUST AND PROPER, AFTER NOTICE
AND A HEARING.

    THE DISCHARGE AND INJUNCTIONS CONTAINED IN THE PLAN AND THE
RELEASES PROVIDED UNDER THE PLAN DO NOT RELEASE OR IMPAIR AN

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ABUSE CLAIMANT’S RIGHT TO RECOVER ON ANY ABUSE CLAIM AGAINST ANY
PERPETRATOR OF ABUSE FOR ACTS OF ABUSE THAT ARE INDEPENDENT OF
THE LIABILITY OF THE DIOCESE OR ANY PARTICIPATING PARTY.

        2.     Limited Exception to Injunction. To facilitate the pursuit of Insurance Claims
against Non-Settling Insurers, the injunctions set forth in the Plan shall not prevent the prosecution
of Abuse Actions against the Diocese or any Participating Party (a) by one or more Litigation
Claimants authorized by the Trustee to pursue their Litigation Claims, at such Litigation
Claimants’ expense, in any court of competent jurisdiction solely for the purpose of determining
any liability that the Diocese and/or any Participating Party may have with respect to such
Litigation Claimant’s Litigation Claim, and the amount of that liability; (b) as the Trustee may
deem necessary in order to enforce the Stipulated Judgments and/or otherwise prosecute the
Insurance Claims; or (c) as the Trustee may deem necessary in order to effectuate settlement of
any Abuse Claims, provided, however, that all collection efforts against the Diocese and/or any
Protected Party shall be enjoined and any Litigation Award obtained as a result of litigating such
Abuse Actions shall be enforceable solely against Non-Settling Insurers and not against any
Protected Party.

        To preserve coverage under any Non-Settling Insurer Policy, Class 4 Abuse Claims will
not be released or discharged as against the Diocese or any other Participating Party until the
occurrence of the applicable Abuse Claim Discharge Date. For the avoidance of doubt, prior to
the occurrence of the applicable Abuse Claim Discharge Date and subject to the limitations set
forth in the Plan, a duly authorized Litigation Claimant or the Trust may name the Diocese or any
Participating Party in a proceeding to adjudicate whether the Diocese or any Participating Party
has liability for an Abuse Claim and the amount of any such liability, but recourse shall be limited
to the proceeds of any Non-Settling Insurer Policies and all other damages that may be recoverable
against any Non-Settling Insurers.

        Notwithstanding anything to the contrary herein or in the Plan, the Reorganized Diocese
shall have no liability whatsoever for any Abuse Claims or Inbound Countribution Claims and any
act by any Person to collect or enforce any Abuse Claim or Inbound Contribution Claim against
the Reorganized Diocese shall be permanently enjoined.

       3.       Discharge of Diocese. Except as otherwise expressly provided in the Confirmation
Order, pursuant to section 1141(d) of the Bankruptcy Code, the Diocese and its Estate will be
discharged (a) from all liability for any and all Inbound Contribution Claims on the Confirmation
Date, and (b) from all liability for any and all Abuse Claims upon the occurrence of the applicable
Abuse Claim Discharge Date.

        The Abuse Claim Discharge Date shall be determined as follows, unless the applicable
Abuse Claimant has previously delivered an Abuse Claim Release Agreement to the Trust, in
which case the Abuse Claim Discharge Date with respect to such Abuse Claimant’s Abuse Claim
shall be the date of delivery of the Abuse Claim Release Agreement:

                a.     with respect to any Abuse Claim held by a Stipulation Claimant, the Abuse
Claim Discharge Date shall be the date on which all legal proceedings initiated on or before the
first anniversary of the Effective Date by the Trust seeking to assert an Insurance Claim based


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upon the Stipulated Judgment associated with such Abuse Claim have been finally adjudicated,
settled, or dismissed; and

               b.     with respect to any Abuse Claim held by an Abuse Claimant who is
authorized, on or before the first anniversary of the Effective Date, to proceed as a Litigation
Claimant, the Abuse Claim Discharge Date shall be the earlier of (a) the date on which all
Litigation Claims by such Litigation Claimant against the Diocese and/or any Participating Party
have been finally adjudicated, settled or dismissed on a final and non-appealable basis or (b) the
date on which the Abuse Claimant withdraws his or her election to be a Litigation Claimant in
accordance with Section 4.5.3 of the Plan; and

               c.     with respect to any Abuse Claim held by a Stipulation Claimant who is also
authorized, on or before the first anniversary of the Effective Date, to proceed as a Litigation
Claimant, the Abuse Claim Discharge Date shall be the latter to occur of (a) and (b) above; and

               d.      with respect to all Abuse Claims held by Abuse Claimants who are neither
Stipulation Claimants nor authorized as Litigation Claimants on or before the first anniversary of
the Effective Date, the Abuse Claim Discharge Date shall be the first anniversary of the Effective
Date.

        4.      Preservation of Insurance Claims. The Non-Settling Insurers remain fully liable
for their obligations related in any way to the Abuse Claims, and their obligations are not reduced
by the fact that the Diocese is in bankruptcy or by the amount of Distributions Abuse Claimants
receive, or are entitled to receive, based on the Plan. For the avoidance of doubt, determinations
by any tort claims reviewer and/or any Distributions entitled to be received from the Trust shall
not constitute a determination of the Diocese’s and/or any Participating Party’s liability or damages
for Abuse Claims. The Trust may continue efforts to obtain recoveries from Non-Settling Insurers
related to the Abuse Claims. Any such recoveries by the Trust from Non-Settling Insurers will be
added to the Abuse Claims Settlement Fund to be distributed pursuant to the terms of the Plan.
Nothing in the Plan shall be deemed to modify or abridge any rights of the Non-Settling Insurers
under their respective Non-Settling Insurer Policies except to the extent consistent with the
provisions of the Bankruptcy Code or other applicable law.

C.      Channeling Injunction Preventing Prosecution of Channeled Claims Against
        Protected Parties

     1.    IN CONSIDERATION OF THE UNDERTAKINGS OF THE PROTECTED
PARTIES HEREIN, THEIR CONTRIBUTIONS TO THE TRUST, AND OTHER
CONSIDERATION, AND, WHERE APPLICABLE, PURSUANT TO THEIR
RESPECTIVE SETTLEMENTS WITH THE DIOCESE AND TO FURTHER PRESERVE
AND PROMOTE THE AGREEMENTS BETWEEN AND AMONG THE PROTECTED
PARTIES, AND TO SUPPLEMENT WHERE NECESSARY THE INJUNCTIVE EFFECT
OF THE DISCHARGE AS PROVIDED IN SECTIONS 524 AND 1141 OF THE
BANKRUPTCY CODE, AND PURSUANT TO SECTIONS 105 AND 363 OF THE
BANKRUPTCY CODE:




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         a.    ANY AND ALL CHANNELED CLAIMS ARE CHANNELED INTO
THE TRUST AND SHALL BE TREATED, ADMINISTERED, DETERMINED, AND
RESOLVED UNDER THE PROCEDURES AND PROTOCOLS AND IN THE AMOUNTS
ESTABLISHED UNDER THE PLAN AND THE TRUST AGREEMENT AS THE SOLE
AND EXCLUSIVE REMEDY FOR ALL HOLDERS OF CHANNELED CLAIMS.

           b.   ALL PERSONS WHO HAVE HELD OR ASSERTED, HOLD OR
ASSERT, OR MAY IN THE FUTURE HOLD OR ASSERT, ANY CHANNELED CLAIMS,
ARE HEREBY PERMANENTLY STAYED, ENJOINED, BARRED, AND RESTRAINED
FROM TAKING ANY ACTION, DIRECTLY OR INDIRECTLY, FOR THE PURPOSES
OF ASSERTING, ENFORCING OR ATTEMPTING TO ASSERT OR ENFORCE ANY
CHANNELED CLAIMS AGAINST THE PROTECTED PARTIES, INCLUDING:

              (i)  COMMENCING OR CONTINUING IN ANY MANNER ANY
ACTION OR OTHER PROCEEDING OF ANY KIND WITH RESPECT TO ANY
CHANNELED CLAIM AGAINST ANY OF THE PROTECTED PARTIES OR AGAINST
THE PROPERTY OF ANY OF THE PROTECTED PARTIES;

                (ii) ENFORCING,   ATTACHING,   COLLECTING,     OR
RECOVERING, OR SEEKING TO ACCOMPLISH ANY OF THE PRECEDING, BY ANY
MANNER OR MEANS, ANY JUDGMENT, AWARD, DECREE, OR ORDER WITH
RESPECT TO ANY CHANNELED CLAIM AGAINST ANY OF THE PROTECTED
PARTIES, OR THE PROPERTY OF ANY OF THE PROTECTED PARTIES;

                (iii) CREATING, PERFECTING, OR ENFORCING, OR
SEEKING TO ACCOMPLISH ANY OF THE PRECEDING, ANY LIEN OF ANY KIND
RELATING TO ANY CHANNELED CLAIM AGAINST ANY OF THE PROTECTED
PARTIES, OR THE PROPERTY OF THE PROTECTED PARTIES;

              (iv) ASSERTING, IMPLEMENTING, OR EFFECTUATING ANY
CHANNELED CLAIM OF ANY KIND AGAINST:

                       (a)   ANY OBLIGATION DUE ANY OF THE PROTECTED
                             PARTIES;

                       (b)   ANY OF THE PROTECTED PARTIES; OR

                       (c)   THE PROPERTY OF ANY OF THE PROTECTED
                             PARTIES.

               (v)  TAKING ANY ACT, IN ANY MANNER, IN ANY PLACE
WHATSOEVER, THAT DOES NOT CONFORM TO, OR COMPLY WITH, THE
PROVISIONS OF THE PLAN; AND

               (vi) ASSERTING OR ACCOMPLISHING ANY SETOFF, RIGHT
OF INDEMNITY, SUBROGATION, CONTRIBUTION, OR RECOUPMENT OF ANY
KIND AGAINST AN OBLIGATION DUE TO ANY OF THE PROTECTED PARTIES, OR
THE PROPERTY OF ANY OF THE PROTECTED PARTIES.

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        2.THE CHANNELING INJUNCTION IS AN INTEGRAL PART OF THE
PLAN AND IS ESSENTIAL TO THE PLAN’S CONSUMMATION AND
IMPLEMENTATION. IT IS INTENDED THAT THE CHANNELING OF THE
CHANNELED CLAIMS AS PROVIDED IN SECTION 12.3 OF THE PLAN SHALL
INURE TO THE BENEFIT OF THE PROTECTED PARTIES. IN A SUCCESSFUL
ACTION TO ENFORCE THE INJUNCTIVE PROVISIONS OF THIS SECTION IN
RESPONSE TO A WILLFUL VIOLATION THEREOF, THE MOVING PARTY MAY
SEEK AN AWARD OF COSTS (INCLUDING REASONABLE ATTORNEYS’ FEES)
AGAINST THE NON-MOVING PARTY, AND SUCH OTHER LEGAL OR EQUITABLE
REMEDIES AS ARE JUST AND PROPER, AFTER NOTICE AND A HEARING.

D.      Supplemental Settling Insurer Injunction

     PURSUANT TO SECTIONS 105(A), 363, AND 1129 OF THE BANKRUPTCY
CODE, AND IN CONSIDERATION OF THE UNDERTAKINGS OF THE SETTLING
INSURERS PURSUANT TO THE INSURANCE SETTLEMENT AGREEMENTS,
INCLUDING CERTAIN SETTLING INSURERS’ PURCHASE OF THE APPLICABLE
SETTLING INSURER POLICIES FREE AND CLEAR OF ALL CLAIMS PURSUANT TO
SECTION 363(F) OF THE BANKRUPTCY CODE, AND EXCEPT AS OTHERWISE
PROVIDED IN THE PLAN, ANY AND ALL PERSONS WHO HAVE HELD, NOW HOLD,
OR WHO MAY IN THE FUTURE HOLD ANY CLAIMS (INCLUDING ALL DEBT
HOLDERS, ALL EQUITY HOLDERS, GOVERNMENTAL, TAX AND REGULATORY
AUTHORITIES, LENDERS, TRADE AND OTHER CREDITORS, ABUSE CLAIMANTS,
PERPETRATORS, AND ALL OTHERS HOLDING INTERESTS OF ANY KIND OR
NATURE WHATSOEVER, INCLUDING THOSE CLAIMS RELEASED OR TO BE
RELEASED PURSUANT TO THE INSURANCE SETTLEMENT AGREEMENTS)
AGAINST ANY OF THE SETTLING INSURERS, INCLUDING (A) CLAIMS RELATING
TO THE SETTLING INSURER POLICIES, INCLUDING ABUSE CLAIMS, INBOUND
CONTRIBUTION CLAIMS, AND RELEASED INSURANCE CLAIMS, (B) THE
PAYMENT OF ANY OF THE CLAIMS IDENTIFIED IN (A), INCLUDING MEDICARE
CLAIMS, AND (C) EXTRA-CONTRACTUAL CLAIMS ARE HEREBY PERMANENTLY
STAYED, ENJOINED, BARRED, AND RESTRAINED FROM TAKING ANY ACTION,
DIRECTLY OR INDIRECTLY, TO ASSERT, ENFORCE OR ATTEMPT TO ASSERT OR
ENFORCE ANY SUCH CLAIM OR INTEREST AGAINST THE SETTLING INSURERS
OR SETTLING INSURER POLICIES.

     THE SUPPLEMENTAL SETTLING INSURER INJUNCTION WILL BE
EFFECTIVE WITH RESPECT TO A SETTLING INSURER ONLY AS OF THE DATE
THAT THE TRUST RECEIVES THE INSURANCE SETTLEMENT AMOUNT
PURSUANT TO THE TERMS OF THE APPLICABLE INSURANCE SETTLEMENT
AGREEMENT. THE SUPPLEMENTAL SETTLING INSURER INJUNCTION BARS
THE ABOVE-REFERENCED ACTIONS AGAINST THE SETTLING INSURERS AND
THE SETTLING INSURER POLICIES, BUT AGAINST NO OTHER PERSON OR
THING; PROVIDED, HOWEVER, NOTHING IN THIS SUPPLEMENTAL SETTLING
INSURER INJUNCTION SHALL LIMIT, OR BE DEEMED OR OTHERWISE
INTERPRETED TO LIMIT, THE SCOPE OF THE DISCHARGE OR CHANNELING
INJUNCTION IN FAVOR OF THE PROTECTED PARTIES. THE FOREGOING

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INJUNCTIVE PROVISIONS ARE AN INTEGRAL PART OF THE PLAN AND ARE
ESSENTIAL TO ITS IMPLEMENTATION.

E.      Litigation/Settlement Between a Participating Party or Abuse Claimant and Non-
        Settling Insurers.

        The Channeling Injunction shall channel all Inbound Contribution Claims, including
Insurer Contribution Claims, to the Trust.

       If, for any reason any court does not recognize the channeling of the Insurer Contribution
Claims of Non-Settling Insurers to the Trust, or such Insurer Contribution Claims are not
channeled for any reason, then the following shall apply:

        1.     Settling Insurers shall retain their Insurer Contribution Claims; provided, however,
that:

               a.      Settling Insurers shall not pursue any Insurer Contribution Claim against
any Non-Settling Insurer, (A) that asserts an Insurer Contribution Claim solely against the Trust;
(B) whose Insurer Contribution Claim is satisfied and extinguished entirely by the application of
Section 12.5 of the Plan, or (C) that does not assert an Insurer Contribution Claim against them;

                b.      If a Non-Settling Insurer asserts its Insurer Contribution Claim only against
the Trust, then Settling Insurers shall assign any Insurer Contribution Claims they may hold against
such Non-Settling Insurer to the Trust, and the Trust shall be free to assert such Insurer
Contribution Claims against such Non-Settling Insurer;

                        (i)    If a Non-Settling Insurer releases its Insurer Contribution Claims, if
any such exist, that it may have against Settling Insurers, then such released Settling Insurers shall
release their Insurer Contribution Claims against such releasing Non-Settling Insurer.

        2.       In any Action, including the Insurance Coverage Adversary Proceeding, involving
the Diocese, a Participating Party, or the Trust (collectively, the “Alleged Insured”) or an Abuse
Claimant, as applicable, and one or more Non-Settling Insurers, where a Non-Settling Insurer has
asserted, asserts, or could assert any Insurer Contribution Claim against any Settling Insurers, then
any judgment or award obtained by such Alleged Insured or Abuse Claimant against such Non-
Settling Insurer shall be automatically reduced by the amount, if any, that such Settling Insurer is
liable to pay such Non-Settling Insurer as a result of its Insurer Contribution Claim, so that the
Insurer Contribution Claim is thereby satisfied and extinguished entirely (the “Reduction
Amount”). In any Action involving an Alleged Insured or Abuse Claimant against a Non-Settling
Insurer, where such a Settling Insurer is not a party, such Alleged Insured or Abuse Claimant shall
obtain a finding from that court or arbitrator(s), as applicable, of the Reduction Amount before
entry of judgment against such Non-Settling Insurer. In the event that such a reduction is not made
as described above, then any Insurer Contribution Claim by any Non-Settling Insurer against any
Settling Insurer shall be reduced by the Reduction Amount, as determined by the court or
arbitrator(s) in which such Insurer Contribution Claim is Filed. Settling Insurers shall be required
to cooperate in good faith with the Diocese and/or the Trust to take reasonable steps to defend
against any Insurer Contribution Claim. In the absence of such good faith cooperation, the
Reduction Amount shall be zero. In the event that application of the Reduction Amount eliminates

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the Non-Settling Insurer’s Insurer Contribution Claim, then such Non-Settling Insurer shall fully
reimburse the Settling Insurers their costs and expenses, including legal fees, incurred in
responding to the Contribution Claim Action, including all costs, expenses and fees incurred in
seeking relief from the court.

        3.      If an Alleged Insured or Abuse Claimant and a Non-Settling Insurer enter into an
agreement settling one or more Abuse Claims, such agreement shall include a provision whereby
such Non-Settling Insurer releases Insurer Contribution Claims against Settling Insurers so long
as Settling Insurers release their Insurer Contribution Claims against such Non-Settling Insurer. If
such settlement agreement fails to include such a release provision, and the Non-Settling Insurer
has asserted, asserts, or could assert an Insurer Contribution Claim against Settling Insurers, then
any settlement amount in such settlement agreement shall be deemed automatically reduced by the
Reduction Amount. In such event, the settling parties shall obtain a finding from the applicable
court or arbitrator(s) of the Reduction Amount. If (a) the settlement agreement was entered into
without litigation or arbitration such that no judge or arbitrator can determine the Reduction
Amount, or (b) such a reduction is not otherwise made as described above, then any Insurer
Contribution Claim by any Non-Settling Insurer against any Settling Insurer shall be reduced by
the Reduction Amount, as determined by the court or arbitrator(s) in which such Insurer
Contribution Claim is Filed. Settling Insurers shall be required to cooperate in good faith with the
Diocese and/or the Trust to take reasonable steps to defend against any Insurer Contribution Claim
by a Non-Settling Insurer. In the absence of such good faith cooperation, the Reduction Amount
shall be zero. In the event that the reduction eliminates the Non-Settling Insurer’s Insurer
Contribution Claim, then such Non-Settling Insurer shall fully reimburse the Settling Insurers their
costs and expenses, including legal fees, incurred in responding to the Contribution Claim Action,
including all costs, expenses and fees incurred in seeking relief from the court.

        4.     If a Non-Settling Insurer Asserts an Insurer Contribution Claim against any Settling
Insurer, and

                a.     the Trust fully indemnifies the Settling Insurer, then the Selling Insurer shall
assign its Insurer Contribution Claim to the Trust; or

                 b.    the Trust partially, but not fully, indemnifies the Settling Insurer for such
Claim, then the Settling Insurer shall retain its Insurer Contribution Claims and may assert those
Claims against the Non-Settling Insurer asserting the Insurer Contribution Claim against the
Settling Insurer. Any recovery by the Settling Insurer exceeding the amount necessary to satisfy
the Trust's full indemnity obligation plus litigation costs shall be turned over to the Trust.

               c.      The above procedures shall bind, and inure to the benefit of all Settling
Insurers.

         5.     To ensure that the reduction contemplated in Section 12.5.2 of the Plan is
accomplished, the Settling Insurers shall be entitled to: (i) notice, within a reasonable time, of the
initiation of any future Action against or future settlement negotiations with any Non-Settling
Insurer in which an Insurer Contribution Claim is asserted against any Settling Insurers, and
periodic notices thereafter on at least an annual basis of the status of such Action or negotiations;
(ii) the opportunity to participate in the Action or settlement negotiations, but only to the extent


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necessary to accomplish the reduction contemplated in Section 12.5.2 of the Plan; (iii) the
reasonable cooperation of the applicable Alleged Insured, at the sole cost and expense of Settling
Insurers, so that the Settling Insurers can assert Section 12.5.2 of the Plan as a defense in any
Action against any of them for any Insurer Contribution Claim; and (iv) have the court or
appropriate tribunal issue such orders as are necessary to effectuate the judgment, award, or
settlement reduction in order to protect the Settling Insurers from any Insurer Contribution Claim.
The notice required above shall be given by (A) the Alleged Insured that is a party to such Action
or settlement negotiations; or (B) if no Alleged Insured is such a party, the Non-Settling Insurer
that is a party to such Action or settlement negotiations; or (C) if no Alleged Insured or Non-
Settling Insurer is a party to such Action or settlement negotiations, the Abuse Claimant bound by
the Plan.

      6.      The Trust shall use reasonable efforts to obtain, from all Settling Insurers,
agreements with terms similar to those contained in Section 12.5 of the Plan.

F.       Certain Litigation Matters

      Upon the occurrence of the Effective Date, the Claim Objections, the Appeal and the
Second Insurance Settlement Motion shall be deemed withdrawn with prejudice.

G.       Injunction Against Interference with Plan

       Upon entry of the Confirmation Order, all holders of Claims shall be precluded and
enjoined from taking any actions to interfere with the implementation and consummation of the
Plan.

H.       Release by Holders of Claims

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, AND TO THE FULLEST EXTENT AUTHORIZED BY
APPLICABLE LAW, ALL HOLDERS OF CLAIMS, INCLUDING ABUSE CLAIMS (THE
“RELEASING PARTIES”), SHALL BE DEEMED TO PROVIDE A FULL RELEASE TO
THE RELEASED PARTIES AND THEIR RESPECTIVE PROPERTY FROM ANY AND
ALL CLAIMS RELATING TO THE DIOCESE, THE PARTICIPATING PARTIES, THE
ESTATE, THE CONDUCT OF THE DIOCESE’S AND THE PROTECTED PARTIES’
BUSINESSES,  THE     FORMULATION,     PREPARATION,    SOLICITATION,
DISSEMINATION, NEGOTIATION, OR FILING OF THE DISCLOSURE STATEMENT
OR PLAN OR ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER
AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION
WITH OR PURSUANT TO THE DISCLOSURE STATEMENT, THE PLAN, THE FILING
AND PROSECUTION OF THE CHAPTER 11 CASE, THE PURSUIT OF
CONFIRMATION AND CONSUMMATION OF THE PLAN, THE SUBJECT MATTER
OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS AMONG THE RELEASING PARTIES AND ANY RELEASED
PARTY, OR ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT,



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EVENT, OR OTHER OCCURRENCE TAKING PLACE BEFORE THE EFFECTIVE
DATE.

     THE FOREGOING RELEASE SHALL BE EFFECTIVE UPON THE
OCCURRENCE OF THE EFFECTIVE DATE, EXCEPT THAT, SOLELY WITH
RESPECT TO ANY ABUSE CLAIM THEY MAY HOLD, EACH ABUSE CLAIMANT
WILL RELEASE THE DIOCESE OR ANY PARTICIPATING PARTY UPON THE
OCCURRENCE OF THE ABUSE CLAIM DISCHARGE DATE APPLICABLE TO SUCH
ABUSE CLAIM.

     FOR THE AVOIDANCE OF DOUBT, PRIOR TO THE OCCURRENCE OF THE
APPLICABLE ABUSE CLAIM DISCHARGE DATE AND SUBJECT TO THE
LIMITATIONS SET FORTH IN THE PLAN, A DULY AUTHORIZED LITIGATION
CLAIMANT OR THE TRUST MAY NAME THE DIOCESE OR ANY PARTICIPATING
PARTY IN A CASE OR PROCEEDING TO ADJUDICATE WHETHER THE DIOCESE
OR ANY PARTICIPATING PARTY HAS LIABILITY FOR AN ABUSE CLAIM AND
THE AMOUNT OF ANY SUCH LIABILITY, BUT RECOURSE SHALL BE LIMITED TO
THE PROCEEDS OF ANY NON-SETTLING INSURER POLICIES AND ALL OTHER
COSTS AND/OR DAMAGES THAT MAY BE RECOVERABLE AGAINST ANY NON-
SETTLING INSURERS.

I.       Mutual Releases

     EXCEPT FOR OBLIGATIONS ARISING UNDER ANY EXECUTORY
CONTRACT ASSUMED AND ASSIGNED TO THE REORGANIZED DIOCESE,
OBLIGATIONS ARISING UNDER THE PLAN AND ABUSE CLAIMS SUBJECT TO
DELAYED RELEASE IN ACCORDANCE WITH SECTION 12.8 OF THE PLAN, ON
THE EFFECTIVE DATE, EACH OF THE PROTECTED PARTIES, THE COMMITTEE,
THE TRUST, AND EACH ABUSE CLAIMANT, SHALL BE DEEMED TO WAIVE,
RELEASE, AND DISCHARGE ANY AND ALL CLAIMS AND CAUSES OF ACTION OF
EVERY KIND AND NATURE THAT THEY MAY HAVE AGAINST EACH OTHER, AND
THEIR RESPECTIVE RELATED PERSONS, EXCEPT THAT ABUSE CLAIMANTS
SHALL NOT WAIVE THEIR RIGHTS TO DISTRIBUTIONS UNDER THE TRUST IN
ACCORDANCE WITH THE TRUST AGREEMENT AND THE ALLOCATION
PROTOCOL. FOR THE AVOIDANCE OF DOUBT, ABUSE CLAIMANTS SHALL BE
DEEMED TO RELEASE THEIR ABUSE CLAIMS AS OF THE APPLICABLE ABUSE
CLAIM DISCHARGE DATE; PROVIDED, HOWEVER, THAT ALL OTHER CLAIMS
AND CAUSES OF ACTION ANY ABUSE CLAIMANT MAY HOLD AGAINST ANY OF
THE PROTECTED PARTIES SHALL BE RELEASED ON THE EFFECTIVE DATE,
AND PROVIDED, FURTHER, THAT PRIOR TO THEIR RELEASE ANY ABUSE
CLAIMS SHALL ONLY BE ENFORCABLE AND COMPENSABLE PURSUANT TO
THE TERMS OF THE PLAN AND PLAN DOCUMENTS.

J.       Exculpation; Limitation of Liability

     FROM AND AFTER THE EFFECTIVE DATE, NONE OF THE EXCULPATED
PARTIES SHALL HAVE OR INCUR ANY LIABILITY FOR, AND EACH


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EXCULPATED PARTY SHALL BE RELEASED FROM, ANY CLAIM BY ANY OTHER
EXCULPATED PARTY, BY ANY HOLDER OF A CLAIM, OR BY ANY OTHER PARTY
IN INTEREST, FOR ANY ACT OR OMISSION THAT OCCURRED DURING AND IN
CONNECTION WITH THIS CHAPTER 11 CASE OR IN CONNECTION WITH THE
PREPARATION AND FILING OF THIS CHAPTER 11 CASE, THE FORMULATION,
NEGOTIATION, OR PURSUIT OF CONFIRMATION OF A PLAN, THE
CONSUMMATION OF THE PLAN, AND THE ADMINISTRATION OF THE PLAN OR
THE PROPERTY TO BE DISTRIBUTED UNDER THE PLAN, EXCEPT FOR CLAIMS
ARISING FROM THE GROSS NEGLIGENCE, WILLFUL MISCONDUCT, FRAUD, OR
BREACH OF THE FIDUCIARY DUTY OF LOYALTY OF ANY EXCULPATED PARTY,
IN EACH CASE SUBJECT TO DETERMINATION OF SUCH BY FINAL ORDER OF A
COURT OF COMPETENT JURISDICTION AND PROVIDED THAT ANY
EXCULPATED PARTY SHALL BE ENTITLED TO REASONABLY RELY UPON THE
ADVICE OF COUNSEL WITH RESPECT TO ITS DUTIES AND RESPONSIBILITIES
(IF ANY) UNDER THE PLAN. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, THE COMMITTEE, THE DIOCESE, THE REORGANIZED DIOCESE
AND THEIR RESPECTIVE OFFICERS, TRUSTEES, BOARDS, COMMITTEE
MEMBERS, EMPLOYEES, ATTORNEYS, FINANCIAL ADVISORS, EXPERTS,
EXPERT WITNESSES, AND OTHER PROFESSIONALS SHALL BE ENTITLED TO
AND GRANTED BENEFITS OF SECTION 1125(e) OF THE BANKRUPTCY CODE AND
THE CHANNELING INJUNCTION.

K.      Injunctions in Full Force and Effect

        All injunctions and/or stays provided for in the Plan, the injunctive provisions of sections
524 and 1141 of the Bankruptcy Code, and all injunctions or stays protecting any Settling Insurer
that has purchased Settling Insurer Policies, free and clear of all Claims pursuant to sections 105,
363, and 1123 of the Bankruptcy Code, are permanent and will remain in full force and effect
following the Effective Date of the Plan and are not subject to being vacated or modified.

L.      Injunctions and Releases Integral

        The Plan’s injunctive provisions and releases are an integral part of the Plan and are
essential to its implementation. The currently pending court proceedings commenced by an Abuse
Claimant, the continuation of which would violate Sections 12.1, 12.2, or 12.3 of the Plan, the
releases provided for under the Plan, or the Insurance Settlement Agreements shall be dismissed
with prejudice following the Trustee’s receipt of an Abuse Claim Release Agreement executed by
the applicable Abuse Claimant, except for Litigation Claims (or Abuse Claims that may become
Litigation Claims) and Abuse Claims that are the subject of a Stipulated Judgment, which will be
released at the time the Diocese is released and discharged in accordance with Sections 12.2.3 and
12.8 of the Plan.

M.      Timing

        The injunctions, releases, and discharges (including the Channeling Injunction and the
Supplemental Settling Insurer Injunction) to which any Settling Insurer is entitled pursuant to such
Settling Insurer’s Insurance Settlement Agreement, the Plan, the Confirmation Order, the Final


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Orders approving the Insurance Settlement Agreements, and the Bankruptcy Code shall only
become effective when the Trust receives payment in full from the corresponding Settling Insurer
pursuant to the terms of the Settling Insurer’s Insurance Settlement Agreement, and the other
conditions to the effectiveness of the Insurance Settlement Agreement are fully met.

N.       Excluded Parties and Non-Settling Insurers

         Notwithstanding anything to the contrary herein, the following shall apply to Excluded
Parties and Non-Settling Insurers: (a) no Claim by a Class 4 Claimant against an Excluded Party
or Non-Settling Insurer shall be a Channeled Claim, provided, however, any Claims which assert
liability against an Excluded Party or Non-Settling Insurer in conjunction with a Protected Party
shall be Channeled Claims to the extent they assert liability against such Protected Party; (b) No
Claim by a Class 4 Claimant against an Excluded Party or Non-Settling Insurer shall be released
by operation of the Plan; (c) The injunctions provided in Section 12.1 and 12.2 of the Plan shall
not apply to Claims by any Class 4 Claimant against an Excluded Party or Non-Settling Insurer;
and (d) All Claims by any Class 4 Claimant against an Excluded Party or Non-Settling Insurer are
preserved and are not affected by the terms of the Plan.

O.       Title to and Vesting of Assets

        All property of the Diocese and the Estate is dealt with by the Plan. Therefore, on the
Effective Date, to the fullest extent allowed by sections 1123(a)(5), 1123(b)(2), 1123(b)(3),
1141(b) and 1141(c) of the Bankruptcy Code, all property of the Diocese and the Estate, and any
property acquired by the Diocese pursuant to the Plan shall vest in the Reorganized Diocese and
such property shall be free and clear of all Liens, Claims, charges or other encumbrances
whatsoever, except that any charitable assets subject to Donor Restrictions shall pass to the
Reorganized Diocese subject to such Donor Restrictions. On and after the Effective Date, except
as otherwise provided in the Plan, the Reorganized Diocese may operate and manage its affairs
and may use, acquire, or dispose of such property without notice to any Person, and without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or the Bankruptcy Rules, other than any restrictions expressly imposed by the Plan or the
Confirmation Order. The Diocese and the Reorganized Diocese may pay any charges incurred on
or after the Effective Date for Professional Fees, disbursements, expenses, or related support
services without application to the Bankruptcy Court.

P.       Continued Corporate Existence; No Successor Liability.

       1.      The Diocese will continue to exist after the Effective Date as a separate entity in
accordance with New York law having tax-exempt status under 26 U.S.C. § 501(c)(3) under
applicable law and without prejudice to any right to alter or terminate such existence, or to change
its corporate name, under applicable state law, except as such rights may be limited and
conditioned by the Plan and the documents and instruments executed and delivered in connection
therewith.

       2.     On and after the Effective Date, the Reorganized Diocese may conduct business in
the name of “The Diocese of Rochester” or any derivation thereof that may be approved by the
Bishop of Rochester. At the request of the Reorganized Diocese, the Diocese shall take such steps


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as may be required to change its corporate name to remove any references to “The Diocese of
Rochester.”

         3.      Notwithstanding anything to the contrary in the Plan or otherwise, except to the
extent necessary to honor any Donor Restrictions or to the extent it may expressly assume such
obligations in writing on or after the Effective Date, the Reorganized Diocese shall not be liable
for any Claims against, or other liabilities or obligations of the Diocese. The Reorganized Debtor
shall not, and shall not be deemed under any state or federal law, or doctrine or theory of successor
liability to: (a) be the successor of, or successor to, the Diocese; (b) have, de facto or otherwise,
merged with or into the Diocese; (c) be a mere continuation or substantial continuation of the
Diocese or the operations or business enterprises of the Diocese; or (d) be liable for any acts taken,
or omitted to be taken, by the Diocese prior to the Effective Date. All Persons and entities holding
Liens, Claims and encumbrances, and other interests of any kind or nature whatsoever, including
rights or Claims based on any successor or transferee liability, against or in the Diocese or the
Residual Assets (whether legal or equitable, secured or unsecured, matured or unmatured,
contingent or noncontingent, senior or subordinated), arising under or out of, in connection with,
or in any way relating to the Diocese, the Residual Assets, or the operation of the Residual Assets
prior to the Effective Date shall be forever barred, estopped, and permanently enjoined from
asserting against the Reorganized Debtor such Liens, Claims, encumbrances, and other interests,
including rights or claims based on any theory of successor or transferee liability, provided,
however, nothing herein shall prohibit any Person with standing to do so from taking any action
to enforce Donor Restrictions.

Q.       Identity of Trustees

         In accordance with section 1129(a)(5) of the Bankruptcy Code, the identities and
affiliations of the Persons proposed to serve as the trustees of the Diocese and the Reorganized
Diocese on and after the Effective Date shall be (i) The Most Reverend Salvatore R. Matano,
Bishop of Rochester, (ii) Very Reverend Paul J. Tomasso, Vicar General and Moderator of the
Curia, and (iii) Reverend Daniel J. Condon, Chancellor and Director of Legal Services, all of
whom are affiliated with the Universal Roman Catholic Church.

R.       Authority to Effectuate Plan

       Upon the Effective Date, all matters provided under the Plan shall be deemed to be
authorized and approved without the requirement of further approval from the Bankruptcy Court
or the Diocese. The Diocese and the Reorganized Diocese shall be authorized, without further
application to or order of the Bankruptcy Court, to take whatever action necessary to achieve
consummation and carry out the Plan and to effectuate the transactions provided for thereunder.

S.       Binding Effect

       Except as otherwise expressly provided in the Plan, on and after the Effective Date, the
Plan shall bind all holders of Claims. Subject to the terms of the Plan, upon the Effective Date,
every holder of a Claim shall be precluded and permanently enjoined from asserting against the
Diocese or the Reorganized Diocese any Claim based on any document, instrument, judgment,



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award, order, act, omission, transaction or other activity of any kind or nature that occurred before
the Petition Date.

T.      Dissolution of Committee

        On the Effective Date, the Committee shall dissolve automatically, whereupon their
members, Professionals, and Agents shall be released from any further duties and responsibilities
in this Chapter 11 Case and under the Bankruptcy Code, except that such parties shall continue to
be bound by any obligations arising under confidentiality agreements, joint defense/common
interest agreements (whether formal or informal), and protective orders entered during this
Chapter 11 Case, including any orders regarding confidentiality issued by the Bankruptcy Court
or mediators, which shall remain in full force and effect according to their terms, provided that
such parties shall continue to have a right to be heard with respect to any and all applications for
Professional Fee Claims.

                                         ARTICLE XIV

                                           RESERVED



                                          ARTICLE XV

                              RETENTION OF JURISDICTION

A.      By the Bankruptcy Court

       Pursuant to sections 105, 1123(a)(5) and 1142(b) of the Bankruptcy Code and 28 U.S.C.
§§ 157 and 1334, on and after the Effective Date, the Bankruptcy Court shall retain (a) original
and exclusive jurisdiction over the Chapter 11 Case, (b) original, but not exclusive jurisdiction to
hear and determine all core proceedings arising under the Bankruptcy Code or arising in the
Chapter 11 Case; and (c) original, but not exclusive, jurisdiction to hear and make proposed
findings of fact and conclusions of law in any non-core proceedings related to the Chapter 11 Case
and the Plan, including matters concerning the interpretation, implementation, consummation,
execution or administration of the Plan. Subject to, but without limiting the generality of the
foregoing, the Bankruptcy Court’s post-Effective Date jurisdiction shall include jurisdiction:

        1.     over disputes concerning the ownership of Claims.

        2.     over disputes concerning the distribution or retention of assets under the Plan.

        3.     subject to the Plan Documents, over objections to Claims, motions to allow late-
filed Claims and motions to estimate Claims.

        4.     over proceedings to determine the extent, validity, or priority of any Lien asserted
against property of the Diocese, the Estate, or the Trust, or property abandoned or transferred by
the Diocese, the Estate or the Trust.


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        5.     over motions to approve Insurance Settlement Agreements entered into after the
Effective Date by the Trustee.

        6.      over matters related to the assets of the Estate or of the Trust, including the terms
of the Trust, or the recovery, liquidation, or abandonment of Trust Assets.

       7.     over matters related to the removal of the Trustee and the appointment of a
successor Trustee.

        8.     over matters relating to the subordination of Claims.

       9.     to enter and implement such orders as may be necessary or appropriate in the event
the Confirmation Order is for any reason stayed, revoked, modified, or vacated.

        10.    to consider and approve modifications of or amendments to the Plan, to cure any
defects or omissions or to reconcile any inconsistencies in any order of the Bankruptcy Court,
including the Confirmation Order.

       11.     to issue orders in aid of execution, implementation, or consummation of the Plan,
including the issuance of orders enforcing any and all releases and injunctions issued under or
pursuant to the Plan and any Insurance Settlement Agreement.

      12.     over disputes arising from or relating to the Plan, the Confirmation Order, or any
agreements, documents, or instruments executed in connection therewith.

       13.     over requests for allowance of payment of Claims entitled to priority under sections
507(a)(2) and 503(b) of the Bankruptcy Code an any objections thereto.

      14.    over all applications for compensation under sections 327, 328, 329, and 330 of the
Bankruptcy Code.

       15.     over matters concerning state, local, or federal taxes in accordance with sections
346, 505, and 1146 of the Bankruptcy Code.

       16.     over conflicts and disputes among the Trust, the Diocese, the Reorganized Diocese,
and holders of Claims.

       17.     over disputes concerning the existence, nature, or scope of the Diocese Discharge,
including any dispute relating to any liability arising out of the termination of employment or the
termination of any employee or retiree benefit program, regardless of whether such termination
occurred prior to or after the Effective Date.

        18.    to issue injunctions, provide declaratory relief, or grant such other legal or equitable
relief as may be necessary or appropriate to restrain interference with the Plan, the Diocese or its
property, the Reorganized Diocese or its property, the Estate or its property, the Trust or its
property, the Trustee, the Professionals, or the Confirmation Order.

        19.    to enter a final decree closing the Chapter 11 Case.


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        20.    to enforce all orders previously entered by the Bankruptcy Court.

       21.    over any and all other suits, adversary proceedings, motions, applications, and
contested matters that may be commenced or maintained pursuant to the Chapter 11 Case or the
Plan.

B.      By the District Court

        Pursuant to sections 105, 1123(a)(5), and 1142(b) of the Bankruptcy Code, and 28 U.S.C.
§ 1134, on and after the Effective Date, the District Court shall retain original, but not exclusive,
jurisdiction to hear and determine all matters arising under the Bankruptcy Code or arising in or
related to the Chapter 11 Case.

C.      Actions to Enforce the Plan

        The Diocese, the Reorganized Diocese, and the Trust may, but are not required to,
commence an Action to enforce the terms of the Plan or to collect amounts owed pursuant to the
Plan and any settlements set forth in the Plan or later approved by the Bankruptcy Court, which
are not paid in accordance with the terms of the Plan or such settlement. Any such Action may be
commenced by filing a motion with the Bankruptcy Court. On and after the Effective Date, the
Trust shall have the sole and exclusive right to enforce the terms of the Plan against the Diocese,
the Reorganized Diocese and/or any Participating Party (except that the Diocese, the Reorganized
Diocese, or any Participating Party may enforce the terms of the plan as against each other) and
may seek any appropriate remedy in law or equity from the Bankruptcy Court which shall retain
exclusive jurisdiction over any such Action.

D.      Case Closure

        The existence and continued operation of the Trust shall not prevent the Bankruptcy Court
from closing the Chapter 11 Case upon a motion by the Diocese, the Reorganized Diocese, or any
other Person. The Trustee shall not take any actions to unreasonably keep the Chapter 11 Case
open. The Trustee, in his sole discretion, may seek to reopen the Chapter 11 Case to administer
assets of the Trust, including with respect to entering into settlement agreements with Non-Settling
Insurers. If the Chapter 11 Case is reopened upon request of the Trustee, the Trust, the Diocese,
and the Reorganized Diocese shall cooperate to assure that no disbursements are made from the
Estate during the period when the Chapter 11 Case is reopened, and the case shall be closed at the
earliest possibility.

                                           ARTICLE XVI

                            TAX CONSEQUENCES OF THE PLAN

        The following is a summary of certain U.S. federal income tax consequences of the Plan
to certain holders of Claims. This summary is based on the Internal Revenue Code (the “Tax
Code”), Treasury Regulations promulgated thereunder (the “Treasury Regulations”), and
administrative and judicial interpretations and practice, all as in effect on the date of the Disclosure
Statement and all of which are subject to change, with possible retroactive effect. Due to the lack
of definitive judicial and administrative authority in a number of areas, substantial uncertainty may

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exist with respect to some of the tax consequences described below. No opinion of counsel has
been obtained and the Diocese does not intend to seek a ruling from the Internal Revenue Service
as to any of the tax consequences of the Plan discussed below. There can be no assurance that the
Internal Revenue Service will not challenge one or more of the tax consequences of the Plan
described below.

        This summary does not apply to holders of Claims that are not U.S. Persons (as such term
is defined in the Tax Code) or that are otherwise subject to special treatment under U.S. federal
income tax law (including, without limitation, banks, governmental authorities or agencies,
financial institutions, insurance companies, pass-through entities, tax-exempt organizations,
brokers and dealers in securities, mutual funds, small business investment companies, and
regulated investment companies). The following discussion assumes that holders of Allowed
Claims hold such Claims as “capital assets” within the meaning of section 1221 of the Tax Code.
Moreover, this summary does not purport to cover all aspects of U.S. federal income taxation that
may apply to holders of Allowed Claims based upon their particular circumstances. Additionally,
this summary does not discuss any tax consequences that may arise under any laws other than U.S.
federal income tax law, including under state, local or foreign tax law.

     ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN UNITED STATES
FEDERAL INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY
AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED
UPON THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER OF A CLAIM.
ALL HOLDERS OF CLAIMS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS
FOR THE FEDERAL, STATE, LOCAL AND OTHER TAX CONSEQUENCES APPLICABLE
UNDER THE PLAN.

A.      Federal Income Tax Consequences to Holders of Unsecured Claims

        In accordance with the Plan, all holders of General Unsecured Claims and Abuse Claims
will receive Distributions on their Allowed Claims. Holders of General Unsecured Claims and
Abuse Claims will realize a loss, if any, in an amount equal to that Claim, minus any recovery, on
an adjusted tax basis.

        The tax consequences to holders of General Unsecured Claims and Abuse Claims will
differ and will depend on factors specific to the holder, including but not limited to: (i) whether
the Claim, or a portion of the Claim, constitutes a Claim for interest or principal, (ii) the origin of
the Claim, (iii) the type of consideration received in exchange for the Claim, (iv) whether the
holder is a United States person or a foreign person for tax purposes, (v) whether the holder reports
income on the accrual or cash basis method, and (vi) whether the holder has taken a bad debt
deduction or otherwise recognized a loss with respect to the Claim.

        The Plan Proponents anticipate that Distributions to Abuse Claimants will, in all instances,
constitute damages, other than punitive damages, on account of personal physical injuries and
physical sickness, within the meaning of section 104(a)(2) of the Internal Revenue Code of 1986,
as amended. The Plan Proponents have not, however, fully analyzed such tax issues and cannot
(and do not hereby) make any assurances or representations regarding the anticipated tax treatment
of Abuse Claims.


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      THERE ARE MANY FACTORS THAT WILL DETERMINE THE TAX
CONSEQUENCE TO EACH HOLDER OF A GENERAL UNSECURED CLAIM OR AN
ABUSE CLAIM. FURTHERMORE, THE TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX, AND IN SOME CASES UNCERTAIN. THEREFORE, IT IS IMPORTANT THAT
EACH HOLDER OF A GENERAL UNSECURED CLAIM AND ABUSE CLAIM OBTAIN
HIS, HER, OR ITS OWN PROFESSIONAL TAX ADVICE REGARDING THE TAX
CONSEQUENCES TO THE HOLDER OF A GENERAL UNSECURED CLAIM OR ABUSE
CLAIM AS A RESULT OF THE PLAN.

B.      Federal Income Tax Consequences to the Diocese

        The Diocese is a not-for-profit religious corporation having tax-exempt status under 26
U.S.C. § 501(c)(3). Due to the Diocese’s status as a not-for-profit corporation, the Plan Proponents
anticipate that the confirmation of the Plan will have no material federal income tax consequences
on a cash basis for the Diocese or the Reorganized Diocese.

C.      Tax Consequences to the Trust

        The Trust may satisfy the requirements of a designated settlement fund under Section 468B
of the Tax Code or a qualified settlement fund under Regulation 1.468B-1 of the Treasury
Regulations. There are certain tax consequences associated with the characterization of the Trust
as a designated settlement fund or a qualified settlement fund.

     THE PLAN PROPONENTS EXPRESS NO OPINION REGARDING WHETHER THE
TRUST IS A DESIGNATED SETTLEMENT FUND OR A QUALIFIED SETTLEMENT
FUND. THE PLAN PROPONENTS HAVE NOT REQUESTED A RULING FROM THE
INTERNAL REVENUE SERVICE OR AN OPINION OF COUNSEL REGARDING
WHETHER THE TRUST IS A DESIGNATED SETTLEMENT FUND OR A QUALIFIED
SETTLEMENT FUND. ACCORDINGLY, EACH CREDITOR IS URGED TO CONSULT
THEIR OWN TAX ADVISOR REGARDING THE CHARACTERIZATION OF THE TRUST
AND THE TAX CONSEQUENCES OF SUCH CHARACTERIZATION.

                                         ARTICLE XVII

                               ALTERNATIVES TO THE PLAN

        The Plan Proponents believe the Plan is in the best interests of the Creditors and should
accordingly be accepted and confirmed. If the Plan as proposed, however, is not confirmed, the
following two alternatives may be available: (a) an alternative plan of reorganization may be
proposed and confirmed, or (b) the Chapter 11 Case may be dismissed. As discussed below, two
other options, liquidation under chapter 7 and the appointment of a chapter 11 trustee, are not
viable alternatives in this Chapter 11 Case.

A.      Alternative Plan Pursuant to Chapter 11 of the Bankruptcy Code

       If the Plan is not confirmed, the Diocese or another party in interest may propose a different
plan, which might involve an alternative means for reorganizing the Diocese. CNA has filed the
CNA Competing Plan pursuant to which CNA would make a guatanteed contribution to the Trust

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and would receive releases and injunctions similar to what the Plan proposes for Settling Insurers.
However, the Plan as proposed has the support of, among other entities, the Committee and the
Protected Parties and the Committee opposes the CNA Competing Plan. Accordingly, the Plan
Proponents believe that the terms of the Plan provide for the most favorable outcome for Creditors.
The negotiation and drafting required for additional plans would likely add substantially greater
administrative expenses with no guarantee of a better result for Creditors. For these reasons, the
Plan Proponents do not believe that an alternative plan of reorganization is a preferable alternative
to the Plan.

B.      Dismissal of the Chapter 11 Case

        If the Plan is not confirmed, the Diocese or another party in interest may seek to dismiss
the Chapter 11 Case. After appropriate notice and a hearing, the Bankruptcy Court may grant the
request and dismiss the Chapter 11 Case. Dismissal of the Chapter 11 Case would have the effect
of restoring, or attempting to restore, all parties to the position they were in immediately prior to
the Petition Date.

         Upon dismissal of the Chapter 11 Case, the protection of the Bankruptcy Code would be
lost, resulting in the expensive and time-consuming process of negotiation and protracted litigation
between the Diocese and individual Abuse Claimants and between the Diocese and its Insurers.
In addition to the expense and delay, the Plan Proponents believe that these actions would lead to
an inequitable recovery for Abuse Claimants, with the first Abuse Claimants to obtain and enforce
judgments against the Diocese depleting the Diocese’s assets and resulting in insufficient assets to
satisfy later judgments. Therefore, the Plan Proponents believe that dismissal of the Diocese’s
Chapter 11 Case is not a preferable alternative to confirming the Plan.

C.      Chapter 7 Liquidation Not a Viable Alternative

        Pursuant to 11 U.S.C. § 1112(c), if a debtor is “not a moneyed corporation”, a debtor’s
chapter 11 case cannot be converted to a chapter 7 case without the debtor’s consent. The Diocese,
as a non-profit entity, is not a moneyed corporation, and may not be forced to convert its
Chapter 11 Case to a chapter 7 case. Thus, conversion to chapter 7 is not a viable alternative to
the Plan.

D.      Appointment of a Chapter 11 Trustee is Not a Viable Alternative

        As a result of limitations imposed by the First Amendment to the United States Constitution
and the Religious Freedom and Restoration Act, a chapter 11 trustee cannot be appointed to replace
the Bishop’s administration of the Diocese.

                                        ARTICLE XVIII

                  ACCEPTANCE AND CONFIRMATION OF THE PLAN

A.      General Confirmation Requirements

      The Bankruptcy Code requires that, in order to confirm the Plan, the Bankruptcy Court
must make a series of findings concerning the Plan and the Plan Proponents, including that (i) the

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Plan classifies Claims in a permissible manner; (ii) the Plan complies with applicable provisions
of the Bankruptcy Code; (iii) the Plan Proponents have complied with applicable provisions of the
Bankruptcy Code; (iv) the Plan Proponents propose the Plan in good faith and not by any means
forbidden by law; (v) the disclosures required by section 1125 of the Bankruptcy Code have been
made; (vi) the Plan has been accepted by the requisite votes of Creditors (except to the extent that
cramdown is available under section 1129(b) of the Bankruptcy Code); (vii) the Plan is feasible
and confirmation is not likely to be followed by the liquidation or the need for further financial
reorganization of the Diocese; (viii) the Plan is in the “best interests” of all holders of Claims in
an Impaired Class by providing to such holders on account of their Claims property of a value, as
of the Effective Date, that is not less than the amount that such holder would receive or retain in a
chapter 7 liquidation, unless each holder of a Claim in such Class has accepted the Plan; and (ix) all
U.S. Trustee Fees and expenses payable under 28 U.S.C. § 1930, as determined by the Bankruptcy
Court at the Confirmation Hearing, have been paid or the Plan provides for the payment of such
fees on the Effective Date.

        1.     Parties in Interest Entitled to Vote.

        Pursuant to the Bankruptcy Code, only Classes of Claims that are “Impaired” (as defined
in section 1124 of the Bankruptcy Code) under the Plan are entitled to vote to accept or reject the
Plan. A Class is Impaired if the legal, equitable or contractual rights to which the Claims of that
Class entitled the holders of such Claims are modified, other than by curing defaults and reinstating
the debt. Classes of Claims that are not Impaired are not entitled to vote on the Plan and are
conclusively presumed to have accepted the Plan. In addition, Classes of Claims that receive no
Distributions under the Plan are not entitled to vote on the Plan and are deemed to have rejected
the Plan.

        2.     Classes Impaired Under the Plan.

       Class 3 General Unsecured Claims and Class 4 Abuse Claims are the only Classes that are
Impaired and entitled to vote under the Plan.

         Acceptances of the Plan are being solicited only from those holders of Claims in Impaired
Classes that will or may receive a Distribution under the Plan. Accordingly, the Diocese is
soliciting acceptances only from holders of Class 3 General Unsecured Claims and Class 4 Abuse
Claims.

        3.     Voting Procedures and Requirements.

      VOTING ON THE PLAN BY EACH HOLDER OF AN IMPAIRED CLAIM
ENTITLED TO VOTE ON THE PLAN IS IMPORTANT. YOU SHOULD COMPLETE,
SIGN, AND RETURN THE BALLOT YOU RECEIVE IN ACCORDANCE WITH THE
PROVISIONS SET FORTH IN ARTICLE I(B) ABOVE.

        4.     Ballots.

       In voting for or against the Plan, please use only the Ballot or Ballots sent to you with this
Disclosure Statement. If you are a holder of a Class 3 General Unsecured Claim or Class 4
Abuse Claim and did not receive a Ballot, if your Ballot is damaged or lost, or if you have any

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questions concerning voting procedures, please contact the Diocese’s counsel, Bond, Schoeneck
& King, PLLC, One Lincoln Center, Syracuse, New York 13202, Attention: Stephen A. Donato,
or Stretto, the Diocese’s Solicitation and Claims Agent, by email at
TeamRochDiocese@stretto.com or by calling 855.347.3773 and requesting to speak with a
member of the solicitation team.

     PLEASE FOLLOW THE DIRECTIONS CONTAINED ON THE ENCLOSED
BALLOT CAREFULLY, COMPLETE AND SIGN THE BALLOT AND RETURN IT TO
THE DIOCESE’S SOLICITATION AND CLAIMS AGENT. TO BE COUNTED, SIGNED
BALLOTS MUST BE RECEIVED ON OR BEFORE _____________, 2023, AT 5:00 P.M.,
PREVAILING EASTERN TIME.

B.      Confirmation Hearing

       The Bankruptcy Code requires the Bankruptcy Court, after notice, to conduct a hearing
regarding whether the Diocese and the Plan have fulfilled the confirmation requirements of section
1129 of the Bankruptcy Code. The Confirmation Hearing has been scheduled for ____________,
2023 at ____ __.m. (prevailing Eastern Time), before the Honorable Paul R. Warren, United
States Bankruptcy Judge, at the United States Bankruptcy Court for the Western District of New
York, United States Courthouse, 100 State Street, Rochester, New York. The Confirmation
Hearing may be adjourned from time to time by the Bankruptcy Court without further notice except
for an announcement in open court at the Confirmation Hearing of the date to which the
Confirmation Hearing has been adjourned.

C.      Confirmation

        At the Confirmation Hearing, the Bankruptcy Court will confirm the Plan only if the
requirements of section 1129 of the Bankruptcy Code are met. Among the requirements for
confirmation are that the Plan (i) be accepted by the requisite holders of Claims or, if not so
accepted, that it be “fair and equitable” and “not discriminate unfairly” as to each non-accepting
Class of Claims, (ii) be in the “best interests” of each holder of a Claim that does not vote to accept
the Plan in each Impaired Class under the Plan, (iii) be feasible, and (iv) comply with the applicable
provisions of the Bankruptcy Code.

D.      Acceptance of Plan

        As a condition to confirmation, the Bankruptcy Code requires that each class of impaired
claims votes to accept the plan, except under certain circumstances. A plan is accepted by an
impaired class of claims if holders of at least two-thirds in dollar amount and more than one-half
in number of claims of that class vote to accept the plan. Only those holders of claims who actually
vote count in these tabulations. Holders of claims who fail to vote, or whose votes are designated
pursuant to section 1126(e) of the Bankruptcy Code, are not counted as either accepting or rejecting
a plan.

        In addition to this voting requirement, section 1129 of the Bankruptcy Code requires that
a plan be accepted by each holder of a claim or interest in an impaired class or that the plan
otherwise be found by the bankruptcy court to be in the best interests of each holder of a claim or
interest in such class. In addition, each impaired class must accept the plan for the plan to be

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confirmed without application of the “fair and equitable” and “unfair discrimination” tests in
section 1129(b) of the Bankruptcy Code discussed below.

E.       Confirmation Without Acceptance of All Impaired Classes

       The Bankruptcy Code contains provisions for confirming a plan even if the plan is not
accepted by all impaired classes, as long as at least one impaired class of claims has accepted the
plan. These so-called “cramdown” provisions are set forth in section 1129(b) of the Bankruptcy
Code.

        A plan may be confirmed under the cramdown provisions if, in addition to satisfying other
requirements of section 1129(a) of the Bankruptcy Code, it (a) “does not discriminate unfairly”
and (b) is “fair and equitable,” with respect to each class of claims that is impaired under, and has
not accepted, the Plan. As used by the Bankruptcy Code, the phrases “discriminate unfairly” and
“fair and equitable” have specific meanings unique to bankruptcy law.

        In general, the “fair and equitable” standard, also known as the “absolute priority rule,”
requires that a dissenting class receive full compensation for its allowed claims before any junior
class receives any distribution. More specifically, section 1129(b) of the Bankruptcy Code
provides that a plan can be confirmed under that section if: (a) with respect to a secured class (i)
the holders of such claims retain the liens securing such claims to the extent of the allowed amount
of such claims and that each holder of a claim of such class receive deferred cash payments
equaling the allowed amount of such claim as of the plan’s effective date, or (ii) such holders
realize the indubitable equivalent of such claims; (b) with respect to an unsecured claim, either (i)
the impaired unsecured creditor must receive property of a value equal to the amount of its allowed
claim, or (ii) the holders of claims and interests that are junior to the claims of the dissenting class
may not receive any property under the plan on account of such junior claim or interest; and (c)
with respect to a class of interests, either (i) each holder of an interest of such class must receive
or retain on account of such interest property of a value, equal to the greater of the allowed amount
of any fixed liquidation preference to which such holder is entitled, any fixed redemption price to
which such holder is entitled or the value of such interest, or (ii) the holder of any interest that is
junior to the interest of such class may not receive or retain any property on account of such junior
interest.

        The requirement that a plan not “discriminate unfairly” means, among other things, that a
dissenting class must be treated substantially equally with respect to other classes of equal priority.

     IF A CLASS OF CLAIMS VOTING ON THE PLAN VOTES TO REJECT THE
PLAN, THE PLAN PROPONENTS RESERVE THE RIGHT TO SEEK CONFIRMATION
OF THE PLAN UNDER THE CRAMDOWN PROVISIONS OF THE BANKRUPTCY
CODE WITH RESPECT TO SUCH CLASS.

F.       Best Interests Test

        In order to confirm a plan, the Bankruptcy Court must independently determine that the
plan is in the best interests of each holder of a claim in any impaired class who has not voted to
accept the plan. Accordingly, if an impaired class does not unanimously accept the plan, the best
interests test requires the Bankruptcy Court to find that the plan provides to each member of such

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impaired class a recovery on account of the class member’s claim that has a value, as of the
effective date of the plan, at least equal to the value of the distribution that each such member
would receive if the debtor were liquidated under chapter 7 of the Bankruptcy Code on such date.

         To calculate what holders of Claims would receive if the Diocese were liquidated under a
hypothetical chapter 7 case under the Bankruptcy Code, the Bankruptcy Court must first determine
the dollar amount that would be realized from such liquidation (the “Liquidation Fund”). The
Liquidation Fund would consist of the net proceeds from the disposition of the Diocese’s assets
(after satisfaction of all valid liens) and the recoveries on causes of action, if any, held by the
Estate. The Liquidation Fund would not include (i) the portion of the DOR Entities’ Cash
Contribution coming from Entities other than the Diocese, (ii) the assignment of Insurance Claims,
(iii) any contributions by Setting Insurers, or (iv) restricted funds, which would be subject to a cy
pres action involving the New York Attorney General. The Liquidation Fund would be reduced
by the cost of the liquidation. The costs of a hypothetical liquidation under chapter 7 would include
the fees and expenses of the chapter 7 trustee, as well as those of counsel and other professionals
that might be retained by the chapter 7 trustee, selling expenses and wind-down costs, any unpaid
expenses incurred by the Diocese during its Chapter 11 Case (such as fees for attorneys, financial
advisors and accountants) which would be Allowed in the chapter 7 proceedings, interest expense
on secured debt and claims incurred by the Diocese during the pendency of the cases. These
Claims would be paid in full out of the Liquidation Fund before the balance of the Liquidation
Fund, if any, would be made available to holders of General Unsecured Claims and Abuse Claims.
In addition, other Claims that would arise upon conversion to a chapter 7 case would dilute the
balance of the Liquidation Fund available to holders of Claims. Moreover, additional Claims
against the Estate would arise as a result of the establishment of a new Bar Date for the filing of
Claims in the chapter 7 case. The present value of the Distributions from the Liquidation Fund
(after deducting the amounts described above) must then be compared with the present value of
the property offered to each of the Classes of Claims under the Plan, to determine if the Plan is in
the best interests of Claim holders.

        The Diocese believes that a chapter 7 liquidation of its remaining Assets would result in a
diminution of the value realized by holders of Claims. That belief is based upon, among other
factors: (a) the reduced value of Diocese’s remaining Assets in a chapter 7 case; (b) the additional
administrative expenses involved in the appointment of a chapter 7 trustee, attorneys, accountants,
and other chapter 7 professionals; (c) the substantial time that would elapse before Creditors would
receive any Distribution in respect of their Claims, due to a chapter 7 trustee’s need to become
familiar with the Diocese’s books and records and the chapter 7 trustee’s administration of the
case; and (d) the additional Claims that may be asserted against the Diocese.

G.      Feasibility

        In connection with confirmation of the Plan, the Bankruptcy Court must determine that the
Plan is feasible pursuant to section 1129(a)(11) of the Bankruptcy Code, which means that the
confirmation of the Plan is not likely to be followed by the need for liquidation or further financial
reorganization of the Diocese, except as proposed in the Plan.

       In this case, the Diocese has prepared cash flow projections demonstrating that the Diocese,
together with the Participating Parties, will be able to fund the DOR Entities’ Cash Contribution,

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that the Diocese and the Reorganized Diocese will be able to meet their other respective obligations
under the Plan, and that the Reorganized Diocese will have sufficient resources to support ongoing
ministries and operations. A copy of the financial projections is attached hereto as Exhibit C. The
cash flow projections demonstrate that the Diocese will be able to fund the Plan on the Effective
Date and that the Reorganized Diocese will be able to make all payments required pursuant to the
Plan so that no further financial restructuring will be necessary. Accordingly, the Diocese believes
that the Plan satisfies the feasibility test.

H.      Compliance with the Applicable Provisions of the Bankruptcy Code

       Section 1129(a)(1) of the Bankruptcy Code requires that the Plan comply with the
applicable provisions of the Bankruptcy Code. The Plan Proponents have considered each of these
provisions in the development of the Plan and believe that the Plan complies with all applicable
provisions of the Bankruptcy Code.

                                          ARTICLE XIX

                           RISK FACTORS TO BE CONSIDERED

     HOLDERS OF CLAIMS AGAINST THE DIOCESE SHOULD READ AND
CONSIDER CAREFULLY THE INFORMATION SET FORTH BELOW, AS WELL AS
THE OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT,
PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN. THIS INFORMATION,
HOWEVER, SHOULD NOT BE REGARDED AS THE ONLY RISKS INVOLVED IN
CONNECTION WITH THE PLAN AND/OR ITS IMPLEMENTATION.

A.      Objection to Classifications of Claims

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim in a particular
class, only if such claim is substantially similar to the other claims in such class. The Plan
Proponents believe that the classification of Claims under the Plan complies with the requirements
set forth in the Bankruptcy Code. However, there can be no assurance that the Bankruptcy Court
will reach the same conclusion. To the extent that the Bankruptcy Court finds that a different
classification is required for the Plan to be confirmed and the reclassification adversely affects the
treatment of the Claim of any Creditor, the Plan Proponents could be required to re-solicit votes
for or against the Plan.

        The Bankruptcy Code also requires that the Plan provide the same treatment for each Claim
of a particular Class unless the holder of a particular Claim agrees to a less favorable treatment of
its Claim. The Plan Proponents believe that the Plan complies with the requirement of equal
treatment. To the extent that the Court finds that the Plan does not satisfy the equal treatment
requirement, the Court could deny confirmation of the Plan.

       Issues or disputes relating to classification or treatment could result in a delay of the
confirmation or consummation of the Plan and could increase the risk that the Plan will not be
consummated.



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B.      Failure to Satisfy Voting Requirements

        If the Plan Proponents obtain the requisite votes to accept the Plan in accordance with the
requirements of the Bankruptcy Code, the Plan Proponents intend, as promptly as practicable
thereafter, to seek confirmation of the Plan. In the event that sufficient votes are not received, the
Plan Proponents may be forced to pursue an alternative plan of reorganization or the Diocese may
dismiss the Chapter 11 Case.

C.      The Plan May Not Be Accepted or Confirmed

        The Plan may not be confirmed without the affirmative acceptance of at least one Impaired
Class. Even if all voting Classes accept the Plan, the Plan may not be confirmed if the Bankruptcy
Court determines that the Plan does not meet the requirements for confirmation set forth in section
1129 of the Bankruptcy Code. The Plan Proponents believe that the Plan satisfies all of the relevant
section 1129 requirements. There can be no assurance, however, that the requisite Creditor consent
will be obtained or that the Bankruptcy Court will also conclude that all such requirements have
been satisfied.

D.      The Court May Enforce the Second Settlement Agreement with CNA

        The Plan Proponents believe that the Second Settlement Agreement proposed by the
Diocese, certain Participating Parties and CNA is not enforceable because, among other things,
the Second Settlement Agreement with CNA (1) is conditioned on confirmation of a plan
approving the agreement, (2) was not signed by any party thereto, and (3) is subject to termination
at the Diocese’s option, which right the Diocese has provided notice of its intent to exercise. The
Committee further contends that the Second Settlement Agreement with CNA is not enforceable
because it is not a reasonable settlement given CNA’s exposure under its policies because (y) CNA
wholesale denied 270 claims and (z) the Second Settlement Agreement with CNA calls for average
settlements that are less than $200,000 per claim when, in contrast, the Settling Insurers are paying
sums that exceed $400,000 per claim. Thus, the Second Settlement Agreement with CNA is
inadequate and unfair to survivors. The Committee further believes that Abuse Claimants will not
vote in favor of the CNA Plan, which will prove that the settlement agreement is not acceptable
and cannot be approved. If the Court enforces the Second Settlement Agreement with CNA and
such enforcement is sustained on appeal, Abuse Claimants would likely be unable to pursue claims
against CNA as Litigation Claimants and would not be able maximize the value of policies issued
by CNA to the Diocese.

E.      The CNA Administrative Claim

       On November 7, 2023, CNA filed its Application for Allowance and Payment of
Adminstrative Expense Priority Claim for Debtor’s Breach of Continental Settlement Agreement
[Docket No. 2314] (the “CNA Administrative Expense Application”) and a commenced an
adversary proceeding captioned The Continental Insurance Company v. The Diocese of Rochester
(the “CNA Adversary Proceeding”). Through the CNA Administrative Expense Application and
the CNA Adversary Proceeding, CNA asserts that it is entitled to damages as an administrative
claim for a purported breach by the Diocese of the Second Settlement Agreement with CNA. The
Plan Proponents deny that CNA is entitled to payment of an administrative claim because they do


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not believe the agreement is enforceable, as discussed above. If the Court finds that CNA is
entitled to payment of an administrative expense, such payment would likely have priority over
unsecured claims and, if the amount of such claim is high enough, the Court may not confirm this
Plan because the Diocese may be unable to pay an administrative claim to CNA.

F.       D.The Plan Proponents’ Assumptions and Estimates May Prove Incorrect

       The Plan Proponents have made certain assumptions regarding, and have attempted to
estimate in good faith and to the best of their ability, the aggregate number and amount of Claims
in each Class, the projected expenses incurred to date or to be incurred in connection with the
confirmation and administration of the Plan, and the assets which may be available for liquidation
and Distribution under the Plan. There can be no guarantee, however, that the Plan Proponents’
assumptions and estimates regarding these amounts will prove to be accurate. In the event the
Plan Proponents’ assumptions and estimates prove incorrect, Creditor recoveries under the Plan
may be materially less than projected.

G.       E.Non-Confirmation or Delay in Confirmation of the Plan

       In the event a party objects to the Plan, it is possible that the Bankruptcy Court may not
approve confirmation of the Plan.

H.       F.Non-Consensual Confirmation

       In the event the Impaired Class of Claims does not accept the Plan, the Bankruptcy Court
may nevertheless confirm the Plan at the Plan Proponents’ request if the cramdown requirements
described above are satisfied. The Plan Proponents believe that the Plan satisfies these
requirements.

I.       G.Risk of Non-Occurrence of the Effective Date

        Although the Plan Proponents believe that the Effective Date will occur reasonably soon
after the Confirmation Date, there can be no assurance as to the timing or as to whether the
Effective Date will in fact occur.

J.       H.Stipulated Judgments May Not Be Approved or Otherwise May Be Unenforcable

        The Stipulated Judgments contemplated by the Plan may not be approved by the
Bankruptcy Court. The Stipulated Judgments are intended to facilitate the Trust’s pursuit of
Insurance Claims against CNA by judicially establishing the fact of the Diocese’s liability with
respect to the Stipulation Claimants’ Abuse Claims. Although the Plan Provides that Insurance
Stipulation Claims against CNA will be assigned to the Trust on the same basis as other Non-
Settling Insurers and may be pursued as Litigation Claims, if the Bankruptcy Court does not
approve one or more Stipulated Judgments, in such event the Trust would need to establish the
fact of Diocesan liability and the amount of that liability, as well as CNA’s coverage obligations,
in order to prevail on Insurance Claims relating to Stipulation Claimants’ Abuse Claims.

      In addition, even if the Stipulated Judgments are approved by the Bankruptcy Court, they
may nevertheless be held to be unenforceable in a subsequent coverage action. In general,

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Stipulated Judgments are only allowed if an insurer has denied coverage on a claim. Here, CNA
denied coverage for the vast majority of claims alleging abuse during its policy period.15 However,
according to CNA, “[o]ver a year ago, by letter dated November 15, 2022, [CNA] notified [the
Diocese] that it would defend the underlying abuse claims.”16 The Diocese and the Committee
disagree that CNA’s November 2022 letter “cures” CNA’s prior denials of coverage.17
Nevertheless, in light of CNA’s position, the issue of whether “CNA has denied coverage” is
disputed. As a result, there is a risk that a court could disagree with the Diocese’s and Committee’s
position and conclude that the Diocese’s stipulation to liability violates its policy obligations and
thus bars enforcement of the Stipulated Judgments.

       Finally, even if the Stipulated Judgements are approved by the Bankruptcy Court and are
held not to violate the Diocese’s policy obligations, it is possible that CNA could still defeat
recovery on the Stipulated Judgements if CNA prevailed on one or more of its other coverage
defenses, such as its late notice defense or its “expected or intended” defense.

K.       I.Non-Settling Insurers May Raise Objections to Confirmation

        Certain Non-Settling Insurers may object to confirmation of the Plan by asserting that the
Plan impermissibly alters their contractual rights, duties and obligations under their Insurance
Policies. Furthermore, unless they become Settling Insurers as provided in the Plan, CNA may
attempt to assert that their liability with respect to Abuse Claims is limited by the Second
Settlement Agreements, or, alternatively, that confirmation of the Plan will result in a breach of
the Second Settlement Agreements which entitles them to assert Administrative Claims against
the Diocese. Although the Plan Proponents do not believe there is any merit to such objections or
assertions, if the Non-Settling Insurers were to prevail on such contentions, the Bankruptcy Court
might find that the Plan is not feasible.

L.       J.Post-Confirmation Litigation May Not Result in Additional Recovery

        The Plan provides for the assignment to the Trust of Insurance Claims against Non-Settling
Insurers. The Non-Settling Insurers are likely to assert factual and legal defenses to both their
coverage obligations and to the underlying liability of the Diocese and other Participating Parties
for Abuse Claims. Litigation of the Insurance Claims against Non-Settling Insurers could be
protracted and expensive. There is no guarantee that the Trust will prevail in its prosecution of the
Insurance Claims against Non-Settling Insurers, or that such recovery, if any, will exceed the



15
  CNA has referenced its denials of coverage to the Bankruptcy Court. See, e.g., CNA’s Brief in Support of Joinder
to the Debtor’s Motion to Approve Proposed Insurance Settlements to Fund Survivor Compensation Trust (Docket
No. 1542) at 6 (“CNA has denied coverage for many claims, but has agreed to investigate or participate in the defense
of the Diocese in certain claims and lawsuits subject to a full reservation of rights.” (emphasis added)).
16
  The Continental Insurance Company’s Objection to Debtor’s Motion for Entry of An Order Approving Disclosure
Statement, Docket No. 2348 at 9.
17
  Under New York law, an insurer that denies coverage “forfeit[s] its right to control the underlying litigation.” Liberty
Mutual Fire Ins. Co. v. Hamilton Ins. Co., 356 F. Supp. 3d 326, 336–37 (S.D.N.Y. 2018) (internal citations and
quotations omitted).

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amounts that would otherwise be available from CNA pursuant to its Second Settlement
Agreement or the CNA Competing Plan.

        In the event the Non-Settling Insurers successfully defend against the Insurance Claims,
the DOR Entities’ Cash Contribution and the settlement payments from Settling Insurers would be
the sole source of recovery for Abuse Claims.

                                          ARTICLE XX

                               MISCELLANEOUS PROVISIONS

A.      Amendment or Modification of the Plan

        The Plan Proponents may modify the Plan at any time prior to the Confirmation Hearing,
in accordance with section 1127(a) of the Bankruptcy Code. After the Confirmation Date and
prior to substantial consummation, the Plan Proponents may modify the Plan, in accordance with
section 1127(b) of the Bankruptcy Code, by filing a motion on notice as required under the
applicable Bankruptcy Rules, and the solicitation of all Creditors and other parties in interest shall
not be required unless directed by the Bankruptcy Court. Notwithstanding the foregoing, those
provisions of the Plan that implement and supplement the Insurance Settlement Agreements may
not be severed, waived, amended, deleted or otherwise modified without the prior written approval
of all of the Settling Insurers affected by such severance, waiver, amendment, deletion or
modification.

B.      Headings

       The headings used in the Plan and in this Disclosure Statement are inserted for convenience
only and neither constitute a portion of the Plan nor in any manner affect the construction of the
provisions of the Plan.

C.      Severability of Plan Provisions

        If, prior to confirmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void or unenforceable, the Bankruptcy Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision, and such term or provision shall then
be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired, or invalidated by such holding, alteration or
interpretation.

D.      Validity and Enforceability

        The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with
the Confirmation Order, is valid and enforceable pursuant to its terms. Should any provision in
the Plan be determined by the Bankruptcy Court or any appellate court to be unenforceable


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following the Effective Date, such determination shall in no way limit the enforceability and
operative effect of any and all other provisions of the Plan.

E.       Revocation or Withdrawal of the Plan

        The Plan Proponents reserve the right to revoke or withdraw the Plan prior to the entry of
the Confirmation Order. If the Plan Proponents revoke or withdraw the Plan before the
Confirmation Date, then the Plan shall be deemed null and void. In such event, nothing contained
herein shall constitute or be deemed a waiver or release of any Claims by or against the Diocese
or the Committee or to prejudice in any manner the rights of the Diocese or the Committee in any
further proceedings.

F.       Controlling Documents

         In the event and to the extent that any provision of the Plan or the Trust Documents is
inconsistent with any provision of the Disclosure Statement, the provisions of the Plan or the Trust
Documents, as applicable, shall control and take precedence. In the event and to the extent that
any provision of the Trust Documents (other than provisions relating to the Trustee’s authority to
act) is inconsistent with any provision of the Plan, the Plan shall control and take precedence. In
the event and to the extent that any provision of the Confirmation Order is inconsistent with any
provision of the Plan or the Trust Documents, the provisions of the Confirmation Order shall
control and take precedence.

G.       Filing of Additional Documents

        At any time before substantial consummation of the Plan, the Diocese, the Trust, or the
Reorganized Diocese, as appropriate, may File with the Bankruptcy Court or execute, as
appropriate, such agreements and other documents as may be necessary or appropriate to effectuate
and further evidence the terms and conditions of the Plan, or otherwise to comply with applicable
law.

H.       Direction to a Party

        On or after the Effective Date, the Trustee, the Diocese, or the Reorganized Diocese, as
applicable, may apply to the Bankruptcy Court for entry of an Order directing any Person to
execute or deliver or to join in the execution or delivery of any instrument or document reasonably
necessary or reasonably appropriate to effect the transfer of properties dealt with by the Plan, and
to perform any other act (including satisfaction of any lien or security interest) that is reasonably
necessary or reasonably appropriate for the consummation of the Plan.

I.       Certain Actions

        By reason of entry of the Confirmation Order prior to, on, or after the Effective Date (as
appropriate), all matters provided for under the Plan that would otherwise require approval of the
officers or Trustees of the Diocese under the Plan, including (a) the adoption, execution, delivery,
and implementation of all contracts, leases, instruments, releases, and other agreements or
documents related to the Plan, and (b) the adoption, execution and implementation of other matters
provided for under the Plan involving the Diocese or the organizational structure of the Diocese

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shall be deemed to have occurred and shall be in effect prior to, on, or after the Effective Date (as
appropriate), pursuant to applicable non-bankruptcy law, without any requirement of further action
by the officers or Trustees of the Diocese.

J.       Plan as Settlement Communication

        The Plan furnishes or offers or promises to furnish (or accepts or offers or promises to
accept) valuable consideration in compromising or attempting to compromise Claims and/or
causes of action that are disputed as to validity or amount (including Abuse Claims and the
Insurance Coverage Adversary Proceeding), except as otherwise provided above. Accordingly,
the Plan, the Disclosure Statement, and any communications regarding the Plan or the Disclosure
Statement are subject in all respects to Rule 408 of the Federal Rule of Evidence and any
comparable provision(s) of applicable state law precluding their use as evidence of liability for, or
the validity, or invalidity of, any Disputed Claim or cause of action. Except as expressly set forth
in the Plan, nothing in the Plan is intended to constitute a compromise of Abuse Claims.

K.       Reports

        Until a final decree closing the Chapter 11 Case is entered, the Diocese shall File all post-
confirmation quarterly reports as required by the United States Trustee Operating Guidelines (with
a copy served on the Office of the United States Trustee). The first report shall be Filed within
thirty days after the end of the quarter in which the Effective Date occurs.

L.       Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
New York, without giving effect to the principles of conflicts of laws, shall govern the rights,
obligations, construction, and implementation of the Plan transactions consummated or to be
consummated in connection therewith.

M.       No Admissions.

        Notwithstanding anything herein or in the Plan to the contrary, nothing contained in the
Plan shall be deemed as an admission by the Diocese, the Reorganized Diocese, any Participating
Party, the Committee, or any Settling Insurer with respect to any matter set forth herein.

                                         ARTICLE XXI

                            BANKRUPTCY RULE 9019 REQUEST

       Pursuant to Bankruptcy Rule 9019 and through the Plan, the Plan Proponents jointly
request approval of all compromises and settlements included in the Plan or contemplated.




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                                         ARTICLE XXII

                         RECOMMENDATION AND CONCLUSION

        The Plan Proponents believe that the Plan is in the best interests of all Creditors. The Plan
as structured allows Creditors to participate in Distributions believed to be in excess of those which
would otherwise be available were the Chapter 11 Case dismissed and provides an opportunity to
maximize insurance recoveries through settlements with the Settling Insurers and post-
confirmation litigation of Insurance Claims against Non-Settling Insurers.

     FOR ALL OF THE REASONS SET FORTH IN THIS DISCLOSURE STATEMENT,
THE PLAN PROPONENTS BELIEVE THAT THE CONFIRMATION AND
CONSUMMATION OF THE PLAN IS PREFERABLE TO ALL OTHER ALTERNATIVES.
THE PLAN PROPONENTS STRONGLY RECOMMEND THAT ALL CREDITORS
ENTITLED TO VOTE ACCEPT THE PLAN AND TO EVIDENCE SUCH ACCEPTANCE BY
RETURNING THEIR BALLOTS SO THAT THEY ARE RECEIVED BY THE DIOCESE’S
SOLICITATION AND CLAIMS AGENT NO LATER THAN 5:00 P.M. PREVAILING
EASTERN TIME ON ________________, 20232024.




                                     [Signature Page Follows]




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Dated: September 13December 18, 2023   Respectfully submitted,
       Rochester, New York
                                       The Diocese of Rochester


                                By:    /s/ Lisa M. Passero
                                       Lisa M. Passero, Chief Financial Officer


                                       BOND, SCHOENECK & KING, PLLC

                                By:    /s/ Stephen A. Donato
                                       Stephen A. Donato, Esq.
                                       Charles J. Sullivan, Esq.
                                       Grayson T. Walter, Esq.
                                       Office and Post Office Address:
                                       110 West Fayette Street
                                       One Lincoln Center
                                       Syracuse, New York 13202-1355
                                       Telephone: (315) 218-8000
                                       Facsimile: (315) 218-8100
                                       Email: donatos@bsk.com
                                               sullivc@bsk.com
                                              walterg@bsk.com

                                       Counsel to The Diocese of Rochester




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